Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 1 of 80




           EXHIBIT 67
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 2 of 80


Int. J. Environ. Res. Public Health 2014, 11, 4449-4527; doi:10.3390/ijerph110404449
                                                                                          OPEN ACCESS

                                                                             International Journal of
                                                                       Environmental Research and
                                                                                      Public Health
                                                                                     ISSN 1660-4601
                                                                           www.mdpi.com/journal/ijerph
Review

Non-Hodgkin Lymphoma and Occupational Exposure to
Agricultural Pesticide Chemical Groups and Active Ingredients:
A Systematic Review and Meta-Analysis
Leah Schinasi * and Maria E. Leon

Section of Environment and Radiation, International Agency for Research on Cancer 150,
Cours Albert Thomas, 69372 Lyon Cedex 08, France; E-Mail: leonrouxm@iarc.fr

* Author to whom correspondence should be addressed; E-Mail: schinasil@fellows.iarc.fr;
  Tel.: +33-XXX-XX-XXXX; Fax: +33-XXX-XX-XXXX.

Received: 12 February 2014; in revised form: 31 March 2014 / Accepted: 1 April 2014 /
Published: 23 April 2014


     Abstract: This paper describes results from a systematic review and a series of meta-analyses
     of nearly three decades worth of epidemiologic research on the relationship between
     non-Hodgkin lymphoma (NHL) and occupational exposure to agricultural pesticide active
     ingredients and chemical groups. Estimates of associations of NHL with 21 pesticide chemical
     groups and 80 active ingredients were extracted from 44 papers, all of which reported results
     from analyses of studies conducted in high-income countries. Random effects meta-analyses
     showed that phenoxy herbicides, carbamate insecticides, organophosphorus insecticides
     and the active ingredient lindane, an organochlorine insecticide, were positively associated
     with NHL. In a handful of papers, associations between pesticides and NHL subtypes were
     reported; B cell lymphoma was positively associated with phenoxy herbicides and the
     organophosphorus herbicide glyphosate. Diffuse large B-cell lymphoma was positively
     associated with phenoxy herbicide exposure. Despite compelling evidence that NHL is
     associated with certain chemicals, this review indicates the need for investigations of a larger
     variety of pesticides in more geographic areas, especially in low- and middle-income countries,
     which, despite producing a large portion of the world’s agriculture, were missing in the
     literature that were reviewed.

     Keywords: pesticides; insecticides; herbicides; fungicides; lymphoma; non-Hodgkin;
     occupational; agricultural
           Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 3 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                         4450

1. Introduction

    Striking increases in the incidence of non-Hodgkin lymphoma (NHL) cancer have occurred in the
last 30 years [1,2], and interest in identifying environmental and occupational exposures associated
with this cancer has accompanied this trend. Several environmental exposures have been proposed and
investigated as potentially important—pesticides, dioxins, solvents, oils, and viruses, among others [3,4].
Farmers experience low overall mortality but high rates of some cancers; this suggests that some or
several agricultural exposures may be key determinants [5,6]. Indeed, positive associations between
NHL and farm related exposures, including pesticides, fertilizers, chemicals, animals, viruses,
and endotoxin, have been observed previously [3,5,7]. However, the wide variety of chemical and
microbial exposures that occur simultaneously in agricultural production makes disentangling the
effects of these factors challenging. Of the many exposures experienced in farm settings, pesticides
have drawn particular attention, especially since the increased incidence of NHL in the
mid- to late-1900s followed widespread use of synthetic organic pesticides [4]. Also, several epidemiologic
studies have reported positive associations between NHL and pesticide exposure in occupational
manufacturing settings [8,9].
    The United States Environmental Protection Agency defines pesticides as substances intended to
prevent, destroy, repel, or mitigate a pest [10]. Within this broad category, pesticides are often grouped
according to the type of pests that they control; for example, fungicides are used to kill fungi,
insecticides to kill insects, and herbicides to kill weeds and plants. In addition to function,
pesticides vary in terms of structure, and they are sometimes grouped according to chemical relationships.
Furthermore, applicators often use a variety of pesticides simultaneously. These characteristics make
designing and conducting epidemiologic studies of their health effects both challenging and expensive.
    Because pesticides are thought to have different toxicologic and immunologic effects,
identifying the chemicals and chemical groups that are most dangerous to humans and non-target
living organisms is important [11]. From a research perspective, the decision about what chemicals to
investigate has implications for disease prevention, and it impacts the information that is available to
policy makers and the public.
    These challenges and needs motivated us to systematically review the published epidemiologic
literature of relationships of NHL with occupational exposures to agricultural pesticide chemical
groups and active ingredients. The primary objectives of this paper were to investigate the depth of the
literature on the relationship between specific pesticide chemicals and NHL, to identify gaps in this
area of research, and to elucidate pesticide chemical groups and active ingredients that have shown
particularly strong relationships with NHL. To help us to achieve these objectives, we conducted a
series of meta-analyses of associations of individual pesticide chemicals with NHL.

2. Methods

2.1. Article Identification

   We performed a search of literature on associations between occupational pesticide exposure and
NHL. We restricted our search to articles published since 1980. This time period is consistent with that
used in previous meta-analyses of farming exposures [5], and it captured the epidemiologic literature
           Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 4 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                        4451

that has not been reviewed by early IARC monograph evaluations of pesticides [12]. The search used
combinations of the following words: occupational exposure, pesticides, insecticides, herbicides,
fungicides, neoplasms, cancer, lymphomas, non-Hodgkin lymphoma, cancer mortality,
agricultural workers’ diseases/chemically induced, and humans. We entered combinations of these
terms into PubMed and Web of Science. Details of the search are given in Supplementary file S1.

2.2. Article Selection

   To identify eligible studies, we reviewed the titles and abstracts of papers. When it was unclear
from the abstract and title whether the paper fit these criteria, the full text of the paper was reviewed.
We included estimates from papers with the following characteristics:
   (1) Written and published in English;
   (2) Reported results of analyses of case control or cohort epidemiology studies;
   (3) Reported results of studies that used interviews, questionnaires, and/or exposure matrices to
       assess exposure;
   (4) Reported associations of NHL with occupational, agricultural pesticide exposures;
   (5) Reported quantitative associations of NHL overall and/or NHL subtypes with specific
       individual active ingredients or chemical groups.
   We excluded papers with the following characteristics:
   (1)  Written in a language other than English;
   (2)  Did not report on associations with NHL;
   (3)  Were a commentary, letter to the editor, or monograph;
   (4)  Did not report associations with individual pesticide active ingredients or chemical groups;
        we excluded papers that reported associations with only the broadly defined categories of
        pesticide, insecticide, herbicide, or fungicide;
   (5) Reported results of analyses of ecologic studies;
   (6) Reported results of analyses of data from studies that were not case control or cohort in design;
   (7) The exposure definition/classification was ambiguous;
   (8) The exposure route was not occupational;
   (9) The exposure route was not agricultural;
   (10) Reported only associations within unique subpopulations (e.g., HIV positive patients);
   (11) Reported analyses of manufacturing cohorts;
   (12) Reported associations with NHL as a second primary;
   (13) Reported results of studies in which exposure was assessed using biological markers.

2.3. Data Extraction

   We extracted the following information from the full text of each eligible paper:
        author;
        publication year;
        study location;
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 5 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                       4452

       study design (case-control or cohort);
       source population for the controls in case-control studies;
       whether case-control studies were matched, and if so, the matching factors;
       diagnosis period if a case-control study or cancer follow-up period if a cohort study;
       number of cohort participants or number of cases and controls;
       cancer definition or ICD codes used to identify the cancers;
       method of assessing exposure;
       exposure metrics and definitions;
       referent categories used in the analysis;
       active ingredient(s) and/or chemical group(s) studied;
       covariates entered into the model to adjust for confounding;
       type of effect estimate reported;
       number of exposed participants;
       effect estimates and confidence interval limits; and
       gender restrictions, if any.
   We also identified papers that were related to each other (e.g., pooled analyses that used data that
were analyzed and reported on previously, papers that reported on different analyses from the same
study, studies that were follow up analyses of the same population). In cases of related papers,
we used a specific set of rules to decide which effect estimate to report and use in the meta-analyses;
this rule is described in Section 2.5.

2.4. Chemical Group Classification

    We reported results for all chemical groups for which there was information from the available
literature. We did not consider exposures to chlorophenols in this paper, since much of the exposure to
this chemical group comes from non-agricultural settings. We classified pesticide active ingredients
into chemical groups based on Alan Wood’s classification system [13].

2.5. Reporting of Results for the Systematic Review

   From every relevant paper, we extracted an effect estimate for each active ingredient and/or
chemical group. We extracted results for associations with NHL, and when available, for associations
with subtypes of NHL.
   We used the following algorithm to determine which effect estimates to use:
   (1) For related papers that examined the same exposure/outcome association, we used the results
       from the most complete and updated analysis with the greatest number of participants;
   (2) If more than one exposure definition was considered and reported, we used the definition that
       best represented agricultural exposures (e.g., we selected results for farmers who worked with
       phenoxy herbicides, instead of results for herbicide applicators, gardeners, or landscapers);
   (3) The various papers used different confounder adjustment sets, which were selected based on
       different criteria. In an effort to use the most unbiased estimate, we extracted the most adjusted
       effect estimate;
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 6 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                       4453

   (4) Most papers defined exposure dichotomously. Papers that reported results according to more
       than two categories used a variety of definitions for the exposure metrics, including duration
       of use, days/year of use, time since first exposure, and cumulative days of exposure.
       Because the definitions and metrics used to define categories varied, it was not possible to
       combine estimates based on multiple categories of exposure in formal meta-analyses.
       Therefore, for the meta-analyses, we used the result for the dichotomously defined exposure
       with the greatest number of exposed cases. To assess dose-response relationships,
       we qualitatively examined results in association with multiple categories;
   (5) Some papers only reported results in association with multiple categories of exposure.
       We extracted these results for the systematic review, since they can be used to qualitatively
       evaluate trends in association of NHL with active ingredient or chemical group and are
       important for identifying dose-response relationships;
   (6) Some studies only reported estimates of association between pesticide exposures and subtypes
       of NHL. We abstracted these estimates for presentation and analysis of association of pesticide
       exposures with NHL subtypes.
   We present results from the systematic review sorted by chemical group and, within chemical group,
by active ingredient.

2.6. Meta Analysis

2.6.1. Grouping

   When possible, we conducted separate meta-analyses for each chemical group and active
ingredient. We conducted meta-analyses for associations of these pesticides with NHL and NHL
subtypes. Although we abstracted results according to dichotomous exposure and multiple levels of
exposure, we conducted formal meta-analyses for dichotomously categorized exposures only.

2.6.2. Analytic Methods

   Because we identified a variety of sources of heterogeneity between papers, we decided a priori to
calculate meta- risk ratio (RR) estimates and 95% confidence intervals (CIs) using random effect models,
allowing between study heterogeneity to contribute to the variance [14,15]. We report I2 values,
which represent the percentage of the total variance explained by study heterogeneity and measure
inconsistency in results. Larger I2 values indicate greater inconsistency [15]. We did not perform formal
heterogeneity tests; Cochran’s Q statistic has been shown to have low power to detect true heterogeneity
across studies, especially in meta-analyses that include a small number of papers [15].
Following recommendations for meta-analyses of observational studies, we also identified possible sources
of heterogeneity and used sensitivity analyses to evaluate these, as described in Section 2.6.3 [16].
We evaluate the meta- estimates of association based on the magnitude of the point estimate and
interpret the associated 95% CIs as indicators of precision. To aid this interpretation, we have
calculated and reported confidence limit ratios (CLRs), which are the ratio of the upper to the lower
CI limit [17]. We also present forest plots for meta-analyses to which five or more papers contributed.
             Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 7 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                          4454

2.6.3. Sensitivity Analysis

    We conducted sensitivity analyses to evaluate robustness of our results to the following sources of
heterogeneity: study design (case-control versus cohort), gender (male only versus both genders),
geographic area, decade of cancer diagnosis, and source of the controls in case-control studies
(population-based versus hospital).
    One paper presented results of analyses of women only [18]. Thus, we were not able to conduct a
sensitivity analysis for analyses of women; we were able to conduct sensitivity analyses using papers that
reported results for men and for men and women. Only two papers reported estimates of association from
studies in which controls were drawn from hospitals, and these two studies reported associations of NHL
with different pesticides. Therefore, our sensitivity analysis of the control source in case-control studies
was restricted to controls drawn from the population. Data from only one cohort study contributed to our
meta-analyses. Therefore, we could not restrict meta-analyses to cohort studies only.
    The geographic areas that we investigated separately in sensitivity analyses were North America, the
United States, Europe, and Sweden. We selected these because there was more than one study within
each area that investigated associations of NHL with a particular pesticide. In addition to maintaining
Sweden and the United States in sensitivity analyses of Europe and North America, respectively, we
analyzed results from Sweden separately from the rest of Europe, and results from the United States
separately from Canada. We conducted these separate analyses because more than one paper reported
effect estimates of association with a pesticide from each of these countries, and because we believed
effects might be different when separated from the rest of the continent. Although we identified papers
from Australia and New Zealand we were not able to analyze these separately because there was not
more than one effect estimate of association with an individual pesticide from either country.
    We investigated the following diagnosis periods: 1975–1989, 1990–1999, and year 2000 and later.
If any part of the diagnosis period overlapped these periods, we included the estimate from the paper in
the sensitivity analysis. We selected these periods based on the periods that appeared in the papers that
we reviewed and on the different editions of the ICD coding systems [1].
    After performing meta-analyses for each active ingredient or chemical group, we repeated analyses,
removing studies that differed from the others based on the above-described characteristics. In cases
when results from individual studies were also represented in papers that analyzed these data pooled with
data from other studies, we performed sensitivity analyses by replacing the results from the pooled
analyses with the individual studies, or the individual studies with the results from the pooled analyses.

3. Results

3.1. Systematic Review

   The PubMed and Web of Science searches yielded 858 unique articles (Figure 1). After screening
the abstracts and titles, we excluded 737 articles. Of the remaining 121 articles, 47 were excluded because
they reported results within a non-agricultural population. We decided to exclude non-agricultural
populations because the nature of exposure they receive is different compared to agricultural groups.
Because of contamination and production of multiple chemicals simultaneously, it is difficult to
determine the exact chemical to which manufacturing cohort participants have been exposed.
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 8 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                    4455

     Figure 1. Flow chart showing the articles that were included and excluded in the
     systematic review, with reasons for the exclusions.




    After excluding 27 additional articles because they did not meet one or more of the inclusion
criteria described in the methods section, we included 44 papers in our qualitative synthesis.
Of these, 20 papers provided estimates of association with herbicide chemical groups or active
ingredients, four papers provided estimates of association with fungicides, and 17 with insecticides.

3.2. Summary of Studies from Which Estimates were Extracted

   A summary of the 44 papers from which effect estimates were abstracted is presented in Table 1.
                                                  Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 9 of 80

   Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                               4456

                                                       Table 1. Summary of papers from which effect estimates were extracted.
                                                       Diagnosis or
 Author,                                                                                                      Referent category for
                        Source for                      follow-up         No.              Exposure                                         Men                                                      Reported results by
   year,     Design                    Matching                                                                exposure, exposure                        Adjustment set               Pesticides
                         controls                         period      Participants        assessment                                        only                                                          subtype
 location                                                                                                      definition(s)/metric
                                                         (cancer)
Barry 2012                                                                           Self-administered      Referent: No exposure                  Age, gender, race, state of
   [19]                                                                              questionnaire                                                 residence, applicator type,
                                                                                     completed during       Intensity weighted lifetime            enrollment year,
Iowa and     C (AHS)       NA             NA           1993–2007        53,588       enrollment and         exposure days, 15 year lag      No     cigarette smoking, alcohol       Methyl bromide           No
  North                                                                              interviewer                                                   consumption, education,
Carolina,                                                                            administered follow-   Intensity weighted lifetime            family history of cancer,
  USA                                                                                up questionnaire       exposure days, no lag                  5 most correlated pesticides
                                                                                                            Referent: Non-farmers
                                       Matched by
  Baris                                                                                                     Used vs. did not use on
                                      race, gender,
  1998                                                                                                      crops and animals ,
                                      age, and vital
  [20]                                                                               Telephone interviews   Used vs. did not use on
             Pooled                    status at the
                                                                 1                   (Kansas and            crops,
             analysis                     time of      Dx period :    993 cases/2,
  Iowa,                 Population                                                   Nebraska, USA),        Used vs did not use on          Yes    Age, state of residence              DDT                 Yes
             of 3 CC                    interview,     1979–1983      918 controls
 Kansas,                                                                             In-person interviews   animals
             studies                  year of death
Minnesota,                                                                           (Iowa and Minnesota)
                                       for controls
Nebraska,                                                                                                   Duration of use, in years (1-
                                       matched to
  USA                                                                                                       4, 5-9, ≥10)
                                     deceased cases
                                                                                                            Days/year of use (≤5, >5)
  Beane
 Freeman
                                                                                                            Referent: No exposure
   2005
                                                                                                                                                   Age, smoking, education,
   [21]                                                                              Two self-
                                                                                                            Lifetime exposure days                 family history of cancer,
             C (AHS)       NA             NA           1993–2007        23,106       administered                                           Yes                                        Diazinon              No
                                                                                                                                                   state of residence, total days
Iowa and                                                                             questionnaires
                                                                                                            Intensity weighted exposure            of any pesticide application
  North
                                                                                                            days
Carolina,
  USA
  Beane
Freeman                                                                                                     Referent 1: No exposure
  2011                                                                                                      Referent 2: Lowest quartile            Age, state, license type,
   [22]                                                                                                     of exposure                            gender, smoking status,
                                                                                     A self-administered
             C (AHS)       NA             NA           1993–2007        36,357                                                              No     alcohol consumption,                Atrazine             Yes
                                                                                     questionnaire
Iowa and                                                                                                    Lifetime days of exposure              education, use of most
  North                                                                                                     Intensity weighted lifetime            highly correlated pesticides
Carolina,                                                                                                   days of exposure
  USA
                                                  Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 10 of 80

    Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                       4457

                                                                                                Table 1. Cont.
                                                         Diagnosis or
  Author,                                                                                                      Referent category for
                        Source for                        follow-up         No.              Exposure                                      Men                                                Reported results by
    year,     Design                   Matching                                                                 exposure, exposure                      Adjustment set           Pesticides
                         controls                           period      Participants        assessment                                     only                                                    subtype
  location                                                                                                      definition(s)/metric
                                                           (cancer)
                                                                                                           Referent: nonfarmer
 Blair 1998                                                                            Telephone
    [23]                                                                               interviews
                                       Matched by                                                          Farmers who ever used
                                                                                       (Kansas and
                                      race, gender,                1         987
  Iowa,                                                   Dx period :                  Nebraska, USA),                                            Age, proxy/direct interview,
                CC      Population   age, vital status                   cases/2,895                       Days/year of use (≤4 days,      Yes                                    Lindane            Yes
 Kansas,                                                  1979–1983                    In-person                                                  state of residence
                                      at the time of                       controls                        ≥5 days)
Minnesota,                                                                             interviews
                                        interview
Nebraska,                                                                              (Iowa and
                                                                                                           First lindane use (≥20 years
  USA                                                                                  Minnesota)
                                                                                                           ago, <20 years ago)
Bonner 2010
                                                                                                           Referent 1: Nonexposed                 Age, gender, education,
   [24]
                                                                                                           Referent 2: Lowest tertile of          family history of cancer,
                                                                                       Self-administered   exposure                               smoking, alcohol, year of
 Iowa and     C (AHS)      NA              NA             1993–2005        44,624                                                          No                                     Terbufos            No
                                                                                       questionnaires                                             enrollment, state of
   North
                                                                                                           Intensity weighted lifetime            residence, correlated
 Carolina,
                                                                                                           exposure days                          pesticides
   USA
                                                                                                           Referent 1: Nonexposed
Bonner 2005
                                                                                                           Referent 2: Lowest tertile of          Age, gender, education,
   [25]
                                                                                                           exposure                               family history of cancer,
                                                                                       Self-administered                                          smoking, alcohol, year of
 Iowa and     C (AHS)      NA              NA             1993–2001        49,877                                                          No                                    Carbofuran           No
                                                                                       questionnaire       Lifetime exposure days                 enrollment, state of
   North
                                                                                                                                                  residence, exposure to
 Carolina,
                                                                                                           Intensity weighted lifetime            correlated pesticides
   USA
                                                                                                           exposure days
                                                                                                           Referent 1: Nonexposed
Bonner 2007
                                                                                                           Referent 2: Lowest tertile of
   [26]                                                                                                                                           Age, gender, smoking,
                                                                                                           exposure
                                                                                                                                                  alcohol, education,
                                                                                       Self-administered
 Iowa and     C (AHS)      NA              NA             1993–2002        19,717                                                          No     family history of cancer,      Malathion            No
                                                                                       questionnaire       Lifetime exposure days,
   North                                                                                                                                          year of enrollment,
 Carolina,                                                                                                                                        state of residence
                                                                                                           Intensity weighted lifetime
   USA
                                                                                                           exposure days
                                                     Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 11 of 80

     Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                      4458

                                                                                                    Table 1. Cont.
                                                           Diagnosis or
  Author,                                                                                                            Referent category for
                            Source for                      follow-up          No.              Exposure                                        Men                                                           Reported results by
    year,         Design                    Matching                                                                  exposure, exposure                       Adjustment set              Pesticides
                             controls                         period       Participants        assessment                                       only                                                               subtype
  location                                                                                                            definition(s)/metric
                                                             (cancer)
                                                                                                                                                                                        2,4-D, 2,4,5-T,
                                                                                                                                                                                      alachlor, atrazine,
                                                                                                                                                                                       aldrin, bentazon,
                                                                                                                                                                                    butylate, carbofuran,
                                                                                                                                                                                    carbaryl, chlordane,
                                                                                                                                                                                     chloramben, copper
                                                                                                                   Referent: Non-farmers                                                 acetoarsenate,
                                           Matched by                                                                                                  Age, vital status,
Cantor 1992                                                                                                                                                                                cyanazine,
                                            5-year age                                                                                                 state, cigarette smoking,
   [27]                                                                                                            Ever handled,                                                          coumaphos,
                                           group, vital                         622                                                                    family history of
                                                            Dx period 1:                                                                                                             diazinon, dicamba,
                    CC      Population    status at time                    cases/1,245   In-person interviews                                 Yes     lymphohematapoeitic                                            No
 Iowa and                                                   1979–1983                                              Handled prior to 1965                                              dichlorvos, DDT,
                                          of interview,                       controls                                                                 cancer, high risk
 Minnesota,                                                                                                                                                                         famphur, Flyspray,
                                           and state of                                                                                                occupations, high risk
   USA                                                                                                             Handled without                                                  fonofos, glyphosate,
                                            residence                                                                                                  exposures
                                                                                                                   protective equipment                                              heptachlor, lindane,
                                                                                                                                                                                           malathion,
                                                                                                                                                                                         methoxychlor,
                                                                                                                                                                                    metribuzen, nicotine,
                                                                                                                                                                                     phorate, popachlor,
                                                                                                                                                                                    rotenone, toxaphene,
                                                                                                                                                                                     trifluralin, turbufos,
                                                                                          Structured in-person
                                                                                          interviews conducted
                            Population                                                    by trained
Cocco 2013                                                                                                                                                                           Carbamates, OPs,
                             (German                                                      interviewers,            Referent: Never exposed
   [28]                                                                                                                                                                              OC, Triazines and
                            and Italian                                                   jobs were coded by
                                                                                                                                                                                     triazoles, phenoxy
                             centers),                                                    industrial hygienists;   Ever exposed, by level of
 Multicentre;                              Matched by                                                                                                                               acids, chlorophenols,
                             Hospital                                          2,348      industrial hygienists    industrial hygienists’s
    Czech                                 gender, 5-year                                                                                               Age, gender, education,            mancozeb,            Only reported for
                    CC        (Czech                        1998–2004       cases/2,462   and occupational         degree of confidence that   No
  Republic,                               age group, and                                                                                               study center                       methomyl,               subtypes
                            Republic,                                         controls    experts reviewed the     the participant was truly
    France,                               residence area                                                                                                                                 dimethoate,
                              French,                                                     questionnaires and       exposed to the agent:
  Germany,                                                                                                                                                                           glyphosate, DDT,
                               Irish,                                                     job modules to assess    Any level of confidence
Italy, Ireland,                                                                                                                                                                          endosulfan,
                              Spanish                                                     exposures to             High confidence
     Spain                                                                                                                                                                              2,4-D, MCPA
                              centers)                                                    pesticides (with the
                                                                                          help of a crop
                                                                                          exposure matrix)
  Delancey
                                                                                                                   Referent: Lowest tertile
   2009
                                                                                                                   of exposure                         Age, smoking, alcohol
    [29]
                                                                                          Two self-                                                    consumption, education,
                  C (AHS)      NA              NA           1993–2004         23,072      administered             Lifetime exposure days      Yes     family history of cancer,         Metribuzin                   No
  Iowa and
                                                                                          questionnaires                                               state of residence,
    North
                                                                                                                   Intensity weighted                  exposure to all pesticides
  Carolina,
                                                                                                                   lifetime exposure days
    USA
                                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 12 of 80

    Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                    4459

                                                                                                   Table 1. Cont.
                                                          Diagnosis or
  Author,                                                                                                          Referent category for
                         Source for                        follow-up          No.              Exposure                                     Men                                                            Reported results by
    year,      Design                   Matching                                                                    exposure, exposure                     Adjustment set               Pesticides
                          controls                           period       Participants        assessment                                    only                                                                subtype
  location                                                                                                          definition(s)/metric
                                                            (cancer)
                                                                                                                                                                                      Aldrin, bufencarb,
                                                                                                                                                                                   carbaryl, carbofuran,
                                                                                                                                                                                       chlordane, copper
                                                                                                                                                                                 acetoarsenite, coumaphos,
                                                                                                                                                                                         DDT, diazinon,
                                                                                                                                                                                     dichlorvos, dieldrin,
                                                                                                                                                                                   dimethoate, ethoprop,
                                                                                                                                                                                    famphur, fly/tick/lice
                                                                                                                                                                                 spray, fonofos, heptachlor,
de Roos 2003
                                                                                                                                                                                   lead arsenate, lindane,
    [30]
                                        Matched by                                       Telephone interviews                                                                    malathion, methoxychlor,
                                       race, gender,                           650       (Kansas and             Referent: Not exposed                                                  nicotine, phorate,
   Iowa,                                                   Dx period 1:                                                                            Age, study site, use of all
                 CC      Population   age, vital status                    cases/1,933   Nebraska, USA),                                   Yes                                      pyrethrins, rotenone,            No
  Kansas,                                                  1979–1983                                                                               other pesticides
                                       at the time of                        controls    In-person interviews    Exposed                                                               tetrachlorvinphos,
 Minnesota,
                                         interview                                       (Iowa and Minnesota)                                                                        toxaphene, terbufos,
 Nebraska,
                                                                                                                                                                                       alachlor, atrazine,
   USA
                                                                                                                                                                                      bentazon, butylate,
                                                                                                                                                                                  chloramben, cyanazine,
                                                                                                                                                                                  2,4-D, dicamba, EPTC,
                                                                                                                                                                                     glyphosate, linuron,
                                                                                                                                                                                    MCPA, metolachlor,
                                                                                                                                                                                    metribuzin, paraquat,
                                                                                                                                                                                      propachlor, sodium
                                                                                                                                                                                        chlorate, 2,4,5-T,
                                                                                                                                                                                            trifluralin
                                                                                                                 Referent 1: Never used
de Roos 2005                                                                                                     Referent 2: Lowest                Age at enrollment,
    [31]                                                                                                         tertile of exposure               education, cigarette
                                                                                                                                                   smoking, alcohol
                                                                                         Self-administered
 Iowa and      C (AHS)      NA              NA             1993–2001         54,315                              Ever used                 No      consumption, family                  Glyphosate                   No
                                                                                         questionnaire
   North                                                                                                         Cumulative exposure               history of cancer,
 Carolina,                                                                                                       days                              state of residence,
   USA                                                                                                           Intensity weighted                other pesticides
                                                                                                                 exposure days
                                                                                         Telephone interview
                                                                                         on life style factors
                                      Matched in 10                                                              Referent: Never exposed
                                                                                         and diseases;
  Eriksson                             year age and                                                              Ever exposed,
                                                                                         Self-administered
   2008                               gender groups                           1,163                              Days of exposure                                                 Phenoxyacetic acids,
                                                           Dx period:                    questionnaire on                                          Age, gender, year of
    [32]         CC      Population    to mirror the                       cases/1,016                           (categorized at the       No                                     MCPA, 2,4,5-T and/or               Yes
                                                           1999–2002                     work history and                                          Dx/enrollment
                                      age and gender                         controls                            median of the exposure                                            2,4-D, glyphosate
                                                                                         chemical exposures;
  Sweden                              distribution of                                                            distribution),
                                                                                         follow up telephone
                                         the cases
                                                                                         interviews to collect
                                                                                         incomplete data
                                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 13 of 80

   Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                  4460

                                                                                                   Table 1. Cont.
                                                         Diagnosis or
 Author,                                                                                                            Referent category for
                           Source for                     follow-up          No.               Exposure                                           Men                                                   Reported results by
   year,     Design                      Matching                                                                    exposure, exposure                        Adjustment set         Pesticides
                            controls                        period       Participants         assessment                                          only                                                       subtype
 location                                                                                                            definition(s)/metric
                                                           (cancer)
                                                                                                                  Referent 1: Not exposed

                                                                                                                  Ever exposure,
                                                                                                                  High exposure (>median
                                                                                                                  number of days for exposed
                                                                                                                  participants)
                                                                                                                  Low exposure (<median
                                                                                                                  number of days for exposed
                                                                                                                  participants)
            CC, pooled                                                                  Self-administered                                                                            Phenoxy acids,
             analysis of                                   Dx period:                   questionnai-re            Years between first exposure                                       MCPA, 2,4-D +
 Hardell
            two studies,                                  1987–1990                     supplement-ed by          and diagnosis:                                                        2,4,5-T,
  2002                                   Matched by                          515
            one of hairy                                     (NHL);                     telephone interviews      Referent 2: 1-10years,                 Study, study area, vital   glyphosate, DDT,
  [33]                      Population    age and                         cases/1,14                                                               Yes                                                          No
                cell                                      1987–1992                     by a trained              >10-20 years,                          status, age                  mercurial seed
                                          county                          1 controls
             lymphoma                                       (hair cell                  interviewer when          >20-30 years,                                                         dressing,
 Sweden
             and one of                                   lymphoma)                     information was           >30 years                                                            pyrethrins,
               NHL                                                                      unclear                                                                                          arsenic
                                                                                                                  Years between last exposure
                                                                                                                  and diagnosis:
                                                                                                                  Referent 3: 1-10 years,
                                                                                                                  >10-20 years,
                                                                                                                  >20-30 years,
                                                                                                                  >30 years

                                                                                                                  Decade of exposure

                                                                                                                                                                                     Phenoxyacetic
                                                                                                                                                                                         acids,
                                                                                                                  Referent: Non-farmers
                                                                          170 cases                                                                                                     Triazine
                                                                              of                                                                                                      herbicides,
                                                                                        Telephone interviews,     Ever use,
Hoar 1986                                                                 NHL/948                                                                                                        Amide
                                                                                        with questions on years
  [34]                                   Matched by                        controls                                                                                                   herbicides,
                                                          Dx period:                    living/                   Duration of use (years),
                CC          Population   age and vital                       (no.                                                                  Yes   Age                            Benzoic                 No
                                                          1976–1982                     working on a farm, and
 Kansas,                                    status                        included                                                                                                    herbicides,
                                                                                        herbicides/insecticides   Frequency of use (days/year),
  USA                                                                      in NHL                                                                                                     Carbamate
                                                                                        used.
                                                                           analysis                                                                                                   herbicides,
                                                                                                                  First year of use
                                                                           unclear)                                                                                                    Trifluralin
                                                                                                                                                                                      herbicides,
                                                                                                                                                                                    Uracil herbicides
                                             Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 14 of 80

    Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                      4461

                                                                                          Table 1. Cont.
                                                 Diagnosis or
  Author,                                                                                                 Referent category for
                         Source for               follow-up         No.               Exposure                                          Men                                                  Reported results by
    year,      Design                 Matching                                                             exposure, exposure                       Adjustment set            Pesticides
                          controls                  period      Participants         assessment                                         only                                                      subtype
  location                                                                                                 definition(s)/metric
                                                   (cancer)
                                                                                                        Referent 1: Nonexposed                 Age at enrollment,
 Kang 2008                                                                     Self-administered
                                                                                                        Referent 2: Lowest tertile of          education, cigarette
   [35]                                                                        questionnai-res
                                                                                                        exposure                               smoking, alcohol
                                                                               completed during
                                                                                                                                               consumption, family
 Iowa and      C (AHS)      NA          NA        1993–2002       50,127       enrollment and                                            No                                    Trifluralin           No
                                                                                                        Lifetime exposure days,                history of cancer, state of
   North                                                                       interviewer
                                                                                                                                               residence, top five most
 Carolina,                                                                     administered follow-up
                                                                                                        Intensity weighted lifetime            highly correlated
   USA                                                                         questionnaires
                                                                                                        exposure days                          pesticides
Koutros 2009
    [36]
                                                                                                        Referent: Nonexposed
                                                                               Self-administered                                               Age, year of enrollment,
 Iowa and      C (AHS)      NA          NA        1993–2004       49,398                                                                 No                                   Imazethapyr            No
                                                                               questionnaire            Intensity weighted lifetime            race
   North
                                                                                                        exposure days
 Carolina,
   USA
Koutros 2008
    [37]
                                                                                                                                               Not applicable, since an
                                                                               Self-administered                                               adjusted effect estimate for
 Iowa and      C (AHS)      NA          NA        1993–2004       49,762                                NA                               No                                   Dichlorvos             No
                                                                               questionnaire                                                   an association with NHL
   North
                                                                                                                                               was not reported
 Carolina,
   USA
 Lee 2004                                                                                                                                      Age, gender, alcohol
                                                                                                        Referent 1: Nonexposed
   [38]                                                                                                                                        consumption, smoking
                                                                                                                                               history, educational level,
                                                                               Self-administered        Lifetime exposure days,
 Iowa and      C (AHS)      NA          NA        1993–2001       54,383                                                                 No    family history of cancer,      Chlorpyrifos           No
                                                                               questionnaire
   North                                                                                                                                       year of enrollment, state of
                                                                                                        Intensity weighted lifetime
 Carolina,                                                                                                                                     residence, use of 4
                                                                                                        exposure days
   USA                                                                                                                                         correlated pesticides
                                                                                                        Referent 1: Nonexposed

 Lee 2004                                                                                               Exposed,
                                                                                                                                               Age, sex, alcohol,
   [39]
                                                                                                                                               smoking, education,
                                                                                                        Referent 2: Lowest quartile
                                                                               Self-administered                                               family history of cancer,
 Iowa and      C (AHS)      NA          NA        1993–2000       49,980                                of exposure                      No                                    Alachlor              No
                                                                               questionnaire                                                   enrollment year, state of
   North
                                                                                                                                               residence, 5 correlated
 Carolina,                                                                                              Lifetime exposure days,
                                                                                                                                               pesticides
   USA
                                                                                                        Intensity weighted lifetime
                                                                                                        exposure days
                                                 Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 15 of 80

    Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                        4462

                                                                                                 Table 1. Cont.
                                                        Diagnosis or
  Author,                                                                                                        Referent category for
                         Source for                      follow-up         No.               Exposure                                          Men                                                             Reported results by
    year,      Design                   Matching                                                                  exposure, exposure                       Adjustment set               Pesticides
                          controls                         period      Participants         assessment                                         only                                                                 subtype
  location                                                                                                        definition(s)/metric
                                                          (cancer)
                                                                                                               Referent 1: Nonexposed
Lynch 2009
                                                                                                               Referent 2: Lowest tertile of          Age at enrollment,
   [40]
                                                                                                               exposure                               gender, race, smoking
                                                                                      Self-administered                                               status, education, family
 Iowa and      C (AHS)      NA             NA            1993–2004       19,655                                                                 No                                        Butylate                       No
                                                                                      questionnaire            Lifetime exposure days,                history of cancer,
   North
                                                                                                                                                      atrazine, 5 most
 Carolina,
                                                                                                               Intensity weighted lifetime            correlated pesticides
   USA
                                                                                                               exposure days
Lynch 2006                                                                                                     Referent: Lowest tertile of            Age, race, gender,
   [41]                                                                                                        exposure1                              alcohol consumption,
                                                                                                                                                      smoking status,
                                                                                      Self-administered
 Iowa and      C (AHS)      NA             NA            1993–2002       50,800                                Lifetime exposure days,          No    education level, family            Cyanazine                       No
                                                                                      questionnaire
   North                                                                                                                                              history of cancer, state
 Carolina,                                                                                                     Intensity weighted lifetime            of residence, 5 most
   USA                                                                                                         exposure days                          correlated pesticides
 Mahajan                                                                                                       Referent 1: Nonexposed
   2007                                                                                                        Referent 2: Lowest tertile of
   [42]                                                                                                        exposure
                                                                                                                                                      Age, smoking, gender,
                                                                                      Self-administered
               C (AHS)      NA             NA            1993–2003       21,416                                                                 No    state of residence, use of          Carbaryl                       No
 Iowa and                                                                             questionnai-re           Lifetime exposure days,
                                                                                                                                                      4 correlated pesticides
   North
 Carolina,                                                                                                     Intensity weighted lifetime
   USA                                                                                                         exposure days
                                                                                                                                                                                       2,4-D, mecoprop,
                                                                                                                                                                                              MCPA,
                                                                                                                                                                                   DiclofopmethylGlypho
                                                                                                                                                                                    sate, phosphonic acids,
                                                                                                                                                                                     phenoxy herbicides,
                                                                                      Self-administered
                                                                                                                                                                                   thiocarbamates,diallate,
                                                                                      postal questionnai-re
                                                                                                                                                                                   dicamba, dinitroaniline,
                                                                                      followed by telephone
 McDuffie                                                                                                                                                                             trifluralin, carbaryl,
                                                                                      interview with           Referent: Not exposed
  2001                                  Frequency                                                                                                                                   carbofuran, methomyl,
                                                                           517        participants who had
   [43]                               matched by age     Dx period:                                                                                   Age, providence of           carbamate insecticides,
                 CC      Population                                     cases/1,50    10 or more hours of      Exposed,                         Yes
                                      and province of    1991–1994                                                                                    residence                          organochlorine
                                                                        6 controls    pesticide use in
Six Canadian                             residence                                                                                                                                 insecticides, chlordane,
                                                                                      lifetime plus a 15%      Frequency of exposure
  provinces                                                                                                                                                                              lindane, aldrin,
                                                                                      random sample of         (days/year)
                                                                                                                                                                                     methoxychlor, DDT,
                                                                                      those with fewer than
                                                                                                                                                                                        Captan, vitavax,
                                                                                      10 hours pesticide use
                                                                                                                                                                                             aldehyde,
                                                                                                                                                                                   formaldehyde, mercury
                                                                                                                                                                                     dust, mercury liquid,
                                                                                                                                                                                       malathion, carbon
                                                                                                                                                                                           tetrachloride
                                                Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 16 of 80

    Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                     4463

                                                                                               Table 1. Cont.
                                                       Diagnosis or
  Author,                                                                                                       Referent category for
                        Source for                      follow-up         No.              Exposure                                          Men                                                            Reported results by
    year,      Design                  Matching                                                                  exposure, exposure                      Adjustment set               Pesticides
                         controls                         period      Participants        assessment                                         only                                                                subtype
  location                                                                                                       definition(s)/metric
                                                         (cancer)
                                                                                                              Reference: Those who never
                                                                                     In-person interviews,
                                                                                                              worked in agriculture
Miligi 2006                           Stratified by                                  including questions
                                                                         1,145
   [44]                               gender and        Dx period:                   on crops grown and                                                                           Phenoxy herbicides,
                CC      Population                                    cases/1,232                             Overall exposure,               No    Age, gender, area                                                 No
                                       5-year age       1991–1993                    whether pesticides                                                                             2,4-D, MCPA
                                                                        controls
   Italy                                 groups                                      were used combined
                                                                                                              Probability of use >low and
                                                                                     with exposure matrix
                                                                                                              lack of protective equipment
                                                                                                                                                                                      Methyl bromide,
                           Same                                                                                                                                                    diazinon, malathion,
                        source as      Matched by                                                                                                                                    dichloro-propane,
 Mills 2005              the cases       gender,                                                                                                                                     captan, simazine,
                                                                          60         Work histories                                                 Age, gender, length of
    [45]                  (United       hispanic        Dx period:                                            Reference: Low use                                                        chlrothalonil,
                CC                                                     cases/300     combined with                                            No    union affiliation, date of                                        No
                           Farm       ethnicity and     1988–2001                                             High use                                                               mancozeb, methyl
                                                                        controls     exposure matrix                                                first union affiliation
 California             Workers of   +/− one year of                                                                                                                                parathion, nitrofen,
                         America          birth                                                                                                                                        propyzamide,
                          cohort)                                                                                                                                                 toxaphene, trifluralin,
                                                                                                                                                                                       2,4-D, maneb
                                                                                                                                                                                      Organochlorine
                                                                                                                                                                                         insecticides,
                                                                                     Self-administered
                                                                                                                                                                                    organophosphorus
                                                                                     questionnai-res,
                                                                                                                                                                                 insecticides, pyrethrin,
                                                                                     followed by face to
                                                                                                                                                                                  carbamate fungicides,
                                                                                     face interviews with
                                                                                                                                                                                     imide fungicides,
 Orsi 2009                                                                           trained staff, and                                             Age, center,
                                      Matched by                          244                                                                                                       triazole fungicides,
   [46]                                                                              review of interviews     Reference: Nonexposed                 socioeconomic
                CC       Hospital    center, age +/−    2000–2004      cases/436                                                              No                                  phenoline herbicides,              Yes
                                                                                     by experts to verify     Exposed                               characteristic (white
                                     3 year, gender                     controls                                                                                                   phenoxy herbicides,
  France                                                                             logical consistency                                            collar vs blue collar)
                                                                                                                                                                                   picoline herbicides,
                                                                                     with pesticide product
                                                                                                                                                                                    triazine herbicides,
                                                                                     availability,
                                                                                                                                                                                 amide herbicides, urea
                                                                                     geographic location,
                                                                                                                                                                                 herbicides, quaternary
                                                                                     etc.
                                                                                                                                                                                 ammonium herbicides,
                                                                                                                                                                                          glyphosate
                                                                                     Self-administered
                                                                                     postal questionnaire
                                                                                     followed by
 Pahwa M                                                                                                                                                                         OC insecticides, DDT,
                                                                                     telephone interview
   2012                                Frequency                                                                                                    Age, province of               OP insecticides,
                                                                       513 cases/    with participants who
   [47]                              matched by age     Dx period:                                            Reference: No use                     residence, respondent         malathion, phenoxy
                CC      Population                                        506        had 10 or more hours                                     Yes                                                                     No
                                     and province of    1991–1994                                             Use                                   type (self or proxy),         herbicides, MCPA,
                                                                        controls     of pesticide use in
Six Canadian                            residence                                                                                                   diesel oil exposure               mecoprop,
                                                                                     lifetime plus a 15%
  provinces                                                                                                                                                                              2,4-D
                                                                                     random sample of
                                                                                     those with fewer than
                                                                                     10 hours pesticide use
                                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 17 of 80

    Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                   4464

                                                                                                   Table 1. Cont.
                                                          Diagnosis or
  Author,                                                                                                           Referent category for
                         Source for                        follow-up         No.               Exposure                                         Men                                                       Reported results by
    year,      Design                    Matching                                                                    exposure, exposure                      Adjustment set           Pesticides
                          controls                           period      Participants         assessment                                        only                                                           subtype
  location                                                                                                           definition(s)/metric
                                                            (cancer)
                                                                                                                  Reference: Nonexposed
Pearce 1987                              Matched by
                                                                             183                                                                       Decade of birth, type of
    [48]                  Cancer        year of cancer     Dx period:
                 CC                                                       cases/338     Telephone interviews      Used any agricultural          Yes   interview respondent        Phenoxy herbicides               No
                          registry     registration and    1977–1981
                                                                           controls                               chemical spray in a farming          (self or relative)
New Zealand                            age (± 2 years)
                                                                                                                  setting
                                                                                                                                                       Age, date of Dx, gender,
                                                                                                                                                       farming, exposure to
Persson 1989
                                                                             106                                  Reference: Not exposed               fresh wood, other
    [49]                                                   Dx period:                   Self-administered                                                                          Phenoxy herbicides,
                 CC      Population      Unmatched                        cases/275                                                              No    exposures associated                                         No
                                                           1964–1986                    questionnaire                                                                                    DDT
                                                                           controls                               Exposed                              with at least a doubled
  Sweden
                                                                                                                                                       risk for hodgkins
                                                                                                                                                       disease or NHL
                                                                                                                                                       Age, other exposures
Persson 1993
                                                                             93                                   Reference: Not exposed               investigated with OR ≥2
    [50]                                                   Dx period:                   Self-administered                                                                          Phenoxy herbicides,
                 CC      Population      Unmatched                        cases/204                                                              No    or significantly below                                       No
                                                           1975–1984                    questionnaires                                                                                   DDT
                                                                           controls                               Exposed                              unity and with at least 5
  Sweden
                                                                                                                                                       exposed subjects
Purdue 2007                                                                                                       Reference 1: Never                   Age, sate, gender,
    [51]                                                                                                          use/unexposed                        education level,              OC insecticides,
                                                                                                                  Ever use                             smoking status, alcohol      aldrin, chlordane,
                                                                                        Self-administered
 Iowa and      C (AHS)      NA               NA            1993–2002       51,011                                                                No    use, family history of        DDT, dieldrin,                 No
                                                                                        questionnaire
   North                                                                                                          Lifetime days of exposure            cancer, lifetime days of    heptachlor, lindane,
 Carolina,                                                                                                        Intensity weighted lifetime          total pesticide                  toxaphene
   USA                                                                                                            days of exposure                     application
                                                                                        Records of sheep owned,
                                                                                        used as a proxy measure
                                                                                        for dermal exposure
                                                                                                                  Referent: <100 sheep
                                                                                        from sheep dipping;
 Rafnsson                                                                               sheep dipping used as a
                          Non-cases                                                                               ≥100 sheep ,
  2006                                                                       45         proxy for exposure to
                         from cohort                       Dx period:                                                                                                                Hexachlorocyc-
   [52]          CC                      Unmatched                        cases/221     hexa-chlorocyclohexane,                                  Yes   Age                                                          No
                           of sheep                        1966–2003                                              Categories of number of                                              lohexane
                                                                           controls     which is a mixture of
                            owners                                                                                sheep owned:
  Iceland                                                                               different isomers
                                                                                                                  100-199 sheep,
                                                                                        containing around 15%
                                                                                                                  200-683 sheep
                                                                                        lindane. <100 sheep
                                                                                        owned was used to
                                                                                        indicate unexposed
                                                Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 18 of 80

   Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                    4465

                                                                                                 Table 1. Cont.
                                                       Diagnosis or
 Author,                                                                                                       Referent category for
                        Source for                      follow-up          No.               Exposure                                      Men                                                            Reported results by
   year,     Design                    Matching                                                                 exposure, exposure                     Adjustment set               Pesticides
                         controls                         period       Participants         assessment                                     only                                                                subtype
 location                                                                                                       definition(s)/metric
                                                         (cancer)
 Rusiecki
   2009                                                                                                                                           Age, gender, race,
                                                                                                             Referent: Nonexposed
   [53]                                                                                                                                           family history of cancer,
                                                                                      Self-administered      Lifetime days of exposure
 Iowa and    C (AHS)       NA             NA            1993–2004        49,093                                                             No    cigarette smoking,                 Permethrin                     No
                                                                                      questionnaire
   North                                                                                                                                          state of residence,
                                                                                                             Intensity weighted
 Carolina,                                                                                                                                        enrollment year
   USA
 Rusiecki
                                                                                                             Referent: Lowest tertile of
   2006                                                                                                                                           Age, gender, race,
                                                                                                             exposure
   [54]                                                                                                                                           smoking, alcohol,
                                                                                        Self-administered                                         applicator status, family
             C (AHS)       NA             NA            1993–2002          50,193                            Lifetime days of exposure      No                                      Metolachlor                     No
 Iowa and                                                                               questionnaire                                             history of cancer, sate of
   North                                                                                                                                          residence, most highly
                                                                                                             Intensity weighted lifetime
 Carolina,                                                                                                                                        correlated pesticides
                                                                                                             days of exposure
   USA
van Bemmel
   2008                                                                                                      Referent: No exposure                Age, race, smoking,
    [55]                                                                                                                                          alcohol use, applicator
                                                                                        Self-administered    Lifetime days of exposure            type, family history of
             C (AHS)       NA             NA            1993–2004          48,378                                                           Yes                                        EPTC                         No
 Iowa and                                                                               questionnaire                                             cancer, state of
   North                                                                                                     Intensity weighted lifetime          residence, total days of
 Carolina,                                                                                                   days of exposure                     pesticide use
   USA
                                                                                                             Referent: Non-farmers                                                 OP insecticides,
                                       Matched by
 Waddell                                                                                                                                                                       dichlorvos, trichlorfon,
                                      race, gender,
  2001                                                                                                       Ever Used                                                          dimethoate, diazinon,
                                      age, and vital                                    Telephone
  [56]                                                                                                                                                                           disulfoton, ethoprop,
             Pooled                    status at the                                    interviews (Kansas
                                                                            748                              First used                           Age, state of residence,        malathion, phorate,
             analysis                     time of       Dx period 1:                    and Nebraska,
  Iowa,                 Population                                      cases/2,236                                                         Yes   respondent type (proxy       terbufos, chloropyrifos,            Yes
             of 3 CC                 interview, year    1979–1983                       USA), In-person
 Kansas,                                                                  controls                           Years used                           or direct)                   coumaphos, crufomate,
             studies                   of death for                                     interviews (Iowa
Minnesota,                                                                                                                                                                              runnel,
                                         controls                                       and Minnesota)
Nebraska,                                                                                                    Days/year of use                                                     tetrachlorvinphos,
                                       matched to
  USA                                                                                                                                                                          fensulfothion, famphur,
                                     deceased cases
                                                                                                             Protective gear                                                      fonofos, parathion
                                                  Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 19 of 80

   Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                              4466

                                                                                                  Table 1. Cont.
                                                         Diagnosis or
 Author,                                                                                                          Referent category for
                        Source for                        follow-up          No.              Exposure                                                                                              Reported results by
   year,     Design                    Matching                                                                    exposure, exposure          Men only      Adjustment set   Pesticides
                         controls                           period       Participants        assessment                                                                                                  subtype
 location                                                                                                          definition(s)/metric
                                                           (cancer)
                                                                                                                Referent: No exposure

                                                                                                                Farming exposures to
                                                                                                                phenoxy herbicides
Woods 1987                                                                               In-person interviews
                                      Matched by
   [57]                                                                       746        about occupational     Any exposure to DDT
                                     vital status and     Dx period:                                                                                                          Phenoxy herbicides,
               CC       Population                                         cases/910     history and self-      Any exposure to chlordane       Yes    Age                                                    No
                                       5-year age         1981–1984                                                                                                            DDT, Chlordane
Washington                                                                  controls     reported chemical
                                          group
state, USA                                                                               exposure               Estimated intensity of
                                                                                                                occupational exposure to
                                                                                                                phenoxy herbicides:
                                                                                                                Low/medium/high

                                                                                                                Referent: Never lived or
                                                                                                                worked on a farm
Zahm 1990
                                                                                                                Mixed or applied
   [58]                                Matched by                             201       In-person interviews
                                                          Dx period:
               CC       Population    race, gender,                        cases/725    about agricultural                                       Yes      Age                      2,4-D                      No
                                                          1983–1986                                             Days/year mixing or applying
 Nebraska,                           vital status, age                      controls    pesticide use
   USA
                                                                                                                Years used on a farm

                                                                                                                First year of use
                                                                                                                Referent: Non-farmers

Zahm 1993                                                                                                       Used atrazine 1
   [59]
                                       Matched by                                       Telephone interviews
             Pooled                                                                                             Personally handled
                                      race, gender,                           993       (Kansas and
  Iowa,      analysis                                     Dx period 1:                                          Used but did not handle
                        Population   age, vital status                    cases/2,918   Nebraska, USA), In-                                     Yes       Age, state              Atrazine                   Yes
 Kansas,     of 3 CC                                      1979–1983
                                      at the time of                        controls    person interviews
Minnesota,   studies                                                                                            Duration of use (years)
                                        interview                                       (Iowa and Minnesota)
Nebraska,
  USA                                                                                                           Days/year handled

                                                                                                                Year of first use
                                                        Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 20 of 80

   Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                                                              4467

                                                                                                        Table 1. Cont.
                                                               Diagnosis or
 Author,                                                                                                                 Referent category for
                             Source for                         follow-up          No.              Exposure                                                                                                        Reported results by
   year,         Design                       Matching                                                                    exposure, exposure         Men only     Adjustment set           Pesticides
                              controls                            period       Participants        assessment                                                                                                            subtype
 location                                                                                                                 definition(s)/metric
                                                                 (cancer)
                                                                                                                                                                                           Phenoxy herbicides,
                                                                                                                                                                                       triazine herbicides, amide
Zahm 1993                                    Matched by                                                               Referent: women who never                                         herbicides, benzoic acid
   [18]                                     race, gender,                           119       In-person interviews    lived or worked on a farm        No                                 herbicides, carbamate
                                                                Dx period:
                   CC        Population    vital status, and                     cases/471    about agricultural                                     (women       Age                     herbicides, trifluralin             No
                                                                1983–1986
Nebraska,                                  age (5 year age                        controls    pesticide use           Used on farm                    only)                              herbicides, chlorinated
  USA                                          groups)                                                                                                                                 hydrocarbons, carbamate
                                                                                                                                                                                             insecticides, OP
                                                                                                                                                                                               insecticides
                                                                                                                      Referent: Non-farmers                       Age, type of
                                                                                                                                                                  respondent
Zheng 2001
                                                                                                                      Used                                        (proxy or direct),
   [60]
                                             Matched by                                                                                                           state of
                 Pooled
                                             gender, age,                           985       In-person interviews    Personally handled                          residence, first-      Carbaryl, carbamate
Nebraska,        analysis                                       Dx period 1:
                             Population       race, vital                       cases/2,895   about agricultural                                       Yes        degree family         herbicides, carbamate                Yes
USA, Iowa        of 3 CC                                        1979–1983
                                            status, state of                      controls    pesticide use           Year since first use                        history of cancer,         insecticides
   and           studies
                                               residence                                                                                                          use of hair dye,
Minnesota,
                                                                                                                      Years of use                                use of private
 Kansas
                                                                                                                                                                  wells, tobacco
                                                                                                                      Days/year of use                            smoking
             Notes: 2,4-D, 2,4-Dichlorophenoxyacetic acid; 2,4,5-T, 2,4,5-Trichlorophenoxyacetic acid; AHS, Agricultural Health Study; C, cohort study; CC, case-control study; DDT, dichlorodiphenyltrichloroethane;
             DX, Diagnosis; EPTC, s-ethyl dipropylthiocarbamate; MCPA, 2-methyl-4-chlorophenoxyacetic acid; OC, organochlorine; OP, organophosphorus; 1 Diagnosis period varied by state: July 1983–June 1986 (Nebraska,
             USA), October 1980–September 1982 (Minnesota), March 1981-October 1983 (Iowa), 1979–1981 (Kansas).
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 21 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                         4468

3.2.1. Studies Conducted in the United States

   Nineteen papers [19,21,22,24–26,29,31,35,36,38–42,51,53–55] report results from analyses of data
from the Agricultural Health Study, which is a prospective cohort study of licensed pesticide
applicators and their spouses living in Iowa and North Carolina, USA. Enrollment began in 1993 and
the study is still ongoing [61]. The number of participants included in the analyses varied due to
exclusions and completeness of exposure data. The last year of follow-up was defined by the last date
on which the incident cancers were identified. At enrollment, participants completed a questionnaire in
which they provided historical data on exposure to pesticides. They were also given a take home
questionnaire to complete. Most analyses of the Agricultural Health Study data classified active
ingredient exposures using two metrics: (1) lifetime exposure days, defined as number of years of use
x number of days used per year; and (2) intensity-weighted lifetime exposure days, which was defined
as years of use x number of days used per year x personal protective equipment use x intensity level,
which incorporates factors that modify pesticide exposure, such as mixing status, application method,
equipment repair status. Four papers [31,38,39,51] also reported associations using ever/never use
categories; we used these estimates in the meta-analyses.
   Six papers reported results from pooled analyses of three case-control studies that were conducted by
the USA National Cancer Institute [20,23,30,56,59,60], in Iowa and Minnesota, Kansas, and Nebraska.
Diagnosis periods for NHL ranged from 1979 to 1986, depending upon the study. In all studies,
population based controls were frequency matched to cases by race, sex, age, and vital status at the
time of the interview, and lifetime exposure to pesticides was assessed via telephone interviews.
Using these pooled data, De Roos et al. [30] examined associations of NHL with 47 active ingredients.
The authors investigated pesticides for which there was exposure data from all three studies and to
which at least 20 participants were exposed. They used standard logistic regression to model the
association of NHL with the multiple pesticides, simultaneously. These analyses were restricted to
participants with complete information on all of the pesticides. Other papers reported results from
analyses of these pooled data. Baris et al. [20] examined associations with dichlorodiphenyltrichloroethane
(DDT), Blair et al. [23] with lindane, Zahm et al. [59] with atrazine, Waddell et al. [56] with
organophosphates, and Zheng et al. [60] with carbamates. We also extracted results from analyses of the
individual studies. Using data from the study in Iowa and Minnesota, Cantor et al. [27] examined
associations with multiple pesticides. In Kansas, Hoar et al. [34] examined associations with exposures
to various herbicides. In Nebraska, Zahm et al. [58] examined associations with
2,4-Dichlorophenoxyacetic acid (2,4-D).
   In a population based case-control study in western Washington State, USA Woods et al. [57],
examined associations between phenoxy exposure and NHL. Controls were group matched to cases
diagnosed 1981–1984, based on vital status and age. Lifetime occupational histories and self-reported
pesticide chemical exposures were ascertained using in-person interviews. The authors reported
exposure to phenoxy herbicides by occupational type. We extracted the result for farming exposure to
phenoxy herbicides. Exposures to DDT and chlordane were reported as ever/never, but they were not
stratified by occupation.
   We also extracted results from a USA based case-control study nested in a cohort of primarily
Hispanic members of the California farm worker labor union [45]. Cases were diagnosed 1988–2001.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 22 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                        4469

Controls were selected from the same cohort as cases and matched on the basis of gender,
Hispanic ethnicity, and year of birth. Pesticide exposure was defined as low versus high use, with the
category cut-points based on the distribution of use of the top 15 pesticides. To estimate exposure,
union job history data that described crops farmed in a given month/year and county was combined
with data collected by the California Pesticide Databank that describes pesticides used on a crop in a
given county and time period.

3.2.2. Canadian Studies

   Two papers reported results from the Cross-Canada Study of Pesticides and Health, which was a
case control study conducted in six Canadian provinces [43,47]. Population based controls were
frequency matched to NHL cases, diagnosed 1991–1994, based on age and province of residence.
Detailed information on specific pesticide use was ascertained by telephone interviews.
The questionnaires used for this study were based on the one used in the USA National Cancer
Institute led case-control studies [20,23,30,56,59,60] in Nebraska [18,58] and Kansas [34].
McDuffie et al. [43] and Pahwa et al. [47] present results from some of the same analyses with the
same population. When the same analysis was reported in both papers we selected the effect estimate
from the paper by Pahwa et al. [47] because the authors excluded four NHL cases based on pathology
review that occurred subsequent to the analyses reported in McDuffie et al. [43].

3.2.3. European Studies

    Four papers [32,33,49,50] reported results from distinct case-control studies conducted in Sweden.
The papers by Eriksson et al. [32] and Hardell et al. [33] reported analyses from population based
case-control studies; case diagnosis periods were 1999–2002 and 1987–1992, respectively. A complete
lifetime occupational and chemical exposure history was ascertained using self-administered
questionnaires followed by telephone interviews when clarification was needed. The two studies by
Persson et al. [49,50] report results from unmatched population based case-control studies; the results
reported from the paper published in 1993 [50] were performed in an adjacent region of Sweden to the
area represented in the earlier paper [49]. They examined the association of NHL with various occupational
exposures, including phenoxy herbicides and DDT. Case diagnosis periods were 1964–1986 and
1975–1984, respectively.
    We extracted results from papers that report results from analyses of data collected in France [46],
Italy [44], Iceland [52], and multiple European centers that form parts of the EPILYMPH study [28].
All of these studies were case-control in design. In France [46], cases (diagnosed 2000–2004) and
controls were recruited in the same hospitals. Exposure was assessed using self-administered
questionnaires, followed by face-to-face interviews in which participants reported information about
farms on which they worked for a minimum of six months; they reported information about location,
period, crops and animals farmed, name of pesticides mixed or sprayed, duration and number of
pesticide applications. Pesticide exposure was classified as possible or definite; the referent category
included people never exposed to the pesticide. In the Italian study [44], cases were diagnosed from
1991 to 1993. Participants were interviewed about agricultural work, crop diseases, pesticides used to
treat diseases, frequency of pesticide treatments, period of treatment, protective equipment used,
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 23 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                         4470

means of application, and re-entry tasks. Exposure was classified into low, medium, and high
probabilities of use. The Icelandic case-control study [52] was nested in a cohort of male sheep
owners. The authors included cases diagnosed 1966–2003. Paper records on sheep dipping in
hexachlorocyclohexane, an organochlorine insecticide that contains lindane, were used as a proxy
measure for exposure; records were available for the period 1962–1980. Number of sheep owned was
used as a surrogate measure for exposure. In the EPILYMPH study [28], in-person interviews were
conducted to ascertain detailed job histories, including information about farm size, crops farmed,
pests treated, types and frequency of pesticides used, protective equipment, and re-entry tasks.
Industrial hygienists classified pesticide exposure as possible, probable, or certain. In analysis,
contrasts were made between high confidence of ever lifetime exposure versus never exposure,
and any level of confidence of ever exposure versus never exposure.

3.2.4. Studies from Australia and New Zealand

    Only two papers reported results from analyses of studies conducted outside of North America and
Europe. Pearce et al. [48] reported analyses of data from a New Zealand based case-control study of
agricultural exposures. Cases were diagnosed 1977–1981. Telephone interviews were used to ascertain
lifetime occupational history and work with chemicals (phenoxy herbicides). In analysis, Pearce et al. [48]
stratified phenoxy herbicide exposure by occupation (farming, forestry, railway work, etc.).
We extracted the estimate of association with any phenoxy herbicide exposure in farming occupations.
In Australia [62], Fritschi et al. enrolled incident NHL cases diagnosed between 2000 and 2001.
They matched controls to cases based on age, gender, and region of residence. In structured telephone
interviews, participants provided occupational histories. Occupational hygienists reviewed the
responses to these questions and, with the help of a pesticide crop matrix, assigned likelihood of
exposure to pesticides (probable, possible, no exposure), level of exposure, and frequency of exposure.
These assignments were combined to classify participants’ lifetime amount of exposure
(substantial, meaning the person was probably exposed to the substance at a medium or high level for
more than five 8-h days per year for a combined total of five years, nonsubstantial, or none).

3.2.5. Gender

   Nineteen of the papers reported results from analyses that were restricted to men
only [20,21,23,27–30,33,34,43,47,48,52,55–60]. One paper reported results from an analysis that was
restricted to women [18]. The other papers reported results from analyses of study populations with
men and women; in the analytic models reported in these papers, gender was treated as a confounder.

3.2.6. Covariates

   In all papers, age was included in models to adjust for potential confounding. Location (state of
residence, study center) was also a common adjustment factor. Other variables that were included in
models as covariates were race, smoking status, alcohol consumption, correlated pesticides,
education level, year of study enrollment, family history of cancer (all cancers or lympho-hematopoetic),
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 24 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                             4471

other environmental risk factors for NHL (e.g., gasoline exposure), and type of respondent to the
interview used for exposure assessment (direct or proxy).

3.2.7. Reference Groups

   In the majority of papers reviewed, the reference group contained farmers and non-farmers who
were not exposed to the pesticide. However, there were exceptions to this, either because of study
design or analytic decisions.
   By design, all participants in the Agricultural Health Study were either pesticide applicators or
spouses of applicators. Most of the analyses from this cohort contrasted exposed participants with two
different referent groups: (1) participants with no exposure to the pesticide; and (2) participants in the
lowest category of exposure. Similarly, all of the participants in the California based study reported in
Mills et al. [45] were farm workers. The referent group in this analysis consisted of those with
estimated low use of the pesticide being analyzed. Both cases and controls in the Icelandic study on
which Rafnsson et al. [52] reported were sheep owners; people who owned <100 sheep made up the
reference group.
   By contrast, in some papers, the authors defined the reference group as those who neither worked
nor lived on a farm. Miligi et al. [44] defined the referent group as participants who never worked in
agriculture. Similarly, in papers reporting analyses of the case-control studies in Iowa, Minnesota,
Nebraska, and Kansas, the referent group was defined as participants who never worked or lived on a
farm. The exception to this was the paper by De Roos et al. [30]; the authors used pooled data from
these case-control studies but defined the referent group as farmers and non-farmers who never used
the pesticide being considered.

3.2.8. Exposure Period and Definition

   Pesticide exposure periods and definitions varied, also. For the most part, papers investigated
associations of NHL with ever lifetime pesticide exposure. However, some were more specific in their
definition, and not all papers used the ever lifetime exposure metric.
   In the cohort of California based union farm workers, Mills et al. [45] assessed pesticide exposure
in the two to three year decade period prior to cancer diagnosis or enrollment. In Canada,
McDuffie et al. [43] and Pahwa et al. [47] defined pesticide exposure as ever versus never lifetime use
of pesticides for at least 10 h. In Sweden, Eriksson et al. [32] and Hardell et al. [33] required
participants to have worked with the pesticide for a minimum of eight hours in a day, and the pesticide
exposure was required to have occurred at least one year prior to the time of diagnosis or enrollment.
Persson et al. [49,50] only classified as exposed those participants who were exposed to the chemical for at
least one year, five to 45 years prior to case diagnosis. In the Italian study described by Miligi et al. [44],
an agricultural pesticide questionnaire was only administered to participants who had worked on a
farm for at least six months; presumably, therefore, anyone who had worked with pesticides but
worked on a farm for less than six months was excluded from the exposed group. In the Icelandic study
that Rafnsson et al. [52] described, records on sheep ownership, which were used to estimate lindane
exposure, were available for the period 1962–1980; however, the cancer diagnosis period was 1966–2003.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 25 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                    4472

3.3. Individual Effect Estimates and Dose Response Relationships

    Table 2 presents effect estimates from studies in which chemical exposures were represented using
multiple categories. Strong dose response relationships were generally absent; most analyses that
examined associations with multiple categories of exposure derived imprecise estimates with wide
confidence intervals. McDuffie et al. [43] and Eriksson et al. [32] observed increased odds of NHL in
association with a greater number of days/year of glyphosate exposure. De Roos et al. [31] did not
observe a similar relationship in analyses of Agricultural Health Study data. McDuffie et al. [43]
observed elevated effect estimates in association with exposure to 2,4-D; however, they did not
observe a dose-response relationship with days/year exposed. In analyses of Agricultural Health Study
data, Lynch et al. [40] observed a nearly three-fold increase in the rate of NHL among those with ≥26
lifetime- and intensity-weighted exposure days to butylate, although the rate ratio comparing those
with one to 25 lifetime exposure days to non-exposed applicators was close to the null.
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 26 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                4473

     Table 2. Effect estimates from studies that investigated associations between non-Hodgkin lymphoma and herbicides, insecticide,
     and fungicide exposures classified using multiple categories.
      Author, date                    Pesticide                   Category of exposure              N exposed       Effect estimate, 95% CI
     HERBICIDES
     Amide herbicides
      Lee 2004 [39]                   Alachlor        Lifetime exposure days 1                                        Rate ratio, 95% CI:
                                                                   Quartile 1, 0.1–19.9                 5                1.0, Referent
                                                                  Quartile 2, 20.0–56.0                 4                0.6, 0.1–2.5
                                                                  Quartile 3, 56.1–116.0               8                 1.5, 0.4–5.4
                                                                    Quartile 4, ≥116.1                 10                1.1, 0.3–4.4
                                                                                                                       P for trend: 0.5
                                                      Intensity weighted exposure days 1
                                                                   Quartile 1, 0.1–101.9                5                1.0, Referent
                                                                  Quartile 2, 102.0–253.1              3                 0.6, 0.1–3.4
                                                                  Quartile 3, 253.2–710.4              10                2.4, 0.7–8.8
                                                                    Quartile 4, ≥710.5                 9                 1.4, 0.3–6.1
                                                                                                                       P for trend: 0.4
    Rusiecki 2006 [54]               Metolachlor      Lifetime exposure days 1                                        Rate ratio, 95% CI:
                                                                      Tertile 1, ≤20                   14                1.0, Referent
                                                                     Tertile 2, 21–56                  11                0.8, 0.3–1.7
                                                                      Tertile 3, >56                   11                0.7, 0.3–1.7
                                                                                                                       P for trend: 0.5
                                                      Intensity-weighted lifetime exposure days 1
                                                                       Tertile 1, ≤20                  13                1.0,Referent
                                                                     Tertile 2, 21–56                  10                0.7, 0.3–1.7
                                                                       Tertile 3, >56                  13                1.0, 0.4–2.7
                                                                                                                        P for trend: 0.7
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 27 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                         4474

                                                                Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                  N exposed            Effect estimate, 95% CI
 Dinitroaniline herbicides
     Kang 2008 [35]                  Trifluralin      Lifetime days of exposure 2                                               Rate ratio, 95% CI
                                                                        Non-exposed                         53                     1.0, referent
                                                                       Tertile1, 1-24.4                     17                     0.9, 0.5–1.5
                                                                    Tertile 2, 24.5-108.4                   23                     1.0, 0.6–1.8
                                                            Tertile 3, Lower half, 108.5-224.75              6                     0.6, 0.2–1.4
                                                              Tertile 3, Upper half, >224.75                 4                     0.6, 0.2–1.7
                                                                                                                                 P for trend: 0.2
                                                      Intensity weighted lifetime days 2
                                                                      Tertile 1, 0-162.1                    15                    0.7, 0.4–1.4
                                                                    Tertile 2, 162.2-593                    20                    1.1, 0.8–2.9
                                                            Tertile 3, Lower half, 593.1-1176.0              9                    0.9, 0.4–2.0
                                                               Tertile 3, Upper half, >1176.0                4                    0.4, 0.1–1.1
                                                                                                                                 P for trend: 0.1
       Glyphosate
  McDuffie 2001 [43] 3              Glyphosate        Days/year of exposure                                                       OR, 95% CI:
                                                                       Unexposed                  466 cases/1,373 controls        1.0, Referent
                                                                         >0–≤2                      28 cases/97 controls          1.0, 0.6–1.6
                                                                           >2                       23 cases/36 controls          2.1, 1.2–3.7
   De Roos 2005 [31] 3              Glyphosate
                                                      Lifetime days of exposure 2                                              Rate ratio, 95% CI:
                                                                      Tertile 1, 1–20                       29                    1.0, Referent
                                                                     Tertile 2, 21–56                       15                    0.7, 0.4–1.4
                                                                    Tertile 3, 57–2678                      17                    0.9, 0.5–1.6
                                                                                                                                P for trend: 0.7
                                                      Intensity weighted exposure days 2
                                                                    Tertile 1, 0.1–79.5                     24                    1.0, Referent
                                                                   Tertile 2, 79.6–337.1                    15                    0.6, 0.3–1.1
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 28 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                            4475

                                                                     Table 2. Cont.
      Author, date                     Pesticide                       Category of exposure                 N exposed           Effect estimate, 95% CI
                                                                      Tertile 3, 337.2–1,824.1                  22                   0.8, 0.5–1.4
                                                                                                                                    P for trend: 1.0
   Eriksson 2008 [32] 3               Glyphosate                                                                                     OR, 95% CI:
                                                           Days of exposure 4
                                                                           >0–≤10 days                  12 cases/9 controls           1.7, 0.7–4.1
                                                                              >10 days                  17 cases/9 controls           2.4, 1.0–5.4
 Imidazolinone herbicides
    Koutros 2009 [36]                Imazethapyr           Intensity weighted exposure days 5                                     Rate ratio, 95% CI:
                                                                             No exposure:                       80                   1.0, Referent
                                                                            Tertile 1, <54.1                    15                   1.0, 0.6–1.7
                                                                        Tertile 2, 54.1–<152.9                  13                   0.9, 0.5, 1.6
                                                                 Tertile 3, lower half, 152.9–<311.9            7                    0.8, 0.3–1.8
                                                                     Tertile 3, upper half, ≥311.9              11                   1.4, 0.8–2.7
                                                                                                                                   P for trend: 0.4
    Phenoxy herbicides
    Fritschi 2005 [62]         Phenoxy herbicides, group   Degree of pesticide exposure 6                                            OR, 95% CI:
                                                                                None                   679 cases/677 controls        1.0, Referent
                                                                           Nonsubstantial               10 cases/14 controls         0.7, 0.3–1.7
                                                                             Substantial                 5 cases/3 controls          1.8, 0.4–7.4
   Eriksson 2008 [32] 3        Phenoxy herbicides, group   Days of exposure 4
                                                                            >0–≤45 days                 32 cases/13 controls         2.8, 1.5–5.5
                                                                              >45 days                  15 cases/13 controls         1.3, 0.6–2.7
    Hardell 2002 [33] 3        Phenoxy herbicides, group                                                                             OR, 95% CI:
                                                           Number of days of exposure
                                                                           Not exposed                          NR                   1.0, Referent
                                                                               Low                              NR                   1.7, 1.0–2.7
                                                                               High                             NR                   1.7, 1.0–2.7
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 29 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                   4476

                                                                Table 2. Cont.
      Author, date                    Pesticide                   Category of exposure                 N exposed          Effect estimate, 95% CI
                                                      Years between first exposure and diagnosis
                                                                           1–10                            NR                         -
                                                                          >10–20                           NR                   2.9, 1.1–7.7
                                                                          >20–30                           NR                   1.5, 0.9–2.8
                                                                            >30                            NR                   1.5, 0.9–2.4
                                                      Years between last exposure and diagnosis
                                                                           1–10                            NR                   3.2, 1.6–6.7
                                                                          >10–20                           NR                   2.1, 1.0–4.1
                                                                          >20–30                           NR                   1.0, 0.5–1.8
                                                                            >30                            NR                   1.3, 0.6–2.6
                                                      Decade of exposure
                                                                           1940s                    4 cases/6 controls          1.5, 0.4–5.2
                                                                           1950s                   35 cases/53 controls         1.4, 0.9–2.3
                                                                           1960s                   43 cases/58 controls         1.7, 1.1–2.6
                                                                           1970s                   32 cases/33 controls         2.4, 1.4–4.0
                                                                           1980s                   16 cases/33 controls         3.3, 1.5–7.1
   Eriksson 2008 [32] 3                MCPA           Days exposed 4
                                                                            ≤32                    15 cases/5 controls         3.8, 1.4–10.5
                                                                            >32                     6 cases/4 controls         1.7, 0.5–6.0
    Hardell 2002 [33] 3                MCPA                                                                                    OR, 95% CI:
                                                      Number of days of exposure
                                                                       Not exposed                         NR                  1.0, Referent
                                                                           Low                             NR                  1.9, 0.8–4.6
                                                                           High                            NR                  3.6, 1.5–9.1
                                                      Years between first exposure and diagnosis
                                                                           1–10                            NR                         -
                                                                          >10–20                           NR                   5.4, 1.6–21
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 30 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                         4477

                                                                  Table 2. Cont.
      Author, date                    Pesticide                     Category of exposure                   N exposed            Effect estimate, 95% CI
                                                                           >20–30                              NR                    0.9, 0.2–3.0
                                                                             >30                               NR                    3.8, 1.5–10.0
                                                        Years between last exposure and diagnosis
                                                                             1–10                              NR                     3.5, 1.6–8.0
                                                                           >10–20                              NR                     2.3, 0.6–9.1
                                                                           >20–30                              NR                     0.9, 0.1–4.4
                                                                             >30                               NR                           -
   McDuffie 2001 [43] 3               Mecoprop          Days/year exposed
                                                                         Unexposed                   464 cases/1,425 controls        1.0, Referent
                                                                            >0–≤2                      31 cases/48 controls          2.3, 1.4–3.7
                                                                              ≥2                       22 cases/33 controls          2.1, 1.2–3.6
    Hardell 2002 [33] 3            2,4-D + 2,4,5-T                                                                                   OR, 95% CI:
                                                        Number of days of exposure
                                                                             Low                               NR                     1.9, 1.1–3.2
                                                                             High                              NR                     1.2, 0.7–2.1
                                                        Years between first exposure and diagnosis
                                                                             1–10                              NR                           -
                                                                            >10–20                             NR                    2.9, 0.8–11.0
                                                                            >20–30                             NR                    1.9, 1.0–3.5
                                                                              >30                              NR                    1.2, 0.7–1.9
                                                        Years between last exposure and diagnosis
                                                                             1–10                              NR                    4.3, 1.1–21.0
                                                                            >10–20                             NR                    1.9, 0.9–3.8
                                                                            >20–30                             NR                    0.9, 0.1–4.4
                                                                              >30                              NR                    1.4, 0.7–2.9
   Eriksson 2008 [32] 3          2,4,5-T and/or 2,4-D   Days exposed 4
                                                                                                                                     OR, 95% CI:
                                                                        Non-exposed                                                  1.0, Referent
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 31 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                  4478

                                                                 Table 2. Cont.
      Author, date                    Pesticide                    Category of exposure           N exposed            Effect estimate, 95% CI
                                                                              ≤29             21 cases/11 controls          2.1, 1.0–4.4
                                                                              >29             12 cases/10 controls          1.3, 0.6–3.1
     Zahm 1990 [58] 3                  2,4-D                                                                                OR, 95% CI:
                                                             Never lived/worked on a farm    54 cases/184 controls          1.0, Referent
                                                      Days/year mixing or applying
                                                                           1–5                16 cases/44 controls          1.2, 0.6–2.4
                                                                          6–20                12 cases/25 controls          1.6, 0.7–3.6
                                                                           21+                 3 cases/4 controls           3.3, 0.5–22.1
                                                                       Unknown                12 cases/25 controls                 -
                                                                                                                           P for trend: 0.1
                                                      Years used on farm
                                                                              1–5              3 cases/12 controls          0.9, 0.2–3.6
                                                                              6–15            11 cases/15 controls          2.8, 1.1–7.1
                                                                             16–20             3 cases/18 controls          0.6, 0.1–2.1
                                                                              21+             13 cases/33 controls          1.3, 0.6–2.7
                                                                            Unknown           15 cases/29 controls                 -
                                                                                                                           P for trend: 0.3
                                                      First year of use
                                                                          Prior to 1945       8 cases/21 controls           1.4, 0.5–3.5
                                                                           1946–1955          13 cases/39 controls          1.1, 0.5–2.3
                                                                           1956–1965           5 cases/8 controls           2.1, 0.6–7.7
                                                                           1965–1986          4 cases/12 controls           1.3, 0.3–4.9
                                                                          Unknown year        13 cases/18 controls                 -
                                                                                                                           P for trend: 0.2
   McDuffie 2001 [43] 3                2,4-D          Days/yr exposed                                                       OR, 95% CI:
                                                                           Unexposed        406 cases/1,213 controls        1.0, Referent
                                                                            >0–≤2            55 cases/160 controls          1.2, 0.8–1.6
                                                                            >2–≤5             36 cases/82 controls          1.4, 0.9–2.1
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 32 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                4479

                                                                Table 2. Cont.
      Author, date                    Pesticide                   Category of exposure          N exposed           Effect estimate, 95% CI
                                                                          >5–≤7             9 cases/20 controls           1.4, 0.6–3.2
                                                                           >7               11 cases/31 controls          1.2, 0.6–2.5
 Thiocarbamate herbicides
    Zheng 2001 [60] 3                 Butylate                                                                           OR, 95% CI
                                                                        Non-farmers        243 cases/775 controls        1.0, Referent
                                                      Years since first use
                                                                            <20             34 cases/56 controls          1.5, 0.9–2.4
                                                                            ≥20              4 cases/10 controls          1.1, 0.3–3.7
                                                      Years of use
                                                                            <7              21 cases/35 controls          1.5, 0.9–2.8
                                                                            ≥7              20 cases/37 controls          1.5, 0.8–2.7
                                                      Days/year of use
                                                                            <5               3 cases/5 controls          2.6, 0.6–11.1
                                                                            ≥5               2 cases/2 controls          4.7, 0.6–34.5
     Lynch 2009 [40]                  Butylate        Lifetime exposure days 5                                        Rate ratio, 95% CI:
                                                                        No exposure                 27                   1.0, Referent
                                                                    Low exposure, 1–25               6                   0.9, 0.4–2.0
                                                                    High exposure, ≥26              12                   2.9, 1.5–5.8
                                                                                                                       P for trend: 0.0
                                                      Intensity weighted exposure days 5
                                                                       No exposure                  27                   1.0, Referent
                                                                   Low exposure, 1–157               5                   0.8, 0.3–2.0
                                                                   High exposure, ≥158              13                   2.9, 1.5–5.5
                                                                                                                       P for trend: 0.0
  Van Bemmel 2008 [55]                 EPTC           Lifetime exposure days 5                                        Rate ratio, 95% CI:
                                                                      No exposure                   83                   1.0, Referent
                                                                      Tertile 1, 1–9                10                   1.2, 0.6–2.3
                                                                     Tertile 2, 10–49               7                    1.5, 0.7–3.2
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 33 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                       4480

                                                                Table 2. Cont.
      Author, date                    Pesticide                   Category of exposure                  N exposed          Effect estimate, 95% CI
                                                                      Tertile 3, 50+                         5                  0.8, 0.3–2.0
                                                                                                                               P for trend:0.7
                                                      Intensity-weighted lifetime exposure days 5                            Rate ratio, 95% CI:
                                                                       No exposure                          83                  1.0, Referent
                                                                      Tertile 1, 1–47                       8                   1.4, 0.7–2.8
                                                                     Tertile 2, 48–111                      4                   0.9, 0.3–2.5
                                                                      Tertile 3, 112+                       10                  1.1, 0.6–2.1
                                                                                                                               P for trend:0.9
    Zheng 2001 [60] 3             EPTC + Protectant                                                                             OR, 95% CI:
                                                                        Non-farmers:                                            1.0, Referent
                                                      Years since first use
                                                                            <20                     19 cases/34 controls         1.7, 0.9–3.1
                                                                            ≥20                      0 cases/1 control                 -
                                                      Years of use
                                                                            <7                      15 cases/20 controls         2.2, 1.1–4.4
                                                                            ≥7                      7 cases/26 controls        1.0.     0.4–2.4
                                                      Days/year of use
                                                                            <5                      7 cases/12 controls          2.2, 0.8–5.8
                                                                            ≥5                       1 case/5 controls           0.9, 0.1–7.7
    Triazine herbicides
     Lynch 2006 [41]                 Cyanazine        Lifetime exposure days 5                                                Rate ratio, 95% CI
                                                                     Tertile 1, 1–16                         9                  1.0, Referent
                                                                     Tertile 2, 17–56                       18                   1.6, 0.7–3.5
                                                                      Tertile 3, ≥57                         9                   1.3, 0.5–3.4
                                                                                                                               P for trend: 1.0
                                                      Intensity-weighted exposure days 5
                                                                      Tertile 1, 1–83                       10                  1.0, Referent
                                                                   Tertile 2, 84–314.35                     12                  1.3, 0.6–3.0
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 34 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                             4481

                                                                Table 2. Cont.
      Author, date                    Pesticide                   Category of exposure                       N exposed           Effect estimate, 95% CI
                                                                     Tertile 3, ≥315.35                          13                    1.4, 0.6–3.4
                                                                                                                                      P for trend: 0.5
    Zahm 1993 [59] 3                  Atrazine                                                                                   OR (95% CI not presented)
                                                                          No use                       445 cases/1507 controls         1.0, Referent
                                                      Years of use
                                                                             1–5                         4 cases/14 controls                0.4
                                                                             6–15                        5 cases/20 controls                0.5
                                                                            16–20                        5 cases/8 controls                 0.6
                                                                             ≥21                         7 cases/11 controls                0.8
                                                      Days/year personally handled
                                                                             1–5                         7 cases/20 controls                0.6
                                                                             6–20                        8 cases/17 controls                0.7
                                                                             ≥21                          1 cases/1 control                 1.4
                                                      Year of first use
                                                                        1965 or prior                   10 cases/35 controls                0.4
                                                                        1966 or later                   10 cases/18 controls                1.0
 Beane Freeman 2011 [22]              Atrazine        Lifetime days of exposure 5                                                   Rate ratio, 95% CI
                                                                      Quartile 1, >0–20                          41                   1.0, Referent
                                                                      Quartile 2, 21–56                          41                    1.1, 0.7–1.7
                                                                    Quartile 3, >56–178.5                        38                    0.9, 0.6–1.5
                                                                      Quartile 4, >178.5                         32                    1.0, 0.6–1.6
                                                                                                                                     P for trend: 0.7
                                                      Intensity weighted lifetime days of exposure 5
                                                                     Quartile 1, >0–20                           38                    1.0, Referent
                                                                     Quartile 2, 21–56                           45                    1.2, 0.8–1.9
                                                                   Quartile 3, >56–178.5                         34                    0.9, 0.6–1.5
                                                                    Quartile 4, >178.5                           34                    0.9, 0.6–1.5
                                                                                                                                      P for trend: 0.5
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 35 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                           4482

                                                                Table 2. Cont.
      Author, date                    Pesticide                   Category of exposure                    N exposed            Effect estimate, 95% CI
   Triazinone herbicides
    Delancey 2009 [29]               Metribuzin       Lifetime days of exposure 5                                                 Rate ratio, 95% CI
                                                                       No exposure                            39
                                                                    Tertile 1, >0–8.75                         5                    1.0, Referent
                                                                   Tertile 2, 8.76–24.5                       6                     2.3, 0.6–8.6
                                                                     Tertile 3, >24.5                         8                     2.6, 0.8–9.1
                                                                                                                                   P for trend: 0.1
                                                      Intensity weighted lifetime exposure days 5
                                                                      No exposure: 0                          39
                                                                    Tertile 1, >0–58.3                         4                    1.0, Referent
                                                                  Tertile 2, >58.3–174.4                      6                     1.4, 0.3–5.8
                                                                     Tertile 3, >174.5                        9                     2.5, 0.7–9.6
                                                                                                                                   P for trend: 0.1
     FUNGICIDES
   McDuffie 2001 [43] 3                Captan         Days/year exposed                                                             OR, 95% CI:
                                                                      Unexposed                     497 cases/1,482 controls        1.0, Referent
                                                                        >0–≤2                         11 cases/12 controls          2.7, 1.2–6.2
                                                                         >2                            9 cases/12 controls          2.8, 1.1–6.9
    INSECTICIDES
  Carbamate insecticides
    Zheng 2001 [60] 3                 Carbaryl                                                                                      OR, 95% CI:
                                                                        Non-farmers                 243 cases/775 controls          1.0, Referent
                                                      Years since first use
                                                                            <20                       19 cases/44 controls           1.1, 0.6–2.0
                                                                            ≥20                       14 cases/21 controls           1.8, 0.9–3.7
                                                      Years of use
                                                                            <7                        16 cases/36 controls           1.1, 0.6–2.1
                                                                            ≥7                        15 cases/26 controls           1.5, 0.8–3.0
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 36 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                              4483

                                                                Table 2. Cont.
      Author, date                    Pesticide                   Category of exposure        N exposed           Effect estimate, 95% CI
                                                      Days/year of use
                                                                             <5           9 cases/14 controls           2.4, 1.0–5.9
                                                                             ≥5           2 cases/4 controls           1.8, 0.3–10.0
    Mahajan 2007 [42]                 Carbaryl        Lifetime days of exposure 2                                    Rate ratio, 95% CI
                                                                       No exposure                23                   1.0, Referent
                                                                       Tertile 1, 1–9             5                     0.7, 0.2–1.8
                                                                     Tertile 2, 10–56             8                     1.2, 0.5–3.0
                                                                       Tertile 3, >56             10                    1.7, 0.6–4.5
                                                                                                                      P for trend: 0.3
    Zheng 2001 [60] 3                Carbofuran                                                                        OR, 95% CI:
                                                                         Nonfarmers      243 cases/775 controls        1.0, Referent
                                                      Years since first use
                                                                             <20          32 cases/63 controls          1.3, 0.8–2.1
                                                                             ≥20          15 cases/30 controls          1.6, 0.8–3.1
                                                      Years of use
                                                                              <7          30 cases/48 controls          1.7, 1.0–2.9
                                                                              ≥7          24 cases/47 controls          1.4, 0.8–2.4
                                                      Days/year of use
                                                                              <5           9 cases/15 controls          2.7, 1.1–6.4
                                                                              ≥5          12 cases/16 controls          3.1, 1.4–6.8
    Bonner 2005 [25]                 Carbofuran       Lifetime days of exposure 2                                    Rate ratio, 95% CI
                                                                        No exposure               44                   1.0, Referent
                                                                        Tertile 1, 1–9            6                     0.8, 0.3–1.9
                                                                      Tertile 2, 10–56            7                     1.3, 0.6–2.9
                                                                        Tertile 3, >56            7                     1.4, 0.6–3.3
                                                                                                                      P for trend: 0.4
                                      Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 37 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                         4484

                                                                              Table 2. Cont.
      Author, date                       Pesticide                             Category of exposure                      N exposed           Effect estimate, 95% CI
 Organophosphorus insecticides
    Fritschi 2005 [62]      Organophosphorus insecticides, group   Degree of exposure 6                                                           OR, 95% CI:
                                                                                   No exposure                      662 cases/660 controls        1.0, Referent
                                                                              Nonsubstantial exposure                20 cases/28 controls         0.7, 0.4–1.3
                                                                                Substantial exposure                  12 cases/6 controls         2.1, 0.8–5.7
   Waddell 2001 [56] 3       Organophosphorus pesticides, group                                                                                   OR, 95% CI:
                                                                                      Non-farmers                   243 cases/775 controls        1.0, Referent
                                                                   Years since first use
                                                                                          <20                        44 cases/94 controls          1.0, 0.7–1.5
                                                                                          ≥20                       79 cases/188 controls          1.6, 1.1–2.2
                                                                   Years used
                                                                                          <10                        34 cases/69 controls         1.1, 0.7–1.7
                                                                                         10–19                       44 cases/71 controls         1.4, 0.9–2.1
                                                                                          20+                        39 cases/59 controls         1.5, 1.0–2.4
      Lee 2004 [38]                     Chlorpyrifos               Lifetime days of exposure 1                                                 Rate ratio, 95% CI:
                                                                                      Nonexposed                             53                   1.0, Referent
                                                                                  Quartile 1, 0.1–8.8                        10                   0.6, 0.2–1.5
                                                                                  Quartile 2, 8.9–24.5                       13                   1.8, 0.9–3.5
                                                                                 Quartile 3, 24.6–56.0                        5                   0.9, 0.4–2.4
                                                                                   Quartile 4, ≥56.1                         9                    1.0, 0.4–2.4
                                                                                                                                                P for trend: 0.7
                                                                   Intensity-weighted lifetime days of exposure 1
                                                                                    Nonexposed                               53                   1.0, Referent
                                                                                 Quartile 1, 0.1–48.9                         6                   0.9, 0.3–2.2
                                                                                Quartile 2, 49.0–135.9                        6                   0.6, 0.2–1.8
                                                                               Quartile 3, 136.0–417.6                       10                   1.2, 0.6–2.7
                                                                                  Quartile 4, ≥417.7                         10                   1.6, 0.7–3.5
                                                                                                                                                 P for trend: 0.4
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 38 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                            4485

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                      N exposed           Effect estimate, 95% CI
 Beane Freeman 2005 [21]              Diazinon                                                                                    Rate ratio, 95% CI:
                                                                        No exposure                             26                   1.0, Referent
                                                      Lifetime days of exposure 2
                                                                       Tertile 1, <20                            6                   1.8, 0.7–4.4
                                                                     Tertile 2, 20–38.8                          3                   1.4, 0.4–4.6
                                                                      Tertile 3, >38.8                           2                   0.9, 0.2–4.1
                                                                                                                                    P for trend: 1.0
                                                      Intensity-weighted lifetime days of exposure 2
                                                                          Tertile 1                              5                   1.9, 0.7–5.1
                                                                          Tertile 2                              2                   0.7, 0.2–3.1
                                                                          Tertile 3                              4                   1.7, 0.6–5.2
                                                                                                                                    P for trend: 0.4
   Waddell 2001 [56] 3                Diazinon                                                                                       OR, 95% CI:
                                                                         Non-farmers                   243 cases/775 controls        1.0, Referent
                                                      Years since first use
                                                                             <20                        20 cases/34 controls          1.1, 0.6–2.0
                                                                             ≥20                        16 cases/24 controls          1.4, 0.7–2.7
                                                      Years used
                                                                             <10                        20 cases/40 controls         0.9, 0.5–1.7
                                                                            10–19                       10 cases/11 controls         1.8, 0.7–4.4
                                                                             20+                         1 cases/1 controls          1.9, 0.1–31.6
                                                      Days/year of use
                                                                              <5                        6 cases/11 controls           1.3, 0.5–3.9
                                                                              ≥5                         6 cases/6 controls           2.4, 0.7–8.0
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 39 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                             4486

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure         N exposed            Effect estimate, 95% CI
   Waddell 2001 [56] 3                Fonofos                                                                            OR, 95% CI:
                                                                         Non-farmers     243 cases/775 controls          1.0, Referent
                                                      Years since first use
                                                                             <20           20 cases/36 controls           1.0, 0.6–1.9
                                                                             ≥20            5 cases/6 controls            1.6, 0.5–5.5
                                                      Years used
                                                                             <10           16 cases/25 controls          1.2, 0.6–2.4
                                                                            10–19           7 cases/9 controls           1.5, 0.5–4.1
                                                                             20+            2 cases/1 control            4.2, 0.4–47.2
                                                      Days/year of use
                                                                              <5            2 cases/6 controls           0.7, 0.1–3.8
                                                                              ≥5            9 cases/6 controls           3.4, 1.1–10.3
   McDuffie 2001 [43] 3              Malathion        Days/year of exposure                                              OR, 95% CI:
                                                                          Unexposed      445 cases/1,379 controls        1.0, Referent
                                                                            >0–≤2          50 cases/88 controls          1.8, 1.3–2.7
                                                                              ≥2           22 cases/39 controls          1.8, 1.0–3.0
   Waddell 2001 [56] 3               Malathion                                                                           OR, 95% CI:
                                                                         Non-farmers     243 cases/775 controls          1.0, Referent
                                                      Years since first use
                                                                             <20           22 cases/46 controls           0.9, 0.5–1.6
                                                                             ≥20           35 cases/39 controls           1.7, 1.1–2.9
                                                      Years used
                                                                             <10           22 cases/39 controls           1.1, 0.6–1.9
                                                                            10–19          23 cases/23 controls           1.9, 1.0–3.5
                                                                             20+           10 cases/18 controls           1.1, 0.5–2.4
                                                      Days/year of use
                                                                              <5            7 cases/8 controls            2.1, 0.7–6.1
                                                                              ≥5            5 cases/7 controls            1.5, 0.5–5.2
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 40 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                            4487

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                      N exposed           Effect estimate, 95% CI
    Bonner 2007 [26]                 Malathion        Lifetime days of exposure 5                                                  Rate ratio, 95% CI
                                                                        No exposure                         1.0 Referent
                                                                       Tertile 1, >0–9                      0.6, 0.2–1.6
                                                                      Tertile 2, 10–39                      0.7, 0.3–1.8
                                                                       Tertile 3, >39                       0.8, 0.3–2.0
                                                      Intensity-weighted lifetime days of exposure 2                               Rate ratio, 95% CI
                                                                        No exposure                             14                   1.0, Referent
                                                                      Tertile 1, >0–58                          5                     0.5, 0.2–1.5
                                                                     Tertile 2, 59–245                          9                     0.7, 0.3–1.8
                                                                      Tertile 3, >245                           9                     0.8, 0.3–2.0
                                                                                                                                    P for trend: 0.9
   Waddell 2001 [56] 3                Phorate                                                                                        OR, 95% CI:
                                                                         Non-farmers                   243 cases/775 controls        1.0, Referent
                                                      Years since first use
                                                                              <20                       19 cases/43 controls          0.8, 0.4–1.5
                                                                              ≥20                       14 cases/23 controls          1.3, 0.6–2.6
                                                      Years used
                                                                              <10                       20 cases/33 controls          1.2, 0.6–2.1
                                                                             10–19                       9 cases/19 controls          0.9, 0.4–2.1
                                                                              20+                        4 cases/5 controls           1.5, 0.4–5.9
                                                      Days/year of use
                                                                            <5 days                      5 cases/9 controls          1.3, 0.4–4.0
                                                                            ≥5 days                      7 cases/8 controls          2.0, 0.7–5.9
   Waddell 2001 [56] 3                Terbufos                                                                                       OR, 95% CI:
                                                                         Non-farmers                   243 cases/775 controls        1.0, Referent
                                                      Years since first use
                                                                            <20                         23 cases/51 controls          0.9, 0.5-1.5
                                                                            ≥20                          0 cases/1 control                  -
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 41 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                           4488

                                                                     Table 2. Cont.
       Author, date                  Pesticide                       Category of exposure                  N exposed           Effect estimate, 95% CI
                                                        Years used
                                                                                <10                    13 cases/38 controls          0.6, 0.3–1.3
                                                                               10–19                    6 cases/8 controls           1.5, 0.5–4.4
                                                                                20+                     0 cases/1 control                  -
                                                                                <20                    23 cases/51 controls          0.9, 0.5–1.5
                                                                                ≥20                     0 cases/1 control                  -
                                                        Days/year of use
                                                                                <5                      3 cases/8 controls          0.8, 0.2–3.4
                                                                                ≥5                      7 cases/4 controls         4.0, 1.1–14.5
     Bonner 2010 [24]                 Terbufos          Intensity weighted lifetime exposure days 5                             Hazard ratio, 95% CI
                                                                          No exposure                          69                   1.0, referent
                                                                       Tertile 1, >0–107                       17                   1.3, 0.7–2.3
                                                                      Tertile 2, >107–352                      24                   1.9, 1.2–3.2
                                                                         Tertile 3, >352                       15                   1.2, 0.7–2.2
                                                                                                                                  P for trend: 0.6
 Organochlorine insecticides
     Fritschi 2005 [62]        Organochlorines, group   Degree of exposure 6                                                        OR, 95% CI:
                                                                              None                    674 cases/679 controls        1.0, Referent
                                                                        Nonsubstantial                 14 cases/13 controls         1.1, 0.5–2.3
                                                                          Substantial                   6 cases/2 controls          3.3, 0.7–16.4
    Purdue 2007 [51] 3         Organochlorines, group   Lifetime days of exposure 5                                              Rate ratio, 95% CI:
                                                                          Unexposed                            16                   1.0, Referent
                                                                        Tertile 1, 1–110                       8                    1.2, 0.5–2.8
                                                                      Tertile 2, 111–450                       10                   1.5, 0.6–3.5
                                                                        Tertile 3, >450                        11                   1.5, 0.6–3.8
                                                                                                                                  P for trend: 0.3
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 42 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                            4489

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                      N exposed           Effect estimate, 95% CI
                                                      Intensity weighted lifetime days of exposure 5
                                                                        Unexposed                               16                   1.0, Referent
                                                                      Tertile 1, 1–110                          9                    1.3, 0.6–3.1
                                                                     Tertile 2, 111–450                         7                    1.1, 0.4–2.9
                                                                       Tertile 3, >450                          13                   1.7, 0.7–4.2
                                                                                                                                   P for trend: 0.3
    Purdue 2007 [51] 3                 Aldrin         Lifetime days of exposure 5                                                 Rate ratio, 95% CI:
                                                                        Unexposed                               38                   1.0, Referent
                                                                           1–20                                  5                   0.8, 0.3–2.1
                                                                           >20                                  4                    0.4, 0.1–1.5
                                                                                                                                   P for trend: 0.2
                                                      Intensity weighted lifetime days of exposure 5
                                                                        Unexposed                               38                   1.0, Referent
                                                                            1–20                                 4                   0.6, 0.2–1.9
                                                                             >20                                5                    0.6, 0.2–1.8
                                                                                                                                   P for trend: 0.4
    Purdue 2007 [51] 3               Chlordane        Lifetime days of exposure 5                                                 Rate ratio, 95% CI:
                                                                        Unexposed                               32                   1.0, Referent
                                                                           1–9                                   9                   1.6, 0.8–3.6
                                                                            >9                                  6                    1.8, 0.7–4.6
                                                                                                                                   P for trend: 0.2
                                                      Intensity weighted lifetime days of exposure 5
                                                                        Unexposed                               32                   1.0, Referent
                                                                             1–9                                 8                   1.8, 0.8–4.0
                                                                              >9                                7                    1.6, 0.7–3.9
                                                                                                                                    P for trend: 0.3
     Baris 1998 [20] 3                 DDT                                                                                           OR, 95% CI:
                                                                       Non-farmers                     243 cases/775 controls        1.0, Referent
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 43 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                       4490

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                   N exposed            Effect estimate, 95% CI
                                                      Days/year of use
                                                                             ≤5                      12 cases/35 controls           1.0, 0.5–2.1
                                                                             >5                      11 cases/15 controls           2.1, 0.9–4.9
                                                      Duration of use in years
                                                                            1–4                      36 cases/79 controls          1.0, 0.7–1.6
                                                                            5–9                      31 cases/53 controls          1.4, 0.8–2.2
                                                                            ≥15                      39 cases/64 controls          1.5, 0.9–2.3
   McDuffie 2001 [43] 3                DDT            Days/year of exposure                                                        OR, 95% CI:
                                                                         Unexposed                 485 cases/1,447 controls        1.0, Referent
                                                                           >0–≤2                     18 cases/32 controls          1.8, 1.0–3.2
                                                                             ≥2                      14 cases/27 controls          1.5, 0.8–2.9
    Hardell 2002 [33] 3                DDT                                                                                         OR, 95% CI:
                                                                      Never exposed                          NR                    1.0, Referent
                                                      Years between first exposure and diagnosis
                                                                           1–10                              NR                           -
                                                                          >10–20                             NR                    2.6, 0.6–11.0
                                                                          >20–30                             NR                    1.6, 0.8–3.3
                                                                            >30                              NR                    1.2, 0.8–1.7

                                                      Years between last exposure and diagnosis
                                                                           1–10                              NR                     1.5, 0.7–3.1
                                                                          >10–20                             NR                     1.1, 0.6–2.0
                                                                          >20–30                             NR                     1.5, 0.8–2.5
                                                                           >30                               NR                     1.2, 0.7–2.0
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 44 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                          4491

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                     N exposed          Effect estimate, 95% CI
    Purdue 2007 [51] 3                 DDT
                                                      Lifetime days of exposure 5                                               Rate ratio, 95% CI:
                                                                        Unexposed                              32                  1.0, Referent
                                                                           1–20                                 5                  0.7, 0.3–1.9
                                                                           >20                                 9                   1.2, 0.5–2.8
                                                                                                                                 P for trend: 0.6
                                                      Intensity weighted lifetime days of exposure 5
                                                                        Unexposed                              32                  1.0, Referent
                                                                            1–20                                6                  0.9, 0.3–2.2
                                                                             >20                               8                   1.0, 0.4–2.5
                                                                                                                                  P for trend: 0.9
   Eriksson 2008 [32] 3                DDT            Days of exposure 4
                                                                           ≤37 days                    20 cases/19 controls         1.2, 0.6–2.2
                                                                           >37 days                    30 cases/18 controls         1.8, 1.0–3.2
    Purdue 2007 [51] 3                Dieldrin
                                                      Lifetime days of exposure 5                                               Rate ratio, 95% CI:
                                                                        Unexposed                              46                  1.0, Referent
                                                                           1–20                                 1                  0.6, 0.1–4.2
                                                                           >20                                 1                   0.9, 0.1–6.9
                                                                                                                                 P for trend: 0.8
                                                      Intensity weighted lifetime days of exposure 5
                                                                        Unexposed                              46                  1.0, Referent
                                                                            1–20                                1                  0.7, 0.1–5.0
                                                                             >20                               1                   0.7, 0.1–5.5
                                                                                                                                  P for trend: 0.7
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 45 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                          4492

                                                                 Table 2. Cont.
      Author, date                   Pesticide                    Category of exposure                    N exposed           Effect estimate, 95% CI
    Purdue 2007 [51] 3               Heptachlor       Lifetime days of exposure                                                 Rate ratio, 95% CI:
                                                                        Unexposed                             38                   1.0, Referent
                                                                           1–9                                 6                   1.5, 0.6–4.1
                                                                            >9                                4                    1.1, 0.4–3.2
                                                                                                                                 P for trend: 0.8
                                                      Intensity weighted lifetime days of exposure
                                                                        Unexposed                             38                   1.0, Referent
                                                                             1–9                               4                   1.2, 0.4–3.6
                                                                              >9                              6                    1.4, 0.5–3.7
                                                                                                                                  P for trend:0.6
     Blair 1998 [23] 3                Lindane                                                                                     OR, 95% CI:
                                                                          Nonfarmer                  243 cases/775 controls        1.0, Referent
                                                      Years since first use
                                                                            ≥20                       59 cases/83 controls          1.7, 1.1–2.5
                                                                            <20                       18 cases/30 controls          1.3, 0.7–2.4
                                                      Days/ year of use
                                                                             ≤4                       8 cases/16 controls           1.6, 0.6–4.0
                                                                             ≥5                        5 cases/8 controls           2.0, 0.6–6.4



   Rafnsson 2006 [52] 3               Lindane         Number of sheep owned                                                        OR, 95% CI:
                                                                      100–199 sheep                   22 cases/71 controls         3.8, 1.6–9.3
                                                                      200–683 sheep                   15 cases/62 controls         3.4, 1.3–9.0
    Purdue 2007 [51] 3                Lindane         Lifetime days exposed 5                                                   Rate ratio, 95% CI:
                                                                        Unexposed                             34                   1.0, Referent
                                                                        1–22 days                              6                   1.9, 0.8–4.7
                                                                         >22 days                              7                   2.1, 0.8–5.5
                                                                                                                                 P for trend: 0.1
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 46 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                               4493

                                                                 Table 2. Cont.
       Author, date                  Pesticide                    Category of exposure                 N exposed   Effect estimate, 95% CI
                                                      Intensity-weighted lifetime days of exposure 5
                                                                        Unexposed                         34            1.0, Referent
                                                                            1–22                           5            0.9, 0.3–3.0
                                                                             >22                          8             2.6, 1.1–6.4
                                                                                                                      P for trend: 0.04
    Purdue 2007 [51] 3               Toxaphene        Lifetime days exposed 5                                        Rate ratio, 95% CI:
                                                                       Unexposed                          35            1.0, Referent
                                                                        1–25 days                         10            2.3, 1.1–5.0
                                                                        >25 days                           2            1.3, 0.3–5.5
                                                                                                                      P for trend: 0.8
                                                      Intensity-weighted lifetime days of exposure 5
                                                                        Unexposed                         35            1.0, Referent
                                                                            1–25                           7            2.3, 1.0–5.4
                                                                             >25                          5             1.6, 0.5–4.8
                                                                                                                       P for trend:0.4
 Pyrethroid insecticides
    Rusiecki 2009 [53]               Permethrin       Lifetime days of exposure 5                                   Relative rate, 95% CI:
                                                                        Nonexposed                        94            1.0, Referent
                                                                      Tertile 1, ≤8.74                     8             0.8, 0.4–1.7
                                                                   Tertile 2, 8.75–50.75                  5              0.6, 0.3–1.7
                                                                     Tertile 3, >50.75                    5              0.7, 0.3–1.7
                                                                                                                       P for trend: 0.2
                                                      Intensity-weighted lifetime days of exposure 5
                                                                       Nonexposed                         94            1.0, Referent
                                                                      Tertile 1, ≤8.74                     7            0.8, 0.4–1.8
                                                                   Tertile 2, 8.75–50.75                  7             0.9, 0.4–2.0
                                                                     Tertile 3, >50.75                    4             0.5, 0.2–1.3
                                                                                                                       P for trend: 0.2
                                         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 47 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                       4494

                                                                                  Table 2. Cont.
       Author, date                         Pesticide                              Category of exposure                             N exposed             Effect estimate, 95% CI
 Other insecticides
   Eriksson 2008 [32] 3                     Pyretrine                 Days of exposure 4                                                                        OR, 95% CI:
                                                                                            ≤25                                8 cases/5 controls               1.9, 0.6–5.8
                                                                                            >25                                6 cases/5 controls               1.4, 0.4–4.5
                                    Mercurial seed dressing           Days of exposure 4
                                                                                            ≤12                                7 cases/6 controls                1.3, 0.4–3.8
                                                                                            >12                                14 cases/5 controls               2.9, 1.0–8.3
                                Fumigant fungicides
     Barry 2012 [19]                  Methyl Bromide                  Intensity weighted lifetime days of exposure 5                                         Rate ratio, 95% CI:
                                                                                        Nonexposed                                    166                       1.0, Referent
                                                                                     Tertile 1, >0–310                                21                        2.3, 1.4–3.9
                                                                                    Tertile 2, 311–1519                                8                        0.7, 0.3–1.6
                                                                                      Tertile 3, >1519                                 6                        0.6, 0.3–1.5
                                                                                                                                                              P for trend: 0.1
                                                                      Intensity weighted lifetime days of exposure, 15 year lag 5
                                                                                        Nonexposed                                    174                       1.0, Referent
                                                                                     Tertile 1, >0–310                                13                        1.7, 0.9–3.1
                                                                                    Tertile 2, 311–1519                                6                        0.6, 0.3–1.5
                                                                                      Tertile 3, >1519                                 8                        1.0, 0.5–2.1
                                                                                                                                                               P for trend: 0.7
      Notes: CI, confidence interval; EPTC, s-ethyl dipropylthiocarbamate; MCPA, 2-methyl-4-chlorophenoxyacetic acid; NHL, non-Hodgkin lymphoma; OR, odds ratio;
      CI, confidence interval; 1 Categories based on mid-points of the questionnaire category; 2 Categories based on distribution among users; 3 Effect estimates in association
      with dichotomous exposure were also reported; 4 Categories based on the number of days of exposure among controls; 5 Categories based on the distribution of exposure
      among cancer cases; 6 Substantial indicates the person was exposed to the substance at a medium or high level for more than five 8-hour days per year for a combined total
      of more than 5 years. Non-substantial indicates any other combination of exposures; estimates derive from a case-control study.
                                      Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 48 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                              4495

                                 Table 3. Associations of subtypes of non-Hodgkin lymphoma with herbicides and insecticides.
                                                       Chemical                       Number of exposed cases                   Risk ratio, 95% CI
  B cell lymphoma
            HERBICIDES
   Organophosphorus herbicides
          Eriksson 2008 [32]                   Glyphosate (OP herbicide)                         NR                                 1.9, 1.0–3.5
          Phenoxy herbicides
           Cocco 2012 [28]                        Phenoxy herbicides                           12 cases                            1.4, 0.6–3.1
          Eriksson 2008 [32]                      Phenoxy herbicides                             NR                                2.0, 1.2–3.3
          Fritschi 2005 [62] 1                    Phenoxy herbicides                             NR                        No exposure: 1.0, Referent
                                                                                                                      Non-substantial exposure: 0.6, 0.3–1.5
                                                                                                                       Substantial exposure: 1.5, 0.3–6.6
         Eriksson 2008 [32]             2,4,5-T and/or 2,4-D (Phenoxy herbicide)                  NR                               1.7, 0.9–3.0
          Cocco 2012 [28]                      2,4-D (Phenoxy herbicide)                        2 cases                            0.6, 0.1–3.5
          Cocco 2012 [28]                      MCPA (Phenoxy herbicide)                         4 cases                 Infinity (zero exposed controls)
         Eriksson 2008 [32]                    MCPA (Phenoxy herbicide)                           NR                               2.6, 1.1–5.9
      Thiocarbamate herbicides
          Zheng 2001 [60]                Butylate (Thiocarbamate herbicides)          4 cases (small lymphocytic)                   1.1, 0.3–3.4
          Zheng 2001 [60]             EPTC + Protectant (Thiocarbamate herbicides)    2 cases (small lymphocytic)                   1.5, 0.3–7.1
          Cocco 2012 [28]                       Triazines and triazoles                         6 cases                             0.7, 0.2–1.7
          INSECTICIDES
       Carbamate insecticides
          Zheng 2001 [60]                   Carbaryl (Carbamate insecticide)          9 cases(small lymphocytic)                    2.9, 1.2–7.0
          Zheng 2001 [60]                  Carbofuran (Carbamate insecticide)         7 cases (small lymphocytic)                   1.5, 0.6–3.8
          Cocco 2012 [28]                  Methomyl (Carbamate insecticide)                     0 cases                        NR(zero exposed cases)
          Cocco 2012 [28]                  Mancozeb (Dithiocarbate fungicide)                   2 cases                             0.6, 0.1–3.5
          Cocco 2012 [28]                      Glyphosate (OP herbicide)                        4 cases                            3.1, 0.6–17.1
                                     Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 49 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                             4496

                                                                              Table 3. Cont.
           Author, date                             Chemical                                   Number of exposed cases       Risk ratio, 95% CI
  Organochlorine (OC) insecticides
         Cocco 2012 [28]                         Organochlorines                                      27 cases                  0.9, 0.5–1.4
       Fritschi 2005 [62] 1                      Organochlorines                                        NR               No exposure: 1.0, Referent
                                                                                                                         Nonsubstantial: 1.1, 0.5–2.5
                                                                                                                          Substantial: 3.5, 0.7–17.3
         Baris 1998 [20] 2                   DDT (OC insecticides)                                    22 cases                  1.6, 0.8–2.9
        Eriksson 2008 [32]                   DDT (OC insecticide)                                        NR                     1.3, 0.8–2.1
         Cocco 2012 [28]                     DDT (OC insecticide)                                      3 cases                  1.2, 0.2–5.9
         Cocco 2012 [28]                   Endosulfan (OC insecticide)                                 0 cases             NR, zero exposed cases
   Organophosphorus insecticides
         Cocco 2012 [28]                        Organophosphates                                      23 cases                  1.4, 0.8, 2.6
        Zheng 2001 [60] 2                       Organophosphates                                      18 cases                  1.6, 0.8–3.2
        Fritschi 2005 [62] 1                    Organophosphates                                        NR               No exposure 1: 1.0, Referent
                                                                                                                         Non-substantial: 0.6, 0.3–1.2
                                                                                                                          Substantial: 2.1, 0.8–5.7
         Cocco 2012 [28]                   Dimethoate (OP insecticide)                                 3 cases                 1.8, 0.3–10.6
        Waddell 2001 [56] 2                 Fonofos (OP insecticide)                                   5 cases                  2.6, 0.8–8.5
        Waddell 2001 [56] 2                Malathion (OP insecticide)                                 10 cases                  1.9, 0.8–4.7
        Waddell 2001 [56] 2                 Diazinon (OP insecticide)                                  9 cases                  2.8, 1.1–7.3
        Waddell 2001 [56] 2                 Phorate (OP insecticides)                                  8 cases                  2.3, 0.9–6.0
        Waddell 2001 [56] 2                Terbufos (OP insecticides)                                  5 cases                  2.2, 0.7–7.4
         Other insecticides
        Eriksson 2008 [32]               Pyrethrine (Botanical insecticide)                             NR                       1.7, 0.7–3.9
        Eriksson 2008 [32]                   Mercurial seed dressing                                    NR                       1.8, 0.8–3.9
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 50 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                          4497

                                                                           Table 3. Cont.
           Author, date                             Chemical                                Number of exposed cases                        Risk ratio, 95% CI
      Mature B cell lymphoma
      Beane Freeman 2011 [22]              Atrazine (Triazine herbicide)                    Lifetime days of exposure:
                                                                                               Quartile 1, >0–20: 36                           1.0, Referent
                                                                                               Quartile 2, 21–56: 34                           1.0, 0.7–1.7
                                                                                            Quartile 3, >56–178.5: 31                          0.9, 0.5–1.4
                                                                                              Quartile 4, >178.5: 28                           0.9, 0.6–1.6
                                                                                                                                              P for trend: 0.8
                                                                                   Intensity weighted lifetime days of exposure:
                                                                                               Quartile 1, >0–20: 34                           1.0, Referent
                                                                                               Quartile 2, 21–56: 38                           1.1, 0.7–1.8
                                                                                             Quartile 3, >56–178.5: 25                         0.8, 0.5–1.3
                                                                                              Quartile 4, >178.5: 31                           0.9, 0.6, 1.5
                                                                                                                                              P for trend: 0.7
  Diffuse large B cell lymphoma
           HERBICIDES
   Organophosphorus herbicides
         Eriksson 2008 [32]                Glyphosate (OP herbicides)                                  NR                                      1.2, 0.4–3.4
         Phenoxy herbicides
           Cocco 2012 [28]                     Phenoxy herbicides                                    4 cases                                    1.7, 0.5–5.2
         Eriksson 2008 [32]                    Phenoxy herbicides                                      NR                                       2.2, 1.1–4.3
         Fritschi 2005 [62] 1                  Phenoxy herbicides                                      NR                              No exposure 1: 1.0, Referent
                                                                                                                                   Nonsubstantial exposure: 0.5, 0.1–2.0
                                                                                                                                    Substantial exposure: 2.2, 0.4–13.1
         Eriksson 2008 [32]                 MCPA (Phenoxy herbicide)                                   NR                                      3.9, 1.5–10.5
         Eriksson 2008 [32]          2,4,5-T and/or 2,4-D (Phenoxy herbicide)                          NR                                       1.7, 0.7–3.8
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 51 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                          4498

                                                                           Table 3. Cont.
           Author, date                             Chemical                                Number of exposed cases              Risk ratio, 95% CI
      Thiocarbamate herbicides
          Zheng 2001 [60]             Butylate (Thiocarbamate herbicides)                           15 cases                        1.6, 0.9–3.1
          Zheng 2001 [60]          EPTC + Protectant (Thiocarbamate herbicides)                     10 cases                        1.8, 0.8–3.7
         Triazine herbicides
          Cocco 2012 [28]                    Triazines and triazoles                                 2 cases                        0.8, 0.2–3.4
      Beane Freeman 2011 [22]             Atrazine (Triazine herbicides)                     Lifetime exposure days:
                                                                                              Quartile 1, >0–20: 20                 1.0, Referent
                                                                                              Quartile 2, 21–56: 14                 0.8, 0.4–1.6
                                                                                            Quartile 3, >56–178.5: 14               0.7, 0.4–1.5
                                                                                              Quartile 4, >178.5: 11                0.7, 0.3–1.6
                                                                                                                                   p for trend:0.5
                                                                                    Intensity-weighted lifetime exposure days:
                                                                                               Quartile 1, >0–20: 15                1.0, Referent
                                                                                               Quartile 2, 21–56: 18                 1.2, 0.6–2.5
                                                                                             Quartile 3, >56–178.5: 11               0.8, 0.4–1.7
                                                                                              Quartile 4, >178.5: 15                 1.1, 0.5–2.3
                                                                                                                                   p for trend:0.96
          Zahm 1993 [59]                  Atrazine (Triazine herbicides)                            66 cases                         1.6, 1.1–2.2
         INSECTICIDES
       Carbamate insecticides
         Zheng 2001 [60]                Carbaryl (Carbamate insecticides)                           15 cases                        1.5, 0.8–2.8
         Zheng 2001 [60]               Carbofuran (Carbamate insecticides)                          24 cases                        1.6, 1.0–2.7
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 52 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                 4499

                                                                              Table 3. Cont.
            Author, date                            Chemical                                   Number of exposed cases            Risk ratio, 95% CI
     Organochlorine insecticides
         Cocco 2012 [28]                         Organochlorines                                       5 cases                        0.6, 0.2–1.6
                                                 Organochlorines                                         NR                  No exposure 1: 1.0, Referent
         Fritschi 2005 [62] 1                                                                                            Non-substantial exposure: 1.2, 0.4–3.4
                                                                                                                          Substantial exposure: 1.6, 0.2–18.1
        Eriksson 2008 [32]                     DDT (OC insecticide)                                     NR                            1.2, 0.6–2.5
         Baris 1998 [20]                       DDT (OC insecticide)                                   53 cases                        1.2, 0.8–1.7
   Organophosphorus insecticides
         Cocco 2012 [28]                        Organophosphates                                      5 cases                        1.1, 0.4–2.9
        Waddell 2001 [56]                       Organophosphates                                      63 cases                       1.8, 1.2–2.6
        Fritschi 2005 [62]                      Organophosphates                                        NR                   No exposure 1: 1.0, Referent
                                                                                                                         Non-substantial exposure: 0.6, 0.3–1.6
                                                                                                                          Substantial exposure: 2.1, 0.6–7.7
        Waddell 2001 [56]                   Fonofos (OP insecticide)                                  10 cases                       1.3, 0.6–2.7
        Waddell 2001 [56]                   Malathion (OP insecticide)                                19 cases                       1.1, 0.6–1.9
        Waddell 2001 [56]                   Diazinon (OP insecticide)                                 13 cases                       1.2, 0.6–2.4
        Waddell 2001 [56]                    Phorate (OP insecticide)                                 10 cases                       0.8, 0.4–1.8
        Waddell 2001 [56]                   Terbufos (OP insecticide)                                  7 cases                       0.8, 0.4–2.0
        Other insecticides
         Cocco 2012 [28]                             Arsenicals                                        2 cases                        0.4, 0.1–1.6
        Eriksson 2008 [32]               Pyrethrine (Botanical insecticide)                              NR                           1.3, 0.3–4.6
        Eriksson 2008 [32]                   Mercurial seed dressing                                     NR                           2.2, 0.8–6.1
  Chronic lymphocytic leukemia
          HERBICIDES
         Cocco 2012 [28]                          Phenoxy acids                                 Ever vs. never exposed
                                                                                                 2 cases ever exposed                 0.9, 0.2–4.1
                                                                                                 Intensity of exposure
                                                                                                Unexposed: 362 cases                 1.0, Referent
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 53 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                             4500

                                                                         Table 3. Cont.
           Author, date                              Chemical                             Number of exposed cases   Risk ratio, 95% CI
                                                                                              Low: 0 cases
                                                                                           Medium/high: 2 cases        2.4, 0.4–13.8

         Cocco 2012 [28]                       Triazines and triazoles                            2 cases              0.9, 0.2–4.1
         INSECTICIDES
         Cocco 2012 [28]                            Arsenicals                                   15 cases              1.6, 0.8–2.9
         Cocco 2012 [28]                            Carbamates



          Cocco 2012 [28]                         Organochlorines                          Ever vs never exposed
                                                                                           10 cases ever exposed       1.2, 0.6–2.5
                                                                                           Intensity of exposure
                                                                                           Unexposed: 362 cases        1.0, Referent
                                                                                                Low: 5 cases           1.8, 0.6–5.0
                                                                                           Medium/high: 5 cases        1.0, 0.4–2.8
          Cocco 2012 [28]                        Organophosphates                          Ever vs never exposed
                                                                                            9 cases ever exposed       2.7, 1.2–6.0
                                                                                           Intensity of exposure
                                                                                           Unexposed: 362 cases        1.0, Referent
                                                                                                Low: 5 cases           2.7, 0.9–7.8
                                                                                           Medium/high: 4 cases        2.6, 0.7–9.2
  Lymphocytic lymphoma
         HERBICIDES
   Organophosphorus herbicides
       Eriksson 2008 [32]                  Glyphosate (OP herbicide)                               NR                  3.4, 1.4–7.9
       Phenoxy herbicides
       Eriksson 2008 [32]                       Phenoxy herbicides                                 NR                  2.1, 1.0–4.5
        Cocco 2013 [28]                         Phenoxy herbicides                                 NR                  0.9, 0.2–4.1
                                     Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 54 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                   4501

                                                                                Table 3. Cont.
            Author, date                              Chemical                                   Number of exposed cases            Risk ratio, 95% CI
        Eriksson 2008 [32]            2,4,5-T and/or 2,4-D (Phenoxy herbicides)                           NR                            1.9, 0.9–4.4
        Eriksson 2008 [32]                   MCPA (Phenoxy herbicides)                                    NR                            2.6, 0.7–9.0
         INSECTICIDES
     Organochlorine insecticides
        Eriksson 2008 [32]                      DDT (OC insecticides)                                     NR                            1.4, 0.7–2.8

   Organophosphorus insecticides
        Fritschi 2005 [62] 1                      Organophosphates                                        NR                    No exposure: 1.0, Referent
                                                                                                                           Non-substantial exposure: 1.1, 0.5–2.3
                                                                                                                            Substantial exposure: 4.3, 1.4–13.0
          Other insecticides
         Eriksson 2008 [32]                Pyrethrine (Botanical insecticide)                             NR                            2.4, 0.7–7.9
         Eriksson 2008 [32]                    Mercurial seed dressing                                    NR                            2.9, 1.0–8.3
  Follicular lymphoma
           HERBICIDES
   Organophosphorus herbicides
         Eriksson 2008 [32]                   Glyphosate (OP herbicide)                                   NR                            1.9, 0.6–5.8
         Phenoxy herbicides
         Eriksson 2008 [32]                       Phenoxy herbicides                                      NR                            1.3, 0.4–3.8
         Fritschi 2005 [62] 1                     Phenoxy herbicides                                      NR                    No exposure: 1.0, Referent
                                                                                                                           Non-substantial exposure: 0.5, 0.1–2.0
                                                                                                                            Substantial exposure: 1.2, 0.1–11.2

         Eriksson 2008 [32]            2,4,5-T and/or 2,4-D (Phenoxy herbicide)                           NR                           1.2, 0.4–4.2
         Eriksson 2008 [32]                   MCPA (Phenoxy herbicide)                                    NR                         No exposed cases
      Thiocarbamate herbicides
          Zheng 2001 [60]               Butylate (Thiocarbamate herbicides)                             17 cases                        1.5, 0.8–2.8
          Zheng 2001 [60]          EPTC + Protectant use (Thiocarbamate herbicides)                     10 cases                        1.7, 0.8–3.8
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 55 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                    4502

                                                                          Table 3. Cont.
            Author, date                            Chemical                               Number of exposed cases                   Risk ratio, 95% CI
         Triazine herbicides
          Zahm 1993 [59]                  Atrazine (Triazine herbicide)                            40 cases                              1.3, 0.9–1.9
      Beane Freeman 2011 [22]             Atrazine (Triazine herbicide)              Lifetime exposure days, by quartile:
                                                                                            Quartile 1, >0–20: 10                       1.0, Referent
                                                                                            Quartile 2, 21–56: 8                         0.9, 0.3–2.2
                                                                                           Quartile 3, >56–178.5: 6                      0.6, 0.2–1.7
                                                                                            Quartile 4, >178.5: 8                        1.0, 0.4–2.6
                                                                                                                                       p for trend: 0.9
                                                                                      Intensity-weighted exposure days:
                                                                                            Quartile 1, >0–20: 10                        1.0, Referent
                                                                                            Quartile 2, 21–56: 10                        1.0, 0.4–2.4
                                                                                           Quartile 3, >56–178.5: 8                      0.8, 0.3–2.1
                                                                                             Quartile 4, >178.5: 4                       0.4, 0.1–1.3
                                                                                                                                       p for trend: 0.07
         INSECTICIDES
       Carbamate insecticides
         Zheng 2001 [60]                Carbaryl (Carbamate insecticides)                         14 cases                               1.3, 0.6–2.4
         Zheng 2001 [60]               Carbofuran (Carbamate insecticides)                        22 cases                               1.4, 0.8–2.4
     Organochlorine insecticides
        Fritschi 2005 [62] 1                     Organochlorines                                     NR                          No exposure: 1.0, Referent
                                                                                                                            Non-substantial exposure: 1.8, 0.7–4.8
                                                                                                                             Substantial exposure: 3.5, 0.5–25.2
        Eriksson 2008 [32]                     DDT (OC insecticide)                                 NR                                   2.1, 1.1–4.4
         Baris 1998 [20]                       DDT (OC insecticide)                               47 cases                               1.3, 0.8–1.9
   Organophosphorus insecticides
        Waddell 2001 [56]                    OP pesticides, group                                 50 cases                               1.3, 0.9–2.0
        Waddell 2001 [56]                  Fonofos (OP insecticide)                               14 cases                               1.2, 0.6–2.4
        Waddell 2001 [56]                  Malathion (OP insecticide)                             29 cases                               1.3, 0.8–2.2
                                   Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 56 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                  4503

                                                                              Table 3. Cont.
           Author, date                              Chemical                                  Number of exposed cases   Risk ratio, 95% CI
          Waddell 2001 [56]                 Diazinon (OP insecticide)                                 17 cases               1.3, 0.7–2.3
          Waddell 2001 [56]                  Phorate (OP insecticide)                                 10 cases               0.7, 0.3–1.4
          Waddell 2001 [56]                 Terbufos (OP insecticide)                                  9 cases               0.7, 0.3–1.6
          Eriksson 2008 [32]                 Mercurial seed dressing                                     NR                 3.6, 1.2–10.9
          Eriksson 2008 [32]             Pyrethrine (Botanical insecticide)                              NR                  2.6, 0.8–8.5
  T cell lymphoma
            HERBICIDES
   Organophosphorus herbicides
          Eriksson 2008 [32]               Glyphosate (OP insecticide)                                  NR                  2.3, 0.5–10.4
          Phenoxy herbicides
          Eriksson 2008 [32]                    Phenoxy herbicides                                      NR                   1.6, 0.4–7.3
          Eriksson 2008 [32]         2,4,5-T and/or 2,4-D (Phenoxy herbicides)                          NR                   1.0, 0.1–8.0
          Eriksson 2008 [32]                MCPA (Phenoxy herbicides)                                   NR                  2.4, 0.3–20.0
           INSECTICIDES
          Eriksson 2008 [32]                  DDT (OC insecticide)                                      NR                   2.9, 1.1–8.0
          Eriksson 2008 [32]                 Mercurial seed dressing                                    NR                  2.1, 0.3–17.1
          Eriksson 2008 [32]             Pyrethrine (Botanical insecticide)                             NR                  2.2, 0.3–17.8
           Unspecified NHL
            HERBICIDES
   Organophosphorus herbicides
          Eriksson 2008 [32]               Glyphosate (OP insecticide)                                  NR                  5.6, 1.4–22.0
          Phenoxy herbicides
          Eriksson 2009 [32]                    Phenoxy herbicides                                      NR                  3.8, 1.2–12.1
          Eriksson 2008 [32]         2,4,5-T and/or 2,4-D (Phenoxy herbicide)                           NR                  3.2, 0.9–12.1
          Eriksson 2008 [32]                MCPA (Phenoxy herbicide)                                    NR                  9.3, 2.1–41.2
           INSECTICIDES
          Eriksson 2008 [32]                   DDT (OC insecticide)                                     NR                   2.4, 0.8–7.4
          Eriksson 2008 [32]                   Mercurial seed dressing                                  NR                  5.4, 1.3–22.0
                                        Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 57 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                                                                                        4504

                                                                                    Table 3. Cont.
           Author, date                                   Chemical                                   Number of exposed cases                          Risk ratio, 95% CI
        Eriksson 2008 [32]                     Pyrethrine (Botanical insecticide)                                NR                                      3.1, 0.4–26.3
  Other specified B cell lymphoma
          HERBICIDES
   Organophosphorus herbicides
        Eriksson 2008 [32]                        Glyphosate (OP herbicide)                                      NR                                       1.6, 0.5–5.0
        Phenoxy herbicides
        Eriksson 2008 [32]                            Phenoxy herbicides                                         NR                                       2.6, 1.2–5.6
        Eriksson 2008 [32]                 2,4,5-T and/or 2,4-D (Phenoxy herbicide)                              NR                                       2.2, 0.9–5.4
        Eriksson 2008 [32]                        MCPA (Phenoxy herbicide)                                       NR                                      3.2, 1.0–10.7
         INSECTICIDES
        Eriksson 2008 [32]                          DDT (OC insecticide)                                         NR                                       1.3, 0.6–3.1
        Eriksson 2008 [32]                          Mercurial seed dressing                                      NR                                       2.4, 0.7–7.8
        Eriksson 2008 [32]                                Pyretrine                                              NR                                       1.5, 0.3–6.9
  Unspecified B cell lymphoma
          HERBICIDES
   Organophosphorus herbicides
        Eriksson 2008 [32]                        Glyphosate (OP herbicide)                                      NR                                       1.5, 0.3–6.6
        Phenoxy herbicides
        Eriksson 2008 [32]                            Phenoxy herbicides                                         NR                                       1.1, 0.3–4.0
        Eriksson 2008 [32]                 2,4,5-T and/or 2,4-D (Phenoxy herbicide)                              NR                                       0.9, 0.2–3.9
        Eriksson 2008 [32]                        MCPA (Phenoxy herbicide)                                       NR                                      1.4, 0.2–11.2
         INSECTICIDES
        Eriksson 2008 [32]                          DDT (OC insecticide)                                         NR                                      0.2, 0.0–1.8
        Eriksson 2008 [32]                          Mercurial seed dressing                                      NR                                    No exposed cases
     Notes: 2,4-D, 2,4-Dichlorophenoxyacetic acid; 2,4,5-T, 2,4,5-Trichlorophenoxyacetic acid; DDT, dichlorodiphenyltrichloroethane; EPTC, s-ethyl dipropylthiocarbamate;
     MCPA, 2-methyl-4-chlorophenoxyacetic acid; NHL, non-Hodgkin lymphoma; NR, Not reported; OC, Organochlorine; OP, Organophosphorus;
     1
       Substantial indicates the person was exposed to the substance at a medium or high level for more than five 8-hour days per year for a combined total of more than 5 years.
     Nonsubstantial indicates any other combination of exposures; estimates derive from a case-control study; 2 NHL subtype is labeled small lymphocytic in the paper.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 58 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                         4505

   In the Agricultural Health Study, Delancey et al. [29] observed a fairly strong
dose response relationship between exposure to metribuzin, a triazinone herbicide, and NHL
(P for trend: 0.13). Waddell et al. [56] observed a dose-response relationship between years of use of
the organophosphorus insecticide fonofos and NHL. These authors also observed a strong positive
relationship between days/year of exposure to another organophosphorus insecticide, terbufos,
and NHL (OR, 95% CI for ≥5 days vs. non-farmers: 4.0, 1.1–14.5).
   Table 3 shows estimates of association between subtypes of NHL and chemical groups or active
ingredients. Table 4 shows the individual effect estimates of associations with herbicides, fungicides,
and insecticides, coded dichotomously.

     Table 4. Effect estimates from papers that investigated associations between non-Hodgkin
     lymphoma and herbicide, fungicide, and insecticide exposures, categorized dichotomously.
               Author, date                             N exposed                 Risk ratio, 95% CI
  HERBICIDES
  Amide herbicides
          Amide herbicides, group
              Hoar 1986 [34]                        8 cases/22 controls               2.9, 1.1–7.6
             Cantor 1992 [27]                      58 cases/114 controls              1.2, 0.8–1.7
            Zahm 1993 [18] 1                        8 cases/34 controls               0.9, 0.4–2.2
              Orsi 2009 [46]                        5 cases/12 controls               0.9, 0.3–2.8
                 Alachlor
            De Roos 2003 [30]                      68 cases/152 controls              1.1, 0.7–1.7
             Lee 2004 [39] 2                             29 cases                     0.7, 0.5–1.1
               Metolachlor
            De Roos 2003 [30]                       13 cases/37 controls              0.7, 0.3–1.6
                Propachlor
            De Roos 2003 [30]                       20 cases/50 controls              1.0, 0.5–2.0
               Propyzamide
              Mills 2005 [45]                               NR                        0.7, 0.3–1.4
  Organophosphorus herbicides
                Glyphosate
           McDuffie 2001 [43]                      51 cases/133 controls              1.2, 0.8–1.7
             Hardell 2002 [33]                       8 cases/8 controls               3.0, 1.1–8.5
            De Roos 2003 [30]                      36 cases/61 controls               2.1, 1.1–4.0
           De Roos 2005 [31] 2                            71 cases                    1.1, 0.7–1.9
            Eriksson 2008 [32]                     29 cases/18 controls               2.0, 1.1–3.7
              Orsi 2009 [46]                        12 cases/24controls               1.0, 0.5–2.2
             Phosphonic acid
           McDuffie 2001 [43]                      63 cases/147 controls              1.4, 0.9–1.9
  Phenoxy herbicides
        Phenoxy herbicides, group
              Hoar 1986 [34]                       24 cases/78 controls              2.2, 1.2–4.1
             Pearce 1987 [48]                      81 cases/143 controls             1.0, 0.8–1.4
             Woods 1987 [57]                                NR                       1.3, 0.9–2.0
            Persson 1989 [49]                       6 cases/6 controls               4.9, 1.0–23.5
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 59 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                   4506

                                                Table 4. Cont.
               Author, date                                   N exposed                      Risk ratio, 95% CI
              Cantor 1992 [27]                          118 cases/231 controls                  1.2, 0.9–1.6
             Persson 1993 [50]                           10 cases/14 controls                   2.3, 0.2–2.8
              Zahm 1993 [18] 1                           14 cases/63 controls                   0.9, 0.4–1.7
             Hardell 2002 [33]                           64 cases/90 controls                   1.7, 1.2–2.3
              Miligi 2006 [44]                           32 cases/28 controls                   1.1, 0.6–1.8
             Eriksson 2008 [32]                          47 cases/26 controls                   2.0, 1.2–3.4
               Orsi 2009 [46]                            11 cases/25 controls                   0.9, 0.4–1.9
              Pahwa 2012 [47]                           129 cases/138 controls                  1.5, 1.1–1.9
                    2,4-D
              Zahm 1990 [58]                             43 cases/98 controls                   1.5, 0.9–2.5
              Cantor 1992 [27]                   Ever handled: 115 cases/227 controls           1.2, 0.9–1.6
             Cantor 1992 [27] 3               Handled prior to 1965: 86 cases/153 controls      1.3, 0.9–1.8
               Mills 2005 [45]                                    NR                            3.8, 1.9–7.8
              Miligi 2006 [44]                           17 cases/18 controls                   0.9, 0.5–1.8
              Pahwa 2012 [47]                           110 cases/293 controls                  1.3, 1.0–1.7
                   2,4,5-T
             De Roos 2003 [30]                   Ever handled: 25 cases/63 controls             1.0, 0.5–1.9
             Cantor 1992 [27] 3               Handled prior to 1965: 13 cases/18 controls       1.7, 0.8–3.6
            2,4,5-T and/or 2,4-D
             Eriksson 2008 [32]                           33 cases/21 controls                  1.6, 0.9–3.0
              Diclofop-methyl
            McDuffie 2001 [43]                            9 cases/25 controls                   1.0, 0.4–2.2
                   MCPA
             Hardell 2002 [33]                            21 cases/23 controls                  2.6, 1.4–4.9
            De Roos 2003 [30] 1                            8 cases/16 controls                  1.0, 0.4–2.6
              Miligi 2006 [44]                            18 cases/19 controls                  0.9, 0.4–1.8
             Eriksson 2008 [32]                            21 cases/9 controls                  2.8, 1.3–6.2
              Pahwa 2012 [47]                             17 cases/46 controls                  1.1, 0.6–2.0
  Carbamate/Thiocarbamate herbicides
  Carbamate/Thiocarbamate herbicides, group
             Zahm 1993 [18] 1                             2 cases/14 controls                   0.6, 0.1–2.8
            McDuffie 2001 [43]                           21 cases/49 controls                   1.5, 0.8–2.6
             Zheng 2001 [60]                             60 cases/108 controls                  1.5, 1.1–2.3
                 Butylate
            Cantor 1992 [27] 3                  Handled prior to 1965: 1 case/6 controls        0.5, 0.1–4.3
             Zheng 2001 [60]                             45 cases/76 controls                   1.6, 1.0–2.4
                 Diallate
            McDuffie 2001 [43]                            11 cases/29 controls                  1.5, 0.7–3.1
            EPTC + Protectant
             Zheng 2001 [60]                              23 cases/49 controls                  1.6, 0.9–2.7
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 60 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                               4507

                                               Table 4. Cont.
                Author, date                               N exposed                    Risk ratio, 95% CI
  Aromatic acid herbicides
           Benzoic acid herbicides
               Hoar 1986 [34]                           1 case/2 controls                  4.0, 0.1–62.6
              Cantor 1992 [27]                        53 cases/98 controls                 1.3, 0.9–1.9
             Zahm 1993 [18] 1                          4 cases/12 controls                 1.2, 0.3–4.4
                Chloramben
             Cantor 1992 [27] 3           Handled prior to 1965: 16 cases/19 controls      2.0, 1.0–4.0
             De Roos 2003 [30]                       34 cases/81 controls                  0.9, 0.5–1.6
                  Dicamba
             Cantor 1992 [27] 3            Handled prior to 1965: 7 cases/7 controls       2.8, 1.0–8.1
            McDuffie 2001 [43]                      26 cases/50 controls                   1.6, 1.0–2.6
             De Roos 2003 [30]                      39 cases/79 controls                   1.2, 0.6–2.3
  Dinitroaniline herbicides
           Dinitroanilines, group
             Cantor 1992 [27]                         46 cases/88 controls                 1.2, 0.8–1.8
            McDuffie 2001 [43]                        11 cases/31 controls                 1.2, 0.6–2.4
                 Trifluralin
            Cantor 1992 [27] 3            Handled prior to 1965: 14 cases/23 controls      1.5, 0.8–3.1
            Zahm 1993 [18] 1                          3 cases/24 controls                  0.5, 0.1–1.7
            McDuffie 2001 [43]                       11 cases/31 controls                  1.1, 0.5–2.2
            De Roos 2003 [30]                       52 cases/120 controls                  0.9, 0.5–1.6
            Mills 2005 [43,45]                                NR                           0.9, 0.4–1.8
  Triazine herbicides
          Triazine herbicides, group
                Hoar 1986 [34]                        14 cases/43 controls                 2.5, 1.2–5.4
               Cantor 1992 [27]                       64 cases/133 controls                1.1, 0.8–1.6
              Zahm 1993 [18] 1                        12 cases/38 controls                 1.2, 0.6–2.6
                Orsi 2009 [46]                        17 cases /20 controls                1.9, 0.9–3.8
                   Atrazine
               Zahm 1993 [59]                        130 cases/249 controls                1.4, 1.1–1.8
                  Cyanazine
              De Roos 2003 [30]                       37 cases/96 controls                 0.6, 0.3–1.0
                  Metribuzin
              De Roos 2003 [30]                       20 cases/53 controls                 0.8, 0.4–1.7
                   Simazine
               Mills 2005 [45]                                  NR                         1.7, 0.9–3.0
  Urea herbicides
              Urea herbicides
              Cantor 1992 [27]                         5 cases/18 controls                 0.6, 0.2–1.6
               Orsi 2009 [46]                           5 cases/7 controls                 1.8, 0.5–6.0
                  Linuron
             De Roos 2003 [30]                         5 cases/22 controls                 0.3, 0.1–1.2
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 61 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                     4508

                                               Table 4. Cont.
                Author, date                               N exposed          Risk ratio, 95% CI
  Other herbicides
                  Bentazon
              Cantor 1992 [27]                        22 cases/58 controls       0.7, 0.3–1.5
                   Nitrofen
               Mills 2005 [45]                                  NR               1.2, 0.6–2.5
                  Paraquat
             De Roos 2003 [30]                         2 cases/15 controls       0.1, 0.2–0.7
   Quaternary ammonium compounds, group
                Orsi 2009 [46]                         4 cases/12 controls       0.7, 0.2–2.3
               Sodium chlorate
             De Roos 2003 [30]                         8 cases/7 controls        4.1, 1.3–13.6
              Uracil herbicides
               Hoar 1986 [34]                         19 cases/114 controls      1.3, 0.7–2.5
  FUNGICIDES
  Aldehyde fungicides
         Aldehyde fungicides, group
            McDuffie 2001 [43]                         7 cases/25 controls       0.9, 0.4–2.3
               Formaldehyde
            McDuffie 2001 [43]                         7 cases/25 controls       0.9, 0.4–2.3
  Amide fungicides
          Amide fungicides, group
           McDuffie 2001 [43]                         30 cases/58 controls       1.7, 1.0–2.8
                  Captan
           McDuffie 2001 [43]                         20 cases/24 controls       2.5, 1.3–4.8
             Mills 2005 [45]                                  NR                 0.9, 0.5–1.6
                  Vitavax
           McDuffie 2001 [43]                         10 cases/39 controls       0.8, 0.4–1.9
  Carbamate and dithiocarbamate fungicides
            Carbamate fungicides
               Orsi 2009 [46]                         15 cases/17 controls       1.8, 0.9–3.7
                  Maneb
              Mills 2005 [45]                                   NR               1.1, 0.6–2.1
                 Mancozeb
              Mills 2005 [45]                                   NR               0.9, 0.5–1.9
  Triazole fungicides
          Triazole fungicides, group
               Orsi 2009 [46]                          8 cases/9 controls        1.9, 0.7–5.3
                  Mecoprop
              Pahwa 2012 [47]                         51 cases/81 controls       2.3, 1.5–3.3
  Mercury containing fungicides
         Mercury fungicides, group
           McDuffie 2001 [43]                         18 cases/48 controls       1.3, 0.7–2.3
              Mercury dust
           McDuffie 2001 [43]                         15 cases/39 controls       1.2, 0.6–2.4
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 62 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                  4509

                                               Table 4. Cont.
                 Author, date                                N exposed                     Risk ratio, 95% CI
                Mercury liquid
             McDuffie 2001 [43]                          8 cases/22 controls                  1.4, 0.7–3.2
  Fumigant fungicides
               Methyl bromide
               Mills 2005 [45]                                   NR                           1.5, 0.8–2.7
              Dichloro-propane
               Mills 2005 [45]                                   NR                           0.9, 0.5–1.7
  Other fungicides
                Chlorothalonil
               Mills 2005 [45]                                   NR                           1.2, 0.6–2.2
              Sulfur compounds
             McDuffie 2001 [43]                          17 cases/21 controls                 2.8, 1.4–5.6
  INSECTICIDES
  Arsenicals
                Acetoarcenate
              De Roos 2003 [30]                          41 cases/68 controls                 1.4, 0.9–2.3
                    Arsenic
              Hardell 2002 [33]                           8 cases/10 controls                 1.8, 0.7–4.5
              Eriksson 2008 [32]                           7 cases/5 controls                 1.6, 0.5–5.2
                Lead arsenate
              De Roos 2003 [30]                           9 cases/25 controls                 0.5, 0.2–1.2
  Botanical insecticides
                   Nicotine
               Cantor 1992 [27]                       31 cases/47 controls                    1.5, 0.9–2.5
              Cantor 1992 [27] 3           Handled prior to 1965: 28 cases/36 controls        1.8, 1.0–3.0
                  Pyrethrine
              De Roos 2003 [30]                          6 cases/12 controls                  1.0, 0.3–3.2
              Eriksson 2008 [32]                         15 cases/10 controls                 1.7, 0.8–3.9
                   Rotenone
               Cantor 1992 [27]                          12 cases/23 controls                 0.5, 2.2–1.0
  Carbamate insecticides
       Carbamate insecticides, group
             McDuffie 2001 [43]                         37 cases/60 controls                  1.9, 1.2–3.0
              Zahm 1993 [18] 1                           7 cases/17 controls                  1.6, 0.6–4.4
               Zheng 2001 [60]                          89 cases/172 controls                 1.6, 1.0–2.4
                  Bufencarb
              De Roos 2003 [30]                           6 cases/12 controls                 1.1, 0.3–3.7
                   Carbaryl
              Cantor 1992 [27] 3               Handled prior to 1965: 7 cases/4 controls      3.8, 1.1–13.6
              De Roos 2003 [30]                         30 cases/57 controls                   1.0, 0.5–1.9
             McDuffie 2001 [43]                         25 cases/34 controls                   2.1, 1.2–3.7
                  Carbofuran
             Cantor 1992 [27] 3            Handled prior to 1965: 28 cases/63 controls        1.0, 0.6–1.7
             McDuffie 2001 [43]                       9 cases/18 controls                     1.6, 0.7–3.9
               Zheng 2001 [60]                       66 cases/131 controls                    1.6, 1.1–2.3
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 63 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                  4510

                                               Table 4. Cont.
                Author, date                                N exposed                      Risk ratio, 95% CI
                 Methomyl
              McDuffie 2001 [43]                       37 cases/60 controls                   2.1, 1.2–3.7
  Fly spray
               Cantor 1992 [27]                       185 cases/394 controls                  1.1, 0.9–1.4
              Cantor 1992 [27] 3           Handled prior to 1965: 173 cases/368 controls      1.1, 0.9–1.4
  Organochlorine insecticides
      Organochlorine insecticides, group
             Cantor 1992 [27]                         150 cases/162 controls                  1.3, 1.0–1.7
             Zahm 1993 [18] 1                          20 cases/46 controls                   1.6, 0.8–3.1
              Orsi 2009 [46]                           15 cases/17 controls                   1.8, 0.9–3.8
             Purdue 2007 [51]                         58 cases/44 non cases                   0.8, 0.5–1.3
             Pahwa 2012 [47]                          106 cases/276 controls                  1.3, 1.0–1.7
                   Aldrin
            Cantor 1992 [27] 3              Handled prior to 1965: 34 cases/59 controls       1.3, 0.8–2.1
            McDuffie 2001 [43]                          10 cases/6 controls                   4.2, 1.5–12.0
            De Roos 2003 [30]                          47 cases/97 controls                   1.1, 0.7–1.7
             Purdue 2007 [51]                         21 cases/79 non-cases                   0.6, 0.3–1.0
                Chlordane
             Woods 1987 [57]                                   NR                             1.6, 0.7–3.8
            Cantor 1992 [27] 3              Handled prior to 1965: 22 cases/22 controls       2.2, 1.2–4.2
            McDuffie 2001 [43]                        36 cases/105 controls                   1.1, 0.7–1.7
            De Roos 2003 [30]                          21 cases/26 controls                   1.7, 0.9–3.2
             Purdue 2007 [51]                         27 cases/73 non-cases                   0.7, 0.4–1.2
                   DDT
             Woods 1987 [57]                               Not reported                       1.8, 1.0–3.2
            Cantor 1992 [27] 3             Handled prior to 1965: 68 cases/123 controls       1.3, 0.9–1.8
             Persson 1993 [50]                          4 case/3 controls                     2.0, 0.2–18.9
              Baris 1998 [20]                        161 cases/340 controls                   1.2, 1.0–1.6
             Hardell 2002 [33]                        77 cases/138controls                    1.2, 0.9–1.7
            De Roos 2003 [30]                         98 cases/226 controls                   1.0, 0.7–1.3
             Purdue 2007 [51]                         37 cases/63 noncases                    0.9, 0.6–1.5
            Eriksson 2008 [32]                        50 cases/37 controls                    1.5, 0.9–2.3
             Pahwa 2012 [47]                          33 cases/59 controls                    1.7, 1.1–2.7
                  Dieldrin
            Cantor 1992 [27] 3              Handled prior to 1965: 10 cases/13 controls       1.9, 0.8–4.4
            De Roos 2003 [30]                          21 cases/39 controls                   1.8, 0.8–3.9
             Purdue 2007 [51]                           7 cases/92 controls                   0.6, 0.2–1.3
                Heptachlor
            Cantor 1992 [27] 3              Handled prior to 1965: 14 cases/25 controls       1.3, 0.6–2.6
            De Roos 2003 [30]                          25 cases/43 controls                   1.3, 0.7–2.2
            Purdue 2007 [51] 2                        18 cases/82 noncases                    0.8, 0.4–1.4
                  Lindane
            Cantor 1992 [27] 3              Handled prior to 1965: 14 cases/25 controls       2.2, 1.0–4.7
              Blair 1998 [23]                         93 cases/151 controls                   1.5, 1.1–2.0
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 64 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                 4511

                                               Table 4. Cont.
                Author, date                                 N exposed                     Risk ratio, 95% CI
             McDuffie 2001 [43]                         15 cases/23 controls                  2.1, 1.0–4.2
             Rafnsson 2006 [52]                         37 cases/133 controls                 3.5, 1.4–9.0
             Purdue 2007 [51] 2                         24 cases/76 controls                  1.3, 0.8–2.1
               Methoxychlor
             McDuffie 2001 [43]                         65 cases/201 controls                 1.0, 0.7–1.4
             De Roos 2003 [30]                           9 cases/16 controls                  1.2, 0.5–2.7
                 Toxaphene
             Cantor 1992 [27] 3                Handled prior to 1965: 6 cases/5 controls      2.4, 0.7–8.2
             De Roos 2003 [30]                          10 cases/13 controls                  1.5, 0.6–3.5
             Purdue 2007 [51] 2                         24 cases/75 controls                  1.5, 0.9–2.5
  Organophosphorus insecticides
        Organophosphorus insecticides
             Zahm 1993 [18] 1                            14 cases/43 controls                 1.2, 0.6–2.5
             Waddell 2001 [56]                          158 cases/279 controls                l.5, 1.2–1.9
               Orsi 2009 [46]                            20 cases/24 controls                 1.7, 0.9–3.3
              Pahwa 2012 [47]                            92 cases/169 controls                1.9, 1.4–2.6
                Chlorpyrifos
             Waddell 2001 [56]                            7 cases/8 controls                  3.2, 1.1–9.2
              Lee 2004 [38] 2                              37 participants                    1.0, 0.6–1.7
                Coumaphos
             Cantor 1992 [27] 3                Handled prior to 1965: 3 cases/5 controls      1.5, 0.3–6.3
             Waddell 2001 [56]                          23 cases/37 controls                  1.7, 1.0–2.9
                 Crufomate
             Waddell 2001 [56]                            5 cases/8 controls                  1.6, 0.5–4.9
                  Diazinon
             Cantor 1992 [27] 3            Handled prior to 1965: 14 cases/12 controls        2.6, 1.2–5.9
            McDuffie 2001 [43]                        18 cases/28 controls                    1.7, 0.9–3.2
             Waddell 2001 [56]                        60 cases/93 controls                    1.7, 1.2–2.5
              Mills 2005 [45]                                 NR                              1.4, 0.8–2.5
                 Dichlorvos
             Cantor 1992 [27] 3            Handled prior to 1965: 12 cases/17 controls        1.8, 0.8–3.9
             Waddell 2001 [56]                        23 cases/51 controls                    1.0, 0.6–1.7
            Koutros 2008 [37] 2                         6 exposed cases                            NR
                Dimethoate
            McDuffie 2001 [43]                           22 cases/50 controls                 1.2, 0.7–2.1
             Waddell 2001 [56]                           12 cases/22 controls                 1.8, 0.9–3.8
                 Disulfoton
             Waddell 2001 [56]                            7 cases/13 controls                 2.0, 0.8–5.3
                 Ethoprop
             Waddell 2001 [56]                            7 cases/17 controls                 0.9, 0.4–2.3
                 Famphur
             Waddell 2001[56]                            18 cases/47 controls                 1.0, 0.5–1.8
               Fensulfothion
             Waddell 2001 [56]                            4 cases/4 controls                  2.0, 0.5–8.2
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 65 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                   4512

                                                Table 4. Cont.
               Author, date                                   N exposed                     Risk ratio, 95% CI
                  Fonofos
             Waddell 2001 [56]                           43 cases/67 controls                  1.7, 1.1–2.6
                 Malathion
             Cantor 1992 [27] 3                Handled prior to 1965: 11 cases/9 controls      2.9, 1.1–7.4
             Waddell 2001 [56]                          91 cases/147 controls                  1.6, 1.2–2.2
              Mills 2005 [45]                                     NR                           1.8, 1.0–3.2
              Pahwa 2012 [47]                           72 cases/127 controls                  2.0, 1.4–2.7
              Methyl parathion
              Mills 2005 [45]                                     NR                           0.6, 0.3–1.2
                 Parathion
             Waddell 2001 [56]                             5 cases/8 controls                  2.9, 0.9–9.7
                  Phorate
             Cantor 1992 [27] 3                Handled prior to 1965: 9 cases/12 controls      1.8, 0.7–4.5
             Waddell 2001 [56]                           44 cases/97 controls                  1.1, 0.8–1.7
                   Ronnel
             Waddell 2001 [56]                            6 cases/11 controls                  1.3, 0.5–3.6
                  Terbufos
             Waddell 2001 [56]                           32 cases/97 controls                  1.1, 0.7–1.8
             Tetrachlorvinphos
             Waddell 2001 [56]                            9 cases/17 controls                  1.8, 0.7–4.7
                 Toxaphene
              Mills 2005 [45]                                     NR                           0.9, 0.5–1.9
                Trichlorfon
             Cantor 1992 [27] 3                Handled prior to 1965: 6 cases/5 controls       2.4, 0.7–8.2
             Waddell 2001 [56]                           7 cases/11 controls                   1.8, 0.7–4.7
     Notes: 2,4-D, 2,4-Dichlorophenoxyacetic acid; 2,4,5-T, 2,4,5-Trichlorophenoxyacetic acid; EPTC, S-Ethyl
     dipropylthiocarbamate; MCPA, 2-methyl-4-chlorophenoxyacetic acid; DDT, dichlorodiphenyltrichloroethane;
     NHL, non-Hodgkin lymphoma; NR, Not reported; 1 Only women included in analysis; 2 Cohort study;
     3
       Effect estimate not included in the meta-analysis; another estimate from the same paper with a larger
     number of exposed cases was used..


3.4. Meta Analyses

   When there was more than one effect estimate for a chemical group or active ingredient,
the estimates shown in Tables 3 and 4 were combined to produce meta-analytic summary estimates
and 95% CIs (Table 5).
   The strongest meta RR estimates were associated with subtypes of NHL. There was a positive
association between exposure to organophosphorus herbicide, glyphosate, and B cell lymphoma
(2.0, 95% CI: 1.1–3.6, CLR: 3.2). Phenoxy herbicide exposures were associated with B cell lymphoma
(1.8, 95% CI: 1.2–2.8, CLR: 2.4), lymphocytic lymphoma (1.8, 95% CI: 0.9–3.5, CLR: 3.8),
and diffuse large B-cell lymphoma (DLBCL; 2.0, 95% CI: 1.1–3.7, CLR: 3.3). All these effect
estimates were relatively precise, with CLRs < 4.
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 66 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                              4513

      Table 5. Meta analytic summary estimates of association between herbicides and insecticides
      with non-Hodgkin lymphoma.
                                                          Meta Risk Ratio
   Chemical group or active ingredient                                        I2     Papers contributing
                                                          estimate, 95% CI
   HERBICIDES
   Amide herbicides
   Amide herbicides                                         1.3, 0.8–1.9     22.2%      [18,27,34,46]
   Alachlor                                                 0.9, 0.6–1.3     43.0%         [30,39]
   Aromatic acid herbicides
   Benzoic acid herbicides                                  1.3, 0.9–1.9     0.0%       [18,27,34,46]
   Dicamba                                                  1.4, 1.0-2.1     0.0%          [30,43]
   Carbamate/thiocarbamate herbicides
   Carbamate/thiocarbamate herbicides                       1.4, 1.1–2.0     0.0%         [18,43,60]
   Dinitroanilines
   Dinitroanilines                                          1.2, 0.8–1.7     0.0%          [27,43]
   Trifluralin                                              0.9, 0.6–1.3     0.0%       [18,30,43,45]
   Organophosphorus herbicides
   Glyphosate                                               1.5, 1.1–2.0     32.7%      [30–33,43,46]
   Glyphosate-association with B cell lymphoma              2.0, 1.1–3.6      0.0%         [32,63]
   Phenoxy herbicides
                                                                                        [27,32–34,44,
   Phenoxy herbicides                                       1.4, 1.2–1.6     37.7%
                                                                                        46–50,57,59]
   Phenoxy herbicides, association with B cell lymphoma     1.8, 1.2–2.8     0.0%          [32,63]
   Phenoxy herbicides, association with DLBCL               2.0, 1.1–3.7     0.0%          [32,63]
   Phenoxy herbicides, association with
                                                            1.8, 0.9–3.5     0.0%          [32,63]
   lymphocytic lymphoma
   2,4-D                                                    1.4, 1.0–1.9     61.5%     [27,44,45,47,58]
   MCPA                                                     1.5, 0.9–2.5     54.4%     [30,32,33,44,47]
   Triazine herbicides
   Triazine herbicides                                      1.5, 1.0, 2.1    38.5%      [18,27,34,46]
   Urea herbicides
   Urea herbicides, group                                   1.0, 0.3–2.9     43.4%         [27,46]
   INSECTICIDES
   Arsenicals
   Arsenic                                                  1.7, 0.8–3.6     0.0%          [32,33]
   Botanical insecticides
   Pyrethrine                                               1.4, 0.8–2.8     0.0%          [30,32]
   Carbamate insecticides
   Carbamate insecticides, group                            1.7, 1.3–2.3     0.0%         [18,43,60]
   Carbaryl                                                 1.7, 1.3–2.3     0.0%           [43,60]
   Carbofuran                                               1.6, 1.2–2.3     0.0%           [43,60]
   Organophosphorus insecticides
   Organophosphorus insecticides, group                     1.6, 1.4–1.9      0.0%      [18,46,47,56]
   Chlorpyrifos                                             1.6, 0.6–4.9     72.0%          [38,56]
   Diazinon                                                 1.6, 1.2–2.2     0.0%         [43,45,56]
   Dimethoate                                               1.4, 0.9–2.1     0.0%           [43,56]
   Malathion                                                1.8, 1.4–2.2     0.0%         [45,47,56]
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 67 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                                      4514

                                                 Table 5. Cont.
                                                         Meta Risk Ratio
     Chemical group or active ingredient                                        I2       Papers contributing
                                                         estimate, 95% CI
     Organochlorine insecticides
     Organochlorine insecticides, group                     1.3, 1.0–1.5      19.6%        [18,27,46,47,51]
     DDT                                                    1.3, 1.1–1.5       0.0%     [20,32,33,47,50,51,57]
     DDT-association with B cell lymphoma                   1.4, 1.0–2.0       0.0%            [20,32,63]
     DDT-association with DLBCL                             1.2, 0.9–1.7       0.0%              [20,32]
     DDT-association with follicular lymphoma               1.5, 1.0–2.4      26.6%              [20,32]
     Methoxychlor                                           1.0, 0.7–1.4       0.0%              [30,43]
     Aldrin                                                 1.0, 0.4–2.7      84.6%            [30,43,51]
     Chlordane                                              1.1, 0.8–1.6      32.5%          [30,43,51,57]
     Dieldrin                                               1.1, 0.4–3.1      67.6%              [30,51]
     Heptachlor                                             0.9, 0.6–1.5       0.0%              [30,51]
     Lindane                                                1.6, 1.2–2.2      26.0%          [23,43,51,52]
     Toxaphene                                              1.4, 0.9–2.1       0.0%            [30,45,51]
     Amide fungicides
     Captan                                                 1.5, 0.5–4.2      82.5%             [43,45]
     Notes: 2,4-D, 2,4-Dichlorophenoxyacetic acid; 2,4,5-T, 2,4,5-Trichlorophenoxyacetic acid; DDT,
     dichlorodiphenyltrichloroethane; EPTC, s-ethyl dipropylthiocarbamate; MCPA, 2-methyl-4-chlorophenoxyacetic
     acid; NHL, non-Hodgkin lymphoma; DLBCL, diffuse large B cell lymphoma; OC, Organochlorine;
     OP; Organophosphorus.

   The meta RR estimates (95% CI) of association between phenoxy herbicide exposure and NHL
subtypes were more positive than those for NHL overall, although the estimate of association with
NHL overall was more precise (meta RR, 95% CI: 1.4, 1.2–1.6, CLR: 1.4). Only two papers
contributed to each of the estimates of association between phenoxy herbicide exposures and NHL
subtypes, and 12 papers contributed to the meta RR estimates for the relationship between phenoxy
herbicide exposure and NHL overall.
   There was a positive and relatively precise association between NHL and the phenoxy herbicide
2-methyl-4-chlorophenoxyacetic acid (MCPA) (meta RR, 95% CI: 1.5, 0.9–2.5, CLR: 2.6).
Five estimates contributed to this summary estimate; an I2 value of 54.4% indicates some
inconsistency in the effect estimates. The forest plot for the meta-analysis of MCPA, along with plots
for meta-analyses of phenoxy herbicicides as a group, the phenoxy herbicide 2,4-D, glyphosate,
organochlorine insecticides as a group, and the organochlorine insecticide DDT, are presented in
Supplementary Figure S1.
   In addition to assessing the association of ever exposure to MCPA with NHL, Hardell et al. [33]
investigated dose-response relationships between number of days of exposure; they observed
increasing odds in association with increased number of days of MCPA exposure (Table 2). In similar
analyses, Eriksson et al. [32] and Mcduffie et al. [43] did not observe dose-response relationship
between days/year of MCPA exposure and NHL.
   There was a positive but less precise estimate of association between arsenic and NHL (meta RR,
95% CI: 1.7, 0.8–3.6, CLR: 4.4). Meta estimates of association between NHL and carbamate
insecticides and carbaryl, a carbamate insecticide, were nearly identical (meta RR, 95% CI: 1.7, 1.3–2.3,
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 68 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                        4515

CLR: 1.8) and both were positive and precise. Estimates from three papers contributed to the meta
analysis of carbamate insecticides. The I2 value was 0%, indicating consistency in effect estimates.
Carbofuran, another carabamate insecticide, was positively associated with NHL (meta RR, 95% CI:
1.6, 1.2–2.3, CLR: 2.0). However, in two investigations from the Agricultural Health Study that reported
estimates of association with tertiles of lifetime days of exposure to carbofuran [25] and carbaryl [42],
the relationships were imprecise and there was a lack of a dose-response relationship (Table 2).
   There were positive and precise estimates of association between NHL and organophosphorus
insecticides (meta RR, 95% CI: 1.6, 1.4–1.9, CLR: 1.4), and the organophosphorus insecticides
diazinon (meta RR, 95% CI: 1.6, 1.2–2.2, CLR: 1.8), and malathion (meta RR, 95% CI: 1.8, 1.4–2.2,
CLR: 1.5). Although Fritschi et al. [62] studied the relationship between organophosphorus
insecticides and NHL, we did not include the estimate from their paper in the meta analysis because
they investigated the association with exposure in three categories (no exposure, non-substantial
exposure, substantial exposure). Fritschi et al. [62] reported a positive but imprecise estimate for
substantial exposure versus no exposure (odds ratio, 95% CI: 2.1, 0.8–5.7, CLR: 7.3). The meta RR
estimate of association between NHL and the organophosphorus insecticide chlorpyrifos was positive
but imprecise (meta RR, 95% CI: 1.6, 0.6–4.9, CLR: 8.9). There was a positive and precise association
with lindane, an organochlorine insecticide (meta RR, 95% CI: 1.6, 1.2–2.2, CLR: 1.8); estimates of
association with other organochlorine insecticides were closer to the null.

3.5. Sensitivity Analyses

   We conducted sensitivity analyses to examine the effect of gender (Supplementary Table S1),
study design (Supplementary Table S2), diagnosis period (Supplementary Table S3), geographic
region (Supplementary Table S4), source for controls in case-control studies (Supplementary Table S5)
and/or the effect of using alternative papers that represent the same study population (Supplementary
Table S6). For the most part, meta-estimates were robust.

3.5.1. Gender

   When we subset the analyses of associations between NHL and amide herbicides to the two studies
that included men only, the association became more positive but less precise (meta RR, 95% CI:
moved from 1.3, 0.8–1.9, CLR: 2.3 to 1.7, 0.7–3.8, CLR: 5.3). Restricting to all male studies moved
the summary estimate of the relationship with aldrin up and across the null; however, the estimate in
the sensitivity analysis was too unstable to interpret (meta RR, 95% CI: moved from 1.0, 0.4–2.7,
CLR: 7.8 to 1.4, 0.2–11.1, CLR: 65.0). Restricting the analysis to studies that included men and
women caused the meta RR estimate of association between NHL and 2,4-D to become more positive but
less precise; it moved from 1.4, 1.0–1.9, CLR: 1.9 to 1.8, 0.5–7.5, CLR: 16.7. We were not able to conduct
sensitivity analyses for female only studies, since only one paper reported results for women only [18].

3.5.2. Study Design

   Nearly all of the studies that contribute to the meta estimates were case control in design. The only
cohort study was the Agricultural Health Study. In nearly all of the analyses of data from the
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 69 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                     4516

Agricultural Health Study, exposure was defined using multiple categories. However, in the papers on
glyphosate [31], chlorpyrifos [38], organochlorine insecticides, aldrin, chlordane, dieldrin, lindane,
and toxaphene [51], the association with ever/never use of exposure was analyzed. For the most part,
restricting analyses to case control studies did not cause the meta estimate to change substantially
(Supplementary Table S2). However, the magnitude of the meta RR for aldrin moved up and away from
the null, but became more imprecise (it moved from 1.0, 0.4–2.7, CLR: 6.8 to 1.4, 0.2–11.1, CLR: 55.5).
For lindane it changed from 1.6, 1.2–2.2, CLR: 1.8 to 1.9, 1.2–2.9, CLR: 2.4.

3.5.3. Diagnosis Period

   We also investigated the sensitivity of the meta-analytic estimates to decade of cancer diagnosis
(Supplementary Table S3). For the most part, estimates were robust. However, when we subset the
meta-analysis of glyphosate to the two papers in which cases were diagnosed from 1975–1989,
the meta RR, 95% CI changed from 1.5, 1.1–2.0, CLR: 1.8 to 2.3, 1.4–4.0, CLR: 3.0. Similarly, for the
phenoxy herbicide 2,4-D, when we included estimates from the three papers with diagnosis periods
from 1975 to 1989, the summary estimate was more positive but less precise (meta RR, 95% CI: 1.8,
1.0–3.1, CLR: 3.2) compared to the full meta-analysis estimate (1.4, 95% CI: 1.0–1.9; CLR: 1.9).

3.5.4. Geographic Area

   We investigated the impact of geographic area on the meta-analytic RR estimates (Supplementary
Table S4). For glyphosate exposure, including estimates from papers that reported results from
Swedish studies caused the estimate to become more positive; it moved from 1.5, 95% CI: 1.1–2.0,
CLR: 1.8 to 2.2, 95% CI: 1.3–3.8, CLR: 2.9. Similarly, restricting estimates of the relationship
between NHL and phenoxy herbicide exposure to Sweden caused the estimate to become more
positive; it changed from 1.4, 95% CI: 1.2–1.6, CLR: 1.4 to 1.9, 1.4–2.4, CLR: 1.7. When we
restricted estimates of association with MCPA to those that came from North American studies, the
meta RR moved towards the null, from 1.5, 0.9–2.5, CLR: 2.6 to 1.1, 0.7–1.8, CLR: 2.7. In contrast,
restricting to European and Swedish studies caused the estimate of association with MCPA to become
more positive (meta RR, 95% CI: 1.9, 0.9–3.8, CLR: 4.1 and 2.7, 1.6–4.4, CLR: 2.7 respectively).
When we included estimates of association with aldrin that came from studies conducted in the USA,
the estimate became more precise but moved down and away from the null (meta RR, 95% CI: 1.0,
95% CI: 0.4–2.7, CLR: 7.8 changed to 0.5, 95% CI: 0.4–0.8, CLR: 2.3).

3.5.5. Source of Controls in Case Control Studies

   Only two papers reported results from case control studies in which controls were selected from the
hospital [46,48]. The meta-analytic RR estimates remained robust when we restricted the estimates to
those resulting from population-based case-control studies (Supplementary Table S5).

3.5.6. Alternative Papers

  In several cases, analyses of the same study populations were represented in multiple papers.
For the meta-analyses, we included the result(s) that represented the largest number of participants.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 70 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                       4517

In some cases, we selected the result from a pooled analysis instead of the individual, original studies.
In other cases, use of effect estimates from the individual studies was preferable because it represented
more people. We performed sensitivity analyses to evaluate the impact of replacing results from
pooled analyses of multiple studies [23,30,59,60] with the original ones [27,34,58], or the original ones
with the pooled analyses (Supplementary Table S6).
   When we replaced the estimate of a relationship between carbofuran exposure and NHL reported in
Zheng et al. [60] by that reported in Cantor et al. [27] the relationship became weaker and less precise;
the meta RR and 95% CI changed from 1.6, 1.2–2.3, CLR: 2.0 to 1.1, 0.7–1.8, CLR: 2.4. Using the
estimate reported in De Roos et al. [30] yielded a similar result (meta RR, 95% CI changed to 1.1,
0.6–2.0, CLR: 3.1). For the relationship between aldrin and NHL, we replaced the estimate reported in
De Roos et al. [30] by that reported by Cantor et al. [27]; the estimate moved from a null relationship
to a positive one (meta RR, 95% CI changed from 1.0, 0.4–2.7 to 1.3, 0.5–2.9).

4. Discussion

   This systematic review and series of meta-analyses show that there is consistent evidence of
positive associations between NHL and carbamate insecticides, organophosphorus insecticides,
lindane, an organochlorine insecticide, and MCPA, a phenoxy herbicide. Our results represent an
important contribution to a growing body of literature on agricultural exposures associated with
cancer. Past review papers and meta-analyses have identified positive associations between NHL and
farming related exposures, including fertilizers, chemicals, and animals [5], and occupational
exposures to pesticides [6].
   We extracted estimates of association of NHL with individual pesticide chemical groups or active
ingredients from 44 papers that reported analyses of results from 17 independent studies. The studies
represented data collected in 12 countries, the majority of which were located in either Europe or
North America. Several of the papers that we identified were related to one another; many used data
from the same cohort study, the Agricultural Health Study, and several others pooled the same data
from individual studies. Thus, although this review identified 44 papers, it also highlights the need for
additional epidemiologic studies in a larger variety of geographic locations.
   In the papers from which we extracted information, estimates of associations with NHL were
reported with 13 herbicide chemical groups and 28 herbicide active ingredients, five fungicide groups
and 12 fungicide active ingredients, and three insecticide groups and 40 insecticide active ingredients.
More than 1,700 active ingredients are listed in Alan Wood’s compendium of pesticide common
names, although not all of these are necessarily used in agriculture or currently registered for use in
any or all countries [13]. Many chemicals remain for consideration in future epidemiologic analyses of
associations between NHL and pesticides. It would be useful to identify pesticides to investigate by
ranking, by country, the most commonly used chemicals.
   The positive and precise estimate of associations of NHL with carbamate insecticides,
organophosphorus insecticides, and lindane were robust to sensitivity analyses of gender, geographic
area, and cancer diagnosis period. The positive association between MCPA and NHL was robust to a
sensitivity analysis of diagnosis period, but when we restricted the meta-analysis to estimates from
studies conducted in North America, the estimate moved to the null.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 71 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                       4518

   Consistent with the results from the meta-analysis of lindane exposure, analyses of data from the
American cohort, the Agricultural Health Study, revealed a positive dose-response relationship
between NHL and intensity weighted lifetime days of lindane exposure, where the referent group
consisted of applicators never exposed to pesticide products containing the active ingredient [51].
In this same paper, however, the estimate of association with dichotomously coded exposure to lindane
was close to the null and imprecise. This difference in results within the Agricultural Health Study
suggests that dichotomous classification of exposure might be too crude; the binary categories could
lead to exposure misclassification and attenuated effect estimates. Because of variability in definitions
and cut-points across papers, we were unable to conduct formal meta-analyses of exposures classified
using multiple categories. When they were available, we reviewed estimates of dose-response
relationships from the individual papers. We found that, in most of the papers in which dose-response
relationships were investigated, effect estimates were imprecise due to small numbers of exposed cases
within categories.
   There were positive meta RR estimates of association of NHL with two carbamate insecticides,
carbaryl and carbofuran, and the organophosphorus insecticide active ingredients diazinon and
malathion. However, results from analyses of Agricultural Health Study data, which were not included
in the meta-analyses, did not show dose response relationships between NHL and lifetime days of
exposure to carbofuran [25], carbaryl [42], diazinon [29] or malathion [21,26].
   Some discrepancies in findings from the Agricultural Health Study compared to the other studies
could be due to differences in design (cohort versus case-control). Differences could also be the result
of different referent category compositions. All participants of the Agricultural Health Study were
pesticide applicators; therefore, the referent group generally consisted of applicators who were not
exposed to the pesticide active ingredient of interest. In contrast, in the papers contributing to the
meta-RR estimate for carbaryl [30,43] and carbofuran [43,60], the referent groups consisted of farmers
and non-farmers [30,43], or only of non-farmers [60]. In the papers contributing to the
meta-analyses of malathion and diazinon, the referent categories consisted of non-farmers [56],
farmers and non-farmers [43,47], and only farm-workers [45]. It is possible that, in studies that
included non-farmers in the referent group, confounding by other agricultural exposures, not adjusted
for in analysis, caused estimates of association to be higher than results from Agricultural Health Study
analyses.
   Only a handful of papers reported associations of pesticides with NHL subtypes; this is probably
due to small sample sizes. Our meta-analyses of these relationships suggested the need for further
studies of this kind, especially since some of the strongest relationships were seen with the most
common subtype of NHL, B cell lymphoma and, more specifically, with DLBCL. NHL are a
heterogeneous group of malignancies that include multiple subtypes with varied characteristics and
possibly diverse etiologies [4]. Consequently, the overall group of neoplasms represented by NHL
might be too diverse as a study endpoint to adequately detect associations with pesticide exposures in
epidemiologic analyses. Some but not all specific subtypes of lymphoma might be associated with
pesticides, and these relationships would only be revealed by analyses of the subtypes.
Pooling projects that include cases of the NHL subtypes that have been classified according to the
more recent and etiologically specific definitions (B-cell, T-cell, and within these, more refined
subtypes of T- and B-cell neoplasms) [65] present the opportunity to perform more sensitive
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 72 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                        4519

epidemiologic analyses and identify important relationships that may have been undetected if the
cancer outcome was defined broadly as NHL overall. Such projects are particularly attractive for
studying rarer subtypes (i.e., T-cell). To this end, a pooling project within the AGRICOH
consortium [64] is currently underway to investigate these associations.
    There are various sources of heterogeneity across the studies that contributed to these meta-analyses;
these include gender, region, cancer diagnosis period, exposure assessment methods, exposure definitions,
referent groups, study populations, and/or analysis adjustment sets. Different activity patterns,
which might cause differences in exposure, combined with different biological mechanisms,
could result in between-gender differences in chemical exposure and disease risk associations.
Pesticide use, application, and handling patterns, regulations and legislation, demographics and
genetics differ by region, which could contribute to area-specific differences in associations.
In the papers that contributed to the meta analyses, a variety of exposure assessment methods were
used; these included self-reported chemical exposures, exposure matrices, and approximations based
on number of animals raised. Differences in exposure assessment methods could influence the
magnitude of effects observed, especially since some methods might be superior to others in terms of
reducing the potential for exposure misclassification. Study design (case-control versus cohort) and
source of controls in case-control studies (hospital versus population) could also influence the
magnitude of the exposure estimates observed. In case-control studies, exposure is assessed
retrospectively, which could lead to recall bias. In contrast, in the Agricultural Health Study, the only
cohort included in this review, exposure was assessed when participants were cancer-free.
Finally, NHL classification systems have changed over time, reflecting changes in disease definitions [1].
Recently (after year 2000), the definition of NHL has become more comprehensive. The definition
now includes disease entities that were excluded from earlier definitions, such as plasma cell
neoplasms (i.e., multiple myeloma) and chronic lymphocytic leukemia. These malignancies are also
among the most frequently reported sub-types within NHL [65]. Thus, estimates of association between
pesticides and overall NHL from studies conducted in earlier periods may not be entirely comparable to
estimates from research conducted since the year 2000 that used the updated NHL definition.
    We did not conduct a formal test of publication bias; it is unclear if asymmetry tests with funnel
plots are useful in meta-analyses of observational studies, and it has been recommended that these tests
not be used when fewer than 10 studies contribute to a meta-analysis [66]. For the most part,
we believe that our review was systematic and comprehensive.
    Nevertheless, we did not identify papers that published results of studies conducted in middle- and
low-income countries. It is possible that, in such regions where cancer-follow and exposure
ascertainment may be particularly challenging, no studies have investigated the relationship of NHL
with pesticide exposures. Restricting our literature search to articles published in English could be
another reason that we did not identify studies in lower-income countries. A lack of studies in these
areas is potentially alarming, since these regions are responsible for much of the world’s agricultural
production [67]. Also, lympho-hematopoetic malignancies represent a substantial proportion of cancers
in low- and middle-income countries. For example, based on estimates from the World Health
Organization’s GLOBOCAN 2012, NHL accounted for 37.7% of the estimated prevalent cancer cases
diagnosed in the past 5 years, among adults in less-developed regions (Africa, Asia excluding Japan, Latin
America and the Caribbean, Melanesia, Micronesia, and Polynesia) [68]. Nevertheless, research results
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 73 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                           4520

from higher-income countries could be transferable and have important implications for pesticide
regulation and legislation world-wide, especially in low-income countries where protective equipment
may be less available and/or used.
   There are several mechanisms by which pesticide exposure might be associated with NHL.
First, pesticides might cause chromosomal aberrations and genetic mutations. An often studied
chromosomal abnormality is the t(14;18) translocation, which is particularly common among cases of
follicular lymphoma and diffuse large B-cell lymphoma [69]. In a paper that used data from the
Iowa/Minnesota case-control study that contributed to several of the pooled and individual analyses
that we reviewed [23,30,59], Schroeder et al. [70] investigated the relationship between pesticide
exposures and the t(14;18) translocation. Compared with controls, t(14;18) positive NHL cases but not
t(14;18) negative cases had a higher odds of exposure to dieldrin, toxaphene, lindane, and atrazine.
Chiu et al. [69,71] performed a similar analysis using data from the Nebraska-based case-control study
and reported positive associations between t(14;18) positive NHL and dieldrin, toxapehen, and lindane.
A second mechanism by which pesticide exposure may cause NHL is by altering cell mediated
immune function. Indeed, immunological changes have been observed following short-term exposure
to phenoxy herbicides (2,4-D and MCPA) among farmers [72].
   The IARC Monographs have evaluated the carcinogenicity of a handful of pesticides. Of these,
only arsenic and inorganic arsenic compounds have been given a Group 1 rating (carcinogenic to
humans) [73]. The fumigant insecticide ethylene dibromide was classified as a group 2A carcinogen
based on inadequate evidence for carcinogenicity in humans but sufficient evidence in experimental
animals; the overall evaluation was upgraded to 2A (probably carcinogenic to humans) with supporting
evidence from other relevant data [74]. In Volume 53 (1991) [75], the fungicide captafol was also
classified as a group 2A carcinogen based on sufficient evidence in experimental animals but no
available data from human studies. In this same volume, several other pesticides were classified as
either group 2B (possibly carcinogenic to humans) or group 3 carcinogens (not classifiable as to its
carcinogenicity)—aldicarb chlordane/heptachlor, DDT, deltamethrin, dichlorvos, fenvalerate,
permethrin, thiram, ziram, atrazine, monuron, picloram, simazine, and trifluralin. The IARC monographs
have classified other pesticides, including heptachlor, chlordane, and toxaphene [76], as group 2B
carcinogens; in each of these cases, the 2B classification was based on inadequate evidence in humans
but sufficient evidence in experimental animals. Chlorophenoxy herbicides were classified as group 2B
carcinogens based on limited evidence for carcinogenicity in humans, and inadequate evidence for
carcinogenicity of 2,4-D and 2,4,5-T in animals [77].Similarly, hexachlorocyclohexanes were
evaluated as group 2B carcinogens due to inadequate evidence for carcinogenicity to humans, sufficient
evidence for carcinogenicity to animals for the technical-grade and the alpha isomers but limited for the
beta and gamma (lindane) isomers [77]. Several other pesticides, including malathion and maneb [77]
have been classified as group 3 carcinogens. These evaluations took place several decades ago and
there is now more epidemiologic literature that can provide information. There also remains a need for
further epidemiologic research of certain chemicals, which could help to inform future evaluations.
In the current systematic review, we did not observe entirely consistent trends in association for all of the
active ingredients within chemical groups. Furthermore, classification of active ingredients into groups
is subjective and there is not a consistent and established scheme for doing so.
Therefore, evaluations of individual active ingredients rather than chemical groups might be more useful.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 74 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                      4521

Limitations and Strengths

   Because of variability in definitions and metrics that were used in published papers, we were not
able to consider additional exposure definitions, such as exposure lags, duration of exposure
(e.g., number of days/year exposed), or routes of exposure (e.g., application versus mixing of
pesticides). In an effort to use similar exposure definitions from the various papers, we only included
dichotomous definitions in the meta-analyses. Since dose-response relationships could not be
summarized, this restricted the strength of our conclusions from an etiologic perspective.
Furthermore, we were not able to conduct analyses of certain active ingredients or chemical groups
due to a lack of published literature. In other cases, very few papers contributed to the meta-analyses.
The largest number of papers contributing to any meta-analysis was 12 for phenoxy herbicides,
followed by eight for DDT. Most meta-analyses included estimates from only two to three studies.
In most papers, associations with NHL overall, rather than with subtypes of NHL, were investigated.
Thus, most of our meta-analyses were of associations with NHL rather than with its subtypes,
which are probably more homogeneous disease entities for assessing the relationship with pesticides.
It is possible that this led to a dilution of effects, since the various NHL subtypes have diverse
etiologies and some might be more strongly associated with certain pesticides than others.
   Nevertheless, this systematic review represents a novel contribution to the literature on NHL and
pesticide exposure. We identified trends in the relationship of NHL and NHL subtypes with chemical
groups and active ingredient groups. To our knowledge, this is the most comprehensive systematic
review and meta-analysis to investigate associations with specific agricultural pesticide active
ingredients. We observed fairly consistent results for certain pesticide groups and active ingredients.
We evaluated the robustness of our meta-analyses by examining the sensitivity of the estimates to
gender, study design, region, diagnosis period, control source in case-control studies, and paper that
provided the effect estimate.

5. Conclusions

   We systematically reviewed more than 25 years’ worth of epidemiologic literature on the
relationship between pesticide chemical groups and active ingredients with NHL. This review
indicated positive associations between NHL and carbamate insecticides, OP insecticides, the phenoxy
herbicide MCPA, and lindane. Few papers reported associations with subtypes of NHL;
however, based on the few that did, there were strong associations between certain chemicals and B
cell lymphomas. Our results show that there is consistent evidence that pesticide exposures
experienced in occupational agricultural settings may be important determinants of NHL. This review
also revealed clear research needs, including further investigation of some already studied pesticide
active ingredients, of additional pesticides that have not yet been investigated in epidemiologic
analyses, of the strength of association of pesticide exposures with subtypes of NHL,
and of the relationship between NHL and pesticides in middle- and low- income areas.
           Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 75 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                      4522

Acknowledgments

  Leah Schinasi is supported by a grant from the Office National de l’Eau et des
Milieux Aquatiques—ONEMA, France.

Author Contributions

   Leah Schinasi conducted the literature search, screened the papers from the search, abstracted data
from the papers, conducted the meta-analyses, and led the writing of the manuscript. Maria E. Leon
co-defined the scope of the review, the search strategy for the literature search and contributed to the
writing of the manuscript.

Conflicts of Interest

     The authors declare no conflict of interest.

References

1.  Adamson, P.; Bray, F.; Costantini, A.S.; Tao, M.H.; Weiderpass, E.; Roman, E. Time trends in the
    registration of Hodgkin and non-Hodgkin lymphomas in Europe. Eur. J. Cancer 2007, 43, 391–401.
2. Eltom, M.A.; Jemal, A.; Mbulaiteye, S.M.; Devesa, S.S.; Biggar, R.J. Trends in Kaposi’s sarcoma
    and non-Hodgkin’s lymphoma incidence in the United States from 1973 through 1998. J. Natl.
    Cancer Inst. 2002, 94, 1204–1210.
3. Pearce, N.; McLean, D. Agricultural exposures and non-Hodgkin’s lymphoma. Scand. J. Work
    Environ. Health 2005, 31, 18–25.
4. Alexander, D.D.; Mink, P.J.; Adami, H.O.; Chang, E.T.; Cole, P.; Mandel, J.S.; Trichopoulos, D.
    The non-Hodgkin lymphomas: A review of the epidemiologic literature. Int. J. Cancer 2007, 120,
    1–39.
5. Khuder, S.A.; Schaub, E.A.; Keller-Byrne, J.E. Meta-analyses of non-Hodgkin’s lymphoma and
    farming. Scand. J. Work Environ. Health 1998, 24, 255–261.
6. Blair, A.; Freeman, L.B. Epidemiologic studies in agricultural populations: Observations and
    future directions. J. Agromed. 2009, 14, 125–131.
7. Beane Freeman, L.E.; Deroos, A.J.; Koutros, S.; Blair, A.; Ward, M.H.; Alavanja, M.; Hoppin, J.A.
    Poultry and livestock exposure and cancer risk among farmers in the agricultural health study.
    Cancer Causes Control 2012, 23, 663–670.
8. Merhi, M.; Raynal, H.; Cahuzac, E.; Vinson, F.; Cravedi, J.P.; Gamet-Payrastre, L.
    Occupational exposure to pesticides and risk of hematopoietic cancers: Meta-analysis of
    case-control studies. Cancer Causes Control 2007, 18, 1209–1226.
9. Sathiakumar, N.; Delzell, E.; Cole, P. Mortality among workers at two triazine herbicide
    manufacturing plants. Amer. J. Ind. Med. 1996, 29, 143–151.
10. Environmental Protection Agency. About Pesticides. Available online: http://www.epa.gov/
    pesticides/about/index.html (accessed on 20 January 2014).
11. Alavanja, M.C.; Ross, M.K.; Bonner, M.R. Increased cancer burden among pesticide applicators
    and others due to pesticide exposure. Ca-A Cancer J. Clin. 2013, 63, 120–142.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 76 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                       4523

12. IARC (International Agency for Research on Cancer). IARC Monographs on the Evaluation
    of Carcinogenic Risks to Humans. Available online: http://monographs.iarc.fr/ (accessed on
    14 April 2014).
13. Wood, A. Compendium of Pesticide Common Names. Available online: http://www.alanwood.net/
    (accessed on 22 January 2014).
14. DerSimonian, R.; Kacker, R. Random-effects model for meta-analysis of clinical trials: An update.
    Contemp. Clin. Trials 2007, 28, 105–114.
15. Higgins, J.P.; Thompson, S.G.; Deeks, J.J.; Altman, D.G. Measuring inconsistency in meta-analyses.
    BMJ 2003, 327, 557–560.
16. Egger, M.; Schneider, M.; Davey Smith, G. Spurious precision? Meta-analysis of observational
    studies. BMJ 1998, 316, 140–144.
17. Poole, C. Low P-values or narrow confidence intervals: Which are more durable? Epidemiology
    2001, 12, 291–294.
18. Zahm, S.H.; Weisenburger, D.D.; Saal, R.C.; Vaught, J.B.; Babbitt, P.A.; Blair, A. The role of
    agricultural pesticide use in the development of non-Hodgkin’s lymphoma in women.
    Arch. Environ. Health 1993, 48, 353–358.
19. Barry, K.H.; Koutros, S.; Lubin, J.H.; Coble, J.B.; Barone-Adesi, F.; Freeman, L.E.B.; Sandler, D.P.;
    Hoppin, J.A.; Ma, X.; Zheng, T.; Alavanja, M.C. Methyl bromide exposure and cancer risk in the
    Agricultural Health Study. Cancer Cause. Control 2012, 23, 807–818.
20. Baris, D.; Zahm, S.H.; Cantor, K.P.; Blair, A. Agricultural use of DDT and risk of non-Hodgkin’s
    lymphoma: Pooled analysis of three case-control studies in the United States. Occup. Environ. Med.
    1998, 55, 522–527.
21. Freeman, L.E.B.; Bonner, M.R.; Blair, A.; Hoppin, J.A.; Sandler, D.P.; Lubin, J.H.;
    Dosemeci, M.; Lynch, C.F.; Knott, C.; Alavanja, M.C. Cancer incidence among male pesticide
    applicators in the Agricultural Health Study cohort exposed to diazinon. Amer. J. Epidemiol. 2005,
    162, 1070–1079.
22. Freeman, L.E.; Rusiecki, J.A.; Hoppin, J.A.; Lubin, J.H.; Koutros, S.; Andreotti, G.; Zahm, S.H.;
    Hines, C.J.; Coble, J.B.; Barone-Adesi, F.; et al. Atrazine and cancer incidence among pesticide
    applicators in the agricultural health study (1994–2007). Environ. Health Perspect. 2011, 119,
    1253–1259.
23. Blair, A.; Cantor, K.P.; Zahm, S.H. Non-hodgkin’s lymphoma and agricultural use of the
    insecticide lindane. Amer. J. Ind. Med. 1998, 33, 82–87.
24. Bonner, M.R.; Williams, B.A.; Rusiecki, J.A.; Blair, A.; Freeman, L.E.B.; Hoppin, J.A.; Dosemeci,
    M.; Lubin, J.; Sandler, D.P.; Alavanja, M.C.R. Occupational exposure to terbufos and the incidence of
    cancer in the Agricultural Health Study. Cancer Cause. Control 2010, 21, 871–877.
25. Bonner, M.R.; Lee, W.J.; Sandler, D.A.; Hoppin, J.A.; Dosemeci, M.; Alavanja, M.C.R.
    Occupational exposure to carbofuran and the incidence of cancer in the Agricultural Health Study.
    Environ. Health Perspect. 2005, 113, 285–289.
26. Bonner, M.R.; Coble, J.; Blair, A.; Beane Freeman, L.E.; Hoppin, J.A.; Sandler, D.P.; Alavanja, M.C.
    Malathion exposure and the incidence of cancer in the agricultural health study. Amer. J.
    Epidemiol. 2007, 166, 1023–1034.
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 77 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                       4524

27. Cantor, K.P.; Blair, A.; Everett, G.; Gibson, R.; Burmeister, L.F.; Brown, L.M.; Schuman, L.;
    Dick, F.R. Pesticides and other agricultural risk factors for non-Hodgkin’s lymphoma among men
    in Iowa and Minnesota. Cancer Res. 1992, 52, 2447–2455.
28. Cocco, P.; Satta, G.; Dubois, S.; Pili, C.; Pilleri, M.; Zucca, M.; ‘t Mannetje, A.M.; Becker, N.;
    Benavente, Y.; de Sanjose, S.; et al. Lymphoma risk and occupational exposure to pesticides:
    Results of the Epilymph study. Occup. Environ. Med. 2013, 70, 91–98.
29. Delancey, J.O.L.; Alavanja, M.C.R.; Coble, J.; Blair, A.; Hoppin, J.A.; Austin, H.D.; Freeman, L.E.B.
    Occupational exposure to metribuzin and the incidence of cancer in the agricultural health study.
    Ann. Epidemiol. 2009, 19, 388–395.
30. De Roos, A.J.; Zahm, S.H.; Cantor, K.P.; Weisenburger, D.D.; Holmes, F.F.; Burmeister, L.F.;
    Blair, A. Integrative assessment of multiple pesticides as risk factors for non-Hodgkin’s
    lymphoma among men. Occup. Environ. Med. 2003, 60, doi:10.1136/oem.60.9.e11.
31. De Roos, A.J.; Blair, A.; Rusiecki, J.A.; Hoppin, J.A.; Svec, M.; Dosemeci, M.; Sandler, D.P.;
    Alavanja, M.C. Cancer incidence among glyphosate-exposed pesticide applicators in the
    Agricultural Health Study. Environ. Health Perspect. 2005, 113, 49–54.
32. Eriksson, M.; Hardell, L.; Carlberg, M.; Akerman, M. Pesticide exposure as risk factor for
    non-Hodgkin lymphoma including histopathological subgroup analysis. Int. J. Cancer 2008, 123,
    1657–1663.
33. Hardell, L.; Eriksson, M.; Nordstrom, M. Exposure to pesticides as risk factor for non-Hodgkin’s
    lymphoma and hairy cell leukemia: Pooled analysis of two Swedish case-control studies.
    Leuk. Lymphoma 2002, 43, 1043–1049.
34. Hoar, S.K.; Blair, A.; Holmes, F.F.; Boysen, C.D.; Robel, R.J.; Hoover, R.; Fraumeni, J.F., Jr.
    Agricultural herbicide use and risk of lymphoma and soft-tissue sarcoma. JAMA 1986, 256,
    1141–1147.
35. Kang, D.; Park, S.K.; Beane-Freeman, L.; Lynch, C.F.; Knott, C.E.; Sandler, D.P.; Hoppin, J.A.;
    Dosemeci, M.; Coble, J.; Lubin, J.; et al. Cancer incidence among pesticide applicators exposed to
    trifluralin in the Agricultural Health Study. Environ. Res. 2008, 107, 271–276.
36. Koutros, S.; Lynch, C.F.; Ma, X.; Lee, W.J.; Hoppin, J.A.; Christensen, C.H.; Andreotti, G.;
    Freeman, L.B.; Rusiecki, J.A.; Hou, L.; et al. Heterocyclic aromatic amine pesticide use and
    human cancer risk: Results from the U.S. Agricultural Health Study. Int. J. Cancer 2009, 124,
    1206–1212.
37. Koutros, S.; Mahajan, R.; Zheng, T.; Hoppin, J.A.; Ma, X.; Lynch, C.F.; Blair, A.; Alavanja, M.C.
    Dichlorvos exposure and human cancer risk: Results from the Agricultural Health Study.
    Cancer Cause. Control 2008, 19, 59–65.
38. Lee, W.J.; Blair, A.; Hoppin, J.A.; Lubin, J.H.; Rusiecki, J.A.; Sandler, D.P.; Dosemeci, M.;
    Alavanja, M.C. Cancer incidence among pesticide applicators exposed to chlorpyrifos in the
    Agricultural Health Study. J. Natl. Cancer Inst. 2004, 96, 1781–1789.
39. Lee, W.J.; Hoppin, J.A.; Blair, A.; Lubin, J.H.; Dosemeci, M.; Sandler, D.P.; Alavanja, M.C.
    Cancer incidence among pesticide applicators exposed to alachlor in the agricultural health study.
    Amer. J. Epidemiol. 2004, 159, 373–380.
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 78 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                         4525

40. Lynch, S.M.; Mahajan, R.; Beane Freeman, L.E.; Hoppin, J.A.; Alavanja, M.C. Cancer incidence
    among pesticide applicators exposed to butylate in the Agricultural Health Study (AHS).
    Environ. Res. 2009, 109, 860–868.
41. Lynch, S.M.; Rusiecki, J.A.; Blair, A.; Dosemeci, M.; Lubin, J.; Sandler, D.; Hoppin, J.A.;
    Lynch, C.F.; Alavanja, M.C. Cancer incidence among pesticide applicators exposed to cyanazine
    in the agricultural health study. Environ. Health Perspect. 2006, 114, 1248–1252.
42. Mahajan, R.; Blair, A.; Coble, J.; Lynch, C.F.; Hoppin, J.A.; Sandler, D.P.; Alavanja, M.C.
    Carbaryl exposure and incident cancer in the Agricultural Health Study. Int. J. Cancer 2007, 121,
    1799–1805.
43. McDuffie, H.H.; Pahwa, P.; McLaughlin, J.R.; Spinelli, J.J.; Fincham, S.; Dosman, J.A.; Robson, D.;
    Skinnider, L.F.; Choi, N.W. Non-Hodgkin’s lymphoma and specific pesticide exposures in men:
    Cross-Canada study of pesticides and health. Cancer Epidemiol. Biomark. Prev. 2001, 10,
    1155–1163.
44. Miligi, L.; Costantini, A.S.; Veraldi, A.; Benvenuti, A.; Vineis, P. Cancer and pesticides: An overview
    and some results of the Italian Multicenter case-control study on hematolymphopoietic malignancies.
    In Living in a Chemical World: Framing the Future in Light of the Past; Blackwell Publishing:
    Oxford, UK, 2006; Volume 1076, pp. 366–377.
45. Mills, P.K.; Yang, R.; Riordan, D. Lymphohematopoietic cancers in the United Farm Workers of
    America (UFW), 1988–2001. Cancer Cause. Control 2005, 16, 823–830.
46. Orsi, L.; Delabre, L.; Monnereau, A.; Delval, P.; Berthou, C.; Fenaux, P.; Marit, G.; Soubeyran, P.;
    Huguet, F.; Milpied, N.; et al. Occupational exposure to pesticides and lymphoid neoplasms
    among men: Results of a French case-control study. Occup. Environ. Med. 2009, 66, 291–298.
47. Pahwa, M.; Harris, S.A.; Hohenadel, K.; McLaughlin, J.R.; Spinelli, J.J.; Pahwa, P.; Dosman, J.A.;
    Blair, A. Pesticide use, immunologic conditions, and risk of non-Hodgkin lymphoma in Canadian
    men in six provinces. Int. J. Cancer 2012, 131, 2650–2659.
48. Pearce, N.E.; Sheppard, R.A.; Smith, A.H.; Teague, C.A. Non-Hodgkin’s lymphoma and farming:
    An expanded case-control study. Int. J. Cancer 1987, 39, 155–161.
49. Persson, B.; Dahlander, A.M.; Fredriksson, M.; Brage, H.N.; Ohlson, C.G.; Axelson, O.
    Malignant lymphomas and occupational exposures. Brit. J. Ind. Med. 1989, 46, 516–520.
50. Persson, B.; Fredriksson, M.; Olsen, K.; Boeryd, B.; Axelson, O. Some occupational exposures as
    risk factors for malignant lymphomas. Cancer 1993, 72, 1773–1778.
51. Purdue, M.P.; Hoppin, J.A.; Blair, A.; Dosemeci, M.; Alavanja, M.C. Occupational exposure to
    organochlorine insecticides and cancer incidence in the Agricultural Health Study. Int. J. Cancer
    2007, 120, 642–649.
52. Rafnsson, V. Risk of non-Hodgkin’s lymphoma and exposure to hexachlorocyclohexane, a nested
    case-control study. Eur. J. Cancer 2006, 42, 2781–2785.
53. Rusiecki, J.A.; Patel, R.; Koutros, S.; Beane-Freeman, L.; Landgren, O.; Bonner, M.R.; Coble, J.;
    Lubin, J.; Blair, A.; Hoppin, J.A.; et al. Cancer incidence among pesticide applicators exposed to
    permethrin in the Agricultural Health Study. Environ. Health Perspect. 2009, 117, 581–586.
54. Rusiecki, J.A.; Hou, L.; Lee, W.J.; Blair, A.; Dosemeci, M.; Lubin, J.H.; Bonner, M.; Samanic, C.;
    Hoppin, J.A.; Sandler, D.P.; et al. Cancer incidence among pesticide applicators exposed to
    metolachlor in the agricultural health study. Int. J. Cancer 2006, 118, 3118–3123.
          Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 79 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                           4526

55. Van Bemmel, D.M.; Visvanathan, K.; Freeman, L.E.B.; Coble, J.; Hoppin, J.A.; Alavanja, M.C.R.
    S-Ethyl-N,N-dipropylthiocarbamate exposure and cancer incidence among male pesticide
    applicators in the agricultural health study: A prospective cohort. Environ. Health Perspect. 2008,
    116, 1541–1546.
56. Waddell, B.L.; Zahm, S.H.; Baris, D.; Weisenburger, D.D.; Holmes, F.; Burmeister, L.F.;
    Cantor, K.P.; Blair, A. Agricultural use of organophosphate pesticides and the risk of non-Hodgkin’s
    lymphoma among male farmers (United States). Cancer Cause. Control 2001, 12, 509–517.
57. Woods, J.S.; Polissar, L.; Severson, R.K.; Heuser, L.S.; Kulander, B.G. Soft tissue sarcoma and
    non-Hodgkin’s lymphoma in relation to phenoxyherbicide and chlorinated phenol exposure in
    western Washington. J. Natl. Cancer Inst. 1987, 78, 899–910.
58. Zahm, S.H.; Weisenburger, D.D.; Babbitt, P.A.; Saal, R.C.; Vaught, J.B.; Cantor, K.P.; Blair, A.
    A case-control study of non-Hodgkin’s lymphoma and the herbicide 2,4-dichlorophenoxyacetic
    acid (2,4-D) in eastern Nebraska. Epidemiology 1990, 1, 349–356.
59. Zahm, S.H.; Weisenburger, D.D.; Cantor, K.P.; Holmes, F.F.; Blair, A. Role of the herbicide
    atrazine in the development of non-Hodgkin’s lymphoma. Scand. J. Work Environ. Health 1993,
    19, 108–114.
60. Zheng, T.; Zahm, S.H.; Cantor, K.P.; Weisenburger, D.D.; Zhang, Y.; Blair, A.
    Agricultural exposure to carbamate pesticides and risk of non-Hodgkin lymphoma. J. Occup.
    Environ. Med. 2001, 43, 641–649.
61. Alavanja, M.C.; Sandler, D.P.; McMaster, S.B.; Zahm, S.H.; McDonnell, C.J.; Lynch, C.F.;
    Pennybacker, M.; Rothman, N.; Dosemeci, M.; Bond, A.E.; et al. The Agricultural Health Study.
    Environ. Health Perspect. 1996, 104, 362–369.
62. Fritschi, L.; Benke, G.; Hughes, A.M.; Kricker, A.; Turner, J.; Vajdic, C.M.; Grulich, A.; Milliken, S.;
    Kaldor, J.; Armstrong, B.K. Occupational exposure to pesticides and risk of non-Hodgkin’s
    lymphoma. Amer. J. Epidemiol. 2005, 162, 849–857.
63. Cocco, P.; Satta, G.; D’Andrea, I.; Nonne, T.; Udas, G.; Zucca, M.; Mannetje, A.; Becker, N.;
    Sanjose, S.; Foretova, L.; et al. Lymphoma risk in livestock farmers: Results of the Epilymph
    study. Int. J. Cancer 2013, 132, 2613–2618.
64. IARC (International Agency for Research on Cancer). AGRICOH: A Consortium of Agricultural
    Cohort Studies. Available online: http://agricoh.iarc.fr/ (accessed 15 April 2014).
65. Morton, L.M.; Turner, J.J.; Cerhan, J.R.; Linet, M.S.; Treseler, P.A.; Clarke, C.A.; Jack, A.;
    Cozen, W.; Maynadie, M.; Spinelli, J.J.; et al. Proposed classification of lymphoid neoplasms for
    epidemiologic research from the Pathology Working Group of the International Lymphoma
    Epidemiology Consortium (InterLymph). Blood 2007, 110, 695–708.
66. Sterne, J.A.; Sutton, A.J.; Ioannidis, J.P.; Terrin, N.; Jones, D.R.; Lau, J.; Carpenter, J.; Rucker, G.;
    Harbord, R.M.; Schmid, C.H.; et al. Recommendations for examining and interpreting funnel
    plot asymmetry in meta-analyses of randomised controlled trials. BMJ 2011, 343,
    doi:10.1136/bmj.d4002.
67. Food and Agriculture Organization of the United Nations. Agricultural Production Domain.
    Available online: http://www.fao.org (accessed on 20 January 2014).
         Case 3:16-md-02741-VC Document 653-7 Filed 10/28/17 Page 80 of 80

Int. J. Environ. Res. Public Health 2014, 11                                                      4527

68. IARC (International Agency for Research on Cancer). GLOBOCAN 2012: Estimated Cancer
    Incidence, Mortality and Prevalence Worldwide in 2012. Available online: http://globocan.iarc.fr
    /old/pie_site_prev.asp?selection=19260&title=Non-Hodgkin+lymphoma&sex=0&type=4&
    populations=2&window=1&join=1&submit=%C2%A0Execute (accessed on 10 February 2014).
69. Chiu, B.C.; Blair, A. Pesticides, chromosomal aberrations, and non-Hodgkin’s lymphoma.
    J. Agromed. 2009, 14, 250–255.
70. Schroeder, J.C.; Olshan, A.F.; Baric, R.; Dent, G.A.; Weinberg, C.R.; Yount, B.; Cerhan, J.R.;
    Lynch, C.F.; Schuman, L.M.; Tolbert, P.E.; et al. Agricultural risk factors for t(14;18) subtypes of
    non-Hodgkin’s lymphoma. Epidemiology 2001, 12, 701–709.
71. Chiu, B.C.; Dave, B.J.; Blair, A.; Gapstur, S.M.; Zahm, S.H.; Weisenburger, D.D.
    Agricultural pesticide use and risk of t(14;18)-defined subtypes of non-Hodgkin lymphoma.
    Blood 2006, 108, 1363–1369.
72. Faustini, A.; Settimi, L.; Pacifici, R.; Fano, V.; Zuccaro, P.; Forastiere, F. Immunological changes
    among farmers exposed to phenoxy herbicides: Preliminary observations. Occup. Environ. Med.
    1996, 53, 583–585.
73. IARC (International Agency for Research on Cancer), Arsenic, Metals, Fibres and Dusts: IARC
    Monographs on the Evaluation of Carcinogenic Risks to Humans. 2012. Available online:
    http://monographs.iarc.fr/ENG/Monographs/vol100C/ (accessed on 15 April 2014).
74. IARC (International Agency for Research on Cancer), Re-evaluation of Some Organic Chemicals,
    Hydrazine, and Hydrogen Peroxide: IARC Monographs on the Evaluation of Carcinogenic
    Risks to Humans. 1999. Available online: http://monographs.iarc.fr/ENG/Monographs/vol53/
    (accessed on 15 April 2014).
75. IARC (International Agency for Research on Cancer). Occupational Exposures in Insecticide
    Application, and Some Pesticides: IARC Monographs on the Evaluation of Carcinogenic Risks to
    Humans. 1991. Available online: http://monographs.iarc.fr/ENG/Monographs/vol53/ (accessed on
    14 April 2014).
76. IARC (International Agency for Research on Cancer). Some Thyrotropic Agents: IARC Monographs
    on the Evaluation of Carcinogenic Risks to Humans. 2001. Available online: http://monographs
    .iarc.fr/ENG/Monographs/vol79/volume79.pdf (accessed on 15 April 2014).
77. IARC (International Agency for Research on Cancer) Overal Evaluation of Carcinogenicity:
    An Update of IARC Monographs Volumes 1 to 42: IARC Monographs on the Evaluation of
    Carcinogenic Risks to Humans., 1987. Available online: http://monographs.iarc.fr/ENG/Monographs
    /suppl7/suppl7.pdf (accessed on 15 April 2014).

© 2014 by the authors; licensee MDPI, Basel, Switzerland. This article is an open access article
distributed under the terms and conditions of the Creative Commons Attribution license
(http://creativecommons.org/licenses/by/3.0/).
